 Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 1 of 150 Page ID
                                   #:2488


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12 Sather, Laurance Roberts and Edward J.
   Valle
13
                           UNITED STATES DISTRICT COURT
14
                          CENTRAL DISTRICT OF CALIFORNIA
15
                                    SOUTHERN DIVISION
16
17 DANIEL TUROCY, et al., Individually ) Case No. 8:15-cv-01343-DOC-KES
   and on Behalf of All Others Similarly ) (Consolidated)
18 Situated,                             )
                                         ) DECLARATION OF JASON D.
19                          Plaintiffs,  ) RUSSELL IN SUPPORT OF
                                         ) DEFENDANTS’ MEMORANDUM OF
20         vs.                           ) LAW IN OPPOSITION TO LEAD
                                         ) PLAINTIFFS’ MOTION FOR CLASS
21 EL POLLO LOCO HOLDINGS, INC., ) CERTIFICATION
   et al.,                               )
22                                       ) Date: May 14, 2018
                            Defendants.  ) Time: 8:30 a.m.
23                                       ) Judge: Hon. David O. Carter
                                         ) Ctrm.: 9D
24
25
26                      REDACTED VERSION
                        OF DOCUMENT
27                      PROPOSED TO BE
28                      FILED UNDER SEAL
  Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 2 of 150 Page ID
                                    #:2489


 1                       DECLARATION OF JASON D. RUSSELL
 2        1.    I am an attorney admitted to practice before the courts of the State of
 3 California and have been admitted to this Court. I am a partner in the law firm of
 4 Skadden, Arps, Slate, Meagher & Flom LLP (“Skadden Arps”), counsel for Defendants
 5 El Pollo Loco Holdings, Inc. (“EPL” or the “Company”), Trimaran Capital Partners,
 6 Trimaran Pollo Partners, L.L.C., Freeman Spogli & Co., Stephen J. Sather, Laurance
 7 Roberts and Edward J. Valle (collectively, the “Defendants”). I submit this declaration
 8 in support of Defendants’ Memorandum of Law in Opposition to Lead Plaintiffs’
 9 Motion for Class Certification. I make this declaration based on my own personal
10 knowledge, and if called upon to do so, could and would testify competently thereto.
11        2.    Attached as Exhibit 1 is a true and correct copy of excerpts from the
12 transcript of the deposition of Dr. Richard J. Levy taken January 15, 2018.
13        3.    Attached as Exhibit 2 is a true and correct copy of excerpts from the
14 transcript of the deposition of Ron Huston taken January 26, 2018.
15        4.    Attached as Exhibit 3 is a true and correct copy excerpts from the
16 transcript of the deposition of Professor Steven Feinstein taken February 2, 2018.
17        5.    Attached as Exhibit 4 is a true and correct copy of excerpts from the
18 transcript of the deposition of Peter Kim taken February 13, 2018.
19        6.    Attached as Exhibit 5 is a true and correct copy of the Report of Daniel R.
20 Fischel dated March 8, 2018.
21        I declare under penalty of perjury under the laws of the State of California and the
22 United States of America that the foregoing is true and correct.
23        Executed on March 8, 2018 in Los Angeles, California
24                              By:                 /s/ Jason D. Russell
                                                      Jason D. Russell
25
26
27
28
                                                1
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 3 of 150 Page ID
                                  #:2490




                 Exhibit 1
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 4 of 150 Page ID
                                 CONFIDENTIAL
                                  #:2491

 1      UNITED STATES DISTRICT COURT
 2      CENTRAL DISTRICT OF CALIFORNIA
 3      SOUTHERN DIVISION
        _________________________________________
 4      DANIEL TUROCY, et al., Individually
 5      and on Behalf of All Others Similarly
        Situated,
 6                                            Plaintiffs,
 7                         -against-
        EL POLLO LOCO HOLDINGS, INC.,
 8      et al.,
 9                                            Defendants.
10      Case No. 8:15-cv-01343-DOC-KES
        _________________________________________
11
12                      January 25, 2018
                           9:09 a.m.
13
14                          CONFIDENTIAL
15
16              VIDEOTAPED DEPOSITION of DR.RICHARD J.
17      LEVY, taken by Defendants, pursuant to
18      Notice, held at the offices of SKADDEN,
19      ARPS, SLATE, MEAGHER & FLOM, LLP, Four
20      Times Square, New York, New York before
21      Wayne Hock, a Notary Public of the
22      State of New York.
23
24      JOB No. 2783112
25      PAGES 1 - 221

                                                                 Page 1

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 2
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 5 of 150 Page ID
                                 CONFIDENTIAL
                                  #:2492

 1      A P P E A R A N C E S:
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13                         michael.restey@skadden.com
14
15             ALSO PRESENT:
16
                           TOM DEVINE, Videographer
17                         ERIC RIEDEL
18
19
20
21
22
23
24
25

                                                                 Page 2

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                                                                       Exhbiit 1
                                                                       Page 3
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 6 of 150 Page ID
                                 CONFIDENTIAL
                                  #:2493

 1                   THE VIDEOGRAPHER: Good                     09:08:39

 2           morning.    We are going on the                    09:08:39

 3           record at 9:09 a.m. on January 25,                 09:08:44

 4           2018.                                              09:08:48

 5                   Please note that the                       09:08:49

 6           microphones are sensitive and may                  09:08:51

 7           pick up whispering, private                        09:08:54

 8           conversations, and cellular                        09:08:55

 9           interference.                                      09:08:58

10                   Please turn off all cell                   09:08:58

11           phones or place them away from the                 09:09:01

12           microphones as they can interfere                  09:09:02

13           with the deposition audio.                         09:09:04

14                   Audio and video recording                  09:09:05

15           will continue to take place unless                 09:09:06

16           all parties agree to go off the                    09:09:09

17           record.                                            09:09:11

18                   This is media unit one of the              09:09:11

19           video recorded deposition of                       09:09:11

20           Richard J. Levy in the matter of                   09:09:13

21           Daniel Turocy V. El Pollo Loco                     09:09:14

22           Holdings, Inc. filed in the U.S.                   09:09:18

23           District Court, the Central                        09:09:21

24           District of California, case number                09:09:24

25           8:15-CV-01343-DOC-KES.                             09:09:25

                                                                  Page 5

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 4
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 7 of 150 Page ID
                                 CONFIDENTIAL
                                  #:2494

 1                  This deposition is being held               09:09:34

 2           at the offices of Skadden, Arps,                   09:09:36

 3           Slate, Meagher and Flom, LLP                       09:09:40

 4           located at 4 Times Square, New                     09:09:41

 5           York, New York 10036.                              09:09:44

 6                  My name is Thomas Devine from               09:09:46

 7           the firm Veritext California and                   09:09:49

 8           I'm the videographer.        The court             09:09:52

 9           reporter is Wayne Hock also from                   09:09:54

10           Veritext California.                               09:09:56

11                  I am not authorized to                      09:09:58

12           administer an oath, I am not                       09:10:01

13           related to any party in this                       09:10:01

14           action, nor am I financially                       09:10:02

15           interested in the outcome.                         09:10:03

16                  Counsel and all present in                  09:10:05

17           the room will now state their                      09:10:07

18           appearances and affiliations for                   09:10:09

19           the record.    If there are any                    09:10:10

20           objections to the proceedings,                     09:10:10

21           please state them at the time of                   09:10:10

22           your appearance beginning with the                 09:10:12

23           noticing attorney.                                 09:10:13

24                  MR. FUMERTON: Robert                        09:10:16

25           Fumerton, Mike Restey, Eric Riedel,                09:10:18

                                                                  Page 6

                                Veritext Legal Solutions
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                                                                       Exhbiit 1
                                                                       Page 5
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 8 of 150 Page ID
                                 CONFIDENTIAL
                                  #:2495

 1           Skadden Arps, on behalf of the                     09:10:22

 2           defendants.                                        09:10:24

 3                    MR. LLORENS: Ryan Llorens,                09:10:24

 4           Kevin Lavelle, Robbins Geller on                   09:10:26

 5           behalf of the witness.                             09:10:28

 6                    THE VIDEOGRAPHER: Thank you.              09:10:30

 7                    Wayne, would you please swear             09:10:30

 8           in the witness.                                    09:10:32

 9      RICHARD              J.    L E V Y, having              09:10:41

10                been first duly sworn by a                    09:10:41

11                Notary Public of the State of                 09:10:41

12                New York, upon being examined,                09:10:41

13                testified as follows:                         09:10:41

14      EXAMINATION BY                                          09:10:41

15      MR. FUMERTON:                                           09:10:42

16           Q.      Good morning, Dr. Levy.                    09:10:42

17           A.      Good morning.                              09:10:45

18           Q.      Please state your name and                 09:10:46

19      address for the record.                                 09:10:48

20           A.      Sure.                                      09:10:49

21                   Richard J. Levy, M.D.,                     09:10:52

22                                                     New      09:10:52

23      York, New York 10069.                                   09:10:54

24           Q.      Now, Dr. Levy, you understand              09:10:56

25      you've sued a number of defendants in                   09:10:58

                                                                  Page 7

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                                                                       Exhbiit 1
                                                                       Page 6
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 9 of 150 Page ID
                                 CONFIDENTIAL
                                  #:2496

 1      deposition take place in the Central                    09:27:07

 2      District of California where you filed                  09:27:10

 3      suit?                                                   09:27:11

 4           A.     I do not know that.                         09:27:11

 5           Q.     Counsel never made you aware                09:27:12

 6      of that request?                                        09:27:19

 7           A.     No, sir.                                    09:27:19

 8                  MR. LLORENS: Objection.           It        09:27:20

 9           misstates the facts.                               09:27:25

10           Q.     Would it have been                          09:27:27

11      inconvenient for you to travel to                       09:27:31

12      California to take this deposition?                     09:27:32

13           A.     I have a pretty busy                        09:27:34

14      schedule.    With adequate lead time and                09:27:42

15      with coordination with my attorneys, I                  09:27:44

16      can certainly be available, but it has                  09:27:49

17      to be with adequate lead time and with                  09:27:52

18      coordination with them.                                 09:27:55

19           Q.     And is it fair to say that                  09:27:56

20      your availability to travel to --                       09:27:57

21                  MR. FUMERTON: Strike that.                  09:27:59

22           Q.     Is it fair to say with all of               09:28:00

23      your work responsibilities your ability                 09:28:03

24      to travel to California is limited?                     09:28:04

25           A.     I wouldn't use that                         09:28:06

                                                                 Page 28

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 7
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 10 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2497

  1      terminology.    I would say it is -- my                09:28:07

  2      schedule and schedule changes are                      09:28:13

  3      feasible but I'm sure, as with you, it                 09:28:15

  4      requires coordination of scheduling                    09:28:20

  5      with enough lead time.                                 09:28:22

  6          Q.      What would adequate lead time              09:28:23

  7      be to schedule a deposition in                         09:28:27

  8      California?                                            09:28:28

  9          A.      Especially with this time of               09:28:29

 10      year with the academic meetings, the                   09:28:31

 11      national meetings I go to in addition                  09:28:34

 12      to my clinical responsibilities, it                    09:28:36

 13      could take up to six months to actually                09:28:38

 14      schedule a proper amount of time to                    09:28:40

 15      travel to the west coast.                              09:28:43

 16          Q.      Dr. Levy, can you generally                09:28:54

 17      describe your educational background                   09:28:58

 18      starting with any secondary education?                 09:29:00

 19          A.      Sure.                                      09:29:03

 20                  I went to undergraduate                    09:29:04

 21      school in SUNY Binghampton, achieved a                 09:29:06

 22      BS in biology and a minor in biological                09:29:10

 23      anthropology and then went and                         09:29:10

 24      completed my medical degree at New York                09:29:16

 25      Medical College in Valhalla.          And then         09:29:19

                                                                 Page 29

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 8
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 11 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2498

  1      I subsequently trained in pediatrics                   09:29:22

  2      and Board certified in pediatrics at                   09:29:22

  3      the Children's Hospital of                             09:29:24

  4      Philadelphia; anesthesiology,                          09:29:26

  5      anesthesia residency at the University                 09:29:28

  6      of Pennsylvania, Board certified in                    09:29:30

  7      that.    I then completed a pediatric                  09:29:31

  8      critical care medicine fellowship,                     09:29:35

  9      Board certified in that, at the                        09:29:36

 10      Children's Hospital of Philadelphia.                   09:29:37

 11                  I then subsequently completed              09:29:39

 12      pediatric critical care fellowships,                   09:29:41

 13      pediatric anesthesia fellowships, a T32                09:29:43

 14      research fellowship funded by the NIH                  09:29:46

 15      at UPENN in Children's Hospital of                     09:29:49

 16      Philadelphia.     And I'm Board certified              09:29:51

 17      in pediatric anesthesiology as well.                   09:29:52

 18          Q.      Where are you currently                    09:29:58

 19      employed?                                              09:29:59

 20          A.      I'm currently at Columbia                  09:30:00

 21      University Medical Center New York                     09:30:00

 22      Presbyterian Hospital System in New                    09:30:01

 23      York.                                                  09:30:04

 24          Q.      So you teach at Columbia                   09:30:04

 25      Medical Center?                                        09:30:09

                                                                 Page 30

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 9
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 12 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2499

  1          A.      That's correct.      I also care           09:30:09

  2      for patients in the pediatric operating                09:30:11

  3      room and the division of pediatric                     09:30:13

  4      anesthesiology in the department of                    09:30:18

  5      anesthesia at Columbia University.                     09:30:19

  6          Q.      And then you practice -- in                09:30:20

  7      addition to practicing at that hospital                09:30:23

  8      you practice at New York Presbyterian                  09:30:25

  9      Morgan Stanley Children's Hospital?                    09:30:29

 10          A.      It's the same system.         It's         09:30:32

 11      confusing but it's the same system.                    09:30:33

 12      It's all one hospital.                                 09:30:33

 13          Q.      How many hours a week do you               09:30:35

 14      spend on your teaching activities?                     09:30:38

 15          A.      So teaching is incorporated                09:30:41

 16      in what we do.     So in an academic                   09:30:43

 17      center, when you're in the operating                   09:30:46

 18      room, you're teaching fellows and                      09:30:48

 19      residents, so that's considered                        09:30:50

 20      teaching.    We also give formal didactic              09:30:53

 21      to the fellows, the residents, and the                 09:30:57

 22      medical students.     So it's hard to                  09:30:59

 23      quantify hours but I can tell you that                 09:31:02

 24      it is a significant commitment.           I            09:31:04

 25      would probably more quantify it in                     09:31:07

                                                                 Page 31

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 10
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 13 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2500

  1      terms of percentage of time and it can                 09:31:09

  2      be anywhere between twenty to fifty                    09:31:12

  3      percent depending upon the day                         09:31:14

  4      depending upon the week.                               09:31:16

  5                  I also run an NIH-funded                   09:31:17

  6      basic science laboratory which I spend                 09:31:20

  7      about seventy percent of my time doing                 09:31:23

  8      research and there is teaching that is                 09:31:25

  9      involved in that as well with residents                09:31:27

 10      and fellows.                                           09:31:30

 11          Q.      And then what percentage of                09:31:33

 12      your time would you say you're actually                09:31:36

 13      practicing medicine as opposed to                      09:31:38

 14      teaching to the extent you can divide                  09:31:39

 15      those up?                                              09:31:42

 16          A.      I'm assuming you're asking                 09:31:43

 17      about caring for patients directly?                    09:31:45

 18          Q.      Correct.                                   09:31:47

 19          A.      So currently it is about                   09:31:48

 20      twenty percent of my time is actually                  09:31:49

 21      caring for patients directly.                          09:31:52

 22          Q.      So twenty percent caring for               09:31:58

 23      patients directly; is that correct?                    09:32:00

 24          A.      That's correct.                            09:32:03

 25          Q.      Twenty to fifty percent of                 09:32:03

                                                                 Page 32

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 11
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 14 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2501

  1      your teaching activities which include                 09:32:07

  2      the clinical activities you've                         09:32:09

  3      described?                                             09:32:12

  4             A.       Correct.                               09:32:12

  5             Q.       And then what constitutes the          09:32:13

  6      remainder?                                             09:32:17

  7             A.       So the remainder actually              09:32:18

  8      would be under the umbrella of research                09:32:21

  9      and what research entails is not only                  09:32:24

 10      doing experiments at the bench -- we                   09:32:26

 11      work with mice and mouse pups -- but                   09:32:30

 12      it's also writing, reading literature,                 09:32:32

 13      scientific writing of abstracts,                       09:32:36

 14      manuscripts, grants which can take an                  09:32:38

 15      exorbitant amount of time.             In reality,     09:32:41

 16      it is a 24/7 proposition to write when                 09:32:45

 17      you're doing basic science research.                   09:32:48

 18      And so I'm doing that pretty much every                09:32:51

 19      day.        But on paper, that's probably              09:32:53

 20      about seventy-five percent of my time.                 09:32:57

 21      So the teaching is throughout and                      09:32:59

 22      incorporated.                                          09:33:01

 23             Q.       So you've given us a rough             09:33:04

 24      breakdown of your time.                                09:33:07

 25                      How much time --                       09:33:08

                                                                 Page 33

                                    Veritext Legal Solutions
                                         866 299-5127
                                                                       Exhbiit 1
                                                                       Page 12
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 15 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2502

  1                  MR. FUMERTON: Strike that.                 09:33:09

  2          Q.      You've given us a rough                    09:33:09

  3      breakdown of how you spend your time.                  09:33:13

  4                  How many hours a week do you               09:33:14

  5      typically work on all of these                         09:33:17

  6      different activities?                                  09:33:19

  7          A.      It's quite variable.         When          09:33:19

  8      I'm in the operating room even though                  09:33:21

  9      that's on paper twenty percent, the day                09:33:24

 10      starts about 7:00 in the morning and                   09:33:27

 11      can end the next day.      If I'm on call              09:33:29

 12      doing a heart transplant, for example,                 09:33:33

 13      I've had times where I've worked                       09:33:35

 14      twenty-four hours straight and that's                  09:33:37

 15      considered twenty percent of that week.                09:33:39

 16      There are other times where the day                    09:33:41

 17      ends at 7:00 or 8:00 at night in the                   09:33:43

 18      operating room.     So it's quite                      09:33:45

 19      variable.    It depends on the workload                09:33:48

 20      and the cases that are -- that come in                 09:33:49

 21      in addition to my call                                 09:33:53

 22      responsibilities.                                      09:33:54

 23                  The other days are a little                09:33:55

 24      bit more predictable and manageable.                   09:33:57

 25      In the lab and in my office hours where                09:34:01

                                                                 Page 34

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 13
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 16 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2503

  1      I'm doing writing and scientific                       09:34:03

  2      reading, usually the day starts around                 09:34:07

  3      8:30, 9:00 in the morning and I usually                09:34:14

  4      finish around 4:00 or 5:00 but then                    09:34:14

  5      continue to do some work at night at                   09:34:17

  6      home, so it's quite variable and it's a                09:34:18

  7      day-to-day.                                            09:34:21

  8          Q.      If you had to estimate an                  09:34:22

  9      average number of hours you work during                09:34:24

 10      the week, what would you say?                          09:34:26

 11          A.      I couldn't give you an actual              09:34:27

 12      number because, as I said, when you're                 09:34:30

 13      doing research, it is a constant --                    09:34:32

 14      it's constant work.                                    09:34:35

 15          Q.      Sure.                                      09:34:37

 16                  And I'm not asking for a                   09:34:38

 17      specific type of work.                                 09:34:39

 18                  All of these activities that               09:34:40

 19      you do, if you had to estimate a range                 09:34:42

 20      of hours per week on average --                        09:34:45

 21      obviously some weeks will be more, some                09:34:48

 22      weeks will be less -- what would you                   09:34:50

 23      estimate?                                              09:34:53

 24          A.      On paper they will tell you                09:34:54

 25      it's a forty-hour workweek but I can                   09:34:56

                                                                 Page 35

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 14
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 17 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2504

  1      tell you it's not, so it's going to be                 09:35:00

  2      more than that.     And I couldn't give                09:35:02

  3      you an actual number because the only                  09:35:03

  4      thing that I could really clock in and                 09:35:05

  5      clock out the times that I worked is in                09:35:09

  6      the operating room.                                    09:35:12

  7          Q.      Over fifty hours would you                 09:35:12

  8      estimate?                                              09:35:12

  9          A.      Much more than that.                       09:35:14

 10          Q.      Over sixty hours?                          09:35:14

 11          A.      It's more.     Because when I'm            09:35:15

 12      at home reviewing the literature and                   09:35:17

 13      writing an abstract, that's work.              It's    09:35:19

 14      not digging a hole for fixing the roads                09:35:22

 15      but it's work, and so it's hard to                     09:35:27

 16      quantify.    It varies day to day, week                09:35:32

 17      to week.    And weekends are included.                 09:35:34

 18          Q.      But it's fair to say your                  09:35:36

 19      schedule's very unpredictable; is that                 09:35:38

 20      correct?                                               09:35:42

 21          A.      Absolutely.                                09:35:42

 22          Q.      And who sets your schedule?                09:35:44

 23      Who determines the times when you're                   09:35:46

 24      going to be in clinic teaching                         09:35:48

 25      residents versus times you're going to                 09:35:51

                                                                 Page 36

                                  Veritext Legal Solutions
                                       866 299-5127
                                                                       Exhbiit 1
                                                                       Page 15
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 18 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2505

  1      be operating versus the times you're                   09:35:53

  2      doing research, et cetera?                             09:35:55

  3          A.      It's coordinated with our                  09:35:56

  4      division head of clinical operations.                  09:36:00

  5      So we like it to be as predictable as                  09:36:04

  6      possible.    So my usual operating room                09:36:07

  7      day is Monday and then the call                        09:36:11

  8      coincides with that so that the                        09:36:14

  9      remainder of the week I can then                       09:36:15

 10      coordinate my own schedule with regard                 09:36:18

 11      to experiments and lectures and writing                09:36:20

 12      and reading.                                           09:36:23

 13          Q.      But the operating schedule on              09:36:23

 14      Monday is set by the head of the                       09:36:27

 15      clinic?                                                09:36:29

 16          A.      Yeah, we've pretty much                    09:36:29

 17      agreed, when I came on staff, that                     09:36:31

 18      Mondays would be my day and we would                   09:36:34

 19      coincide the call with that so I would                 09:36:37

 20      take a full call commitment as with                    09:36:40

 21      every other member of the division.                    09:36:43

 22      And so basically that's why my days are                09:36:44

 23      fairly long on Mondays and fairly                      09:36:47

 24      variable depending upon the load of                    09:36:50

 25      actual cases.                                          09:36:52

                                                                 Page 37

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 16
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 19 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2506

  1          Q.      In terms of your lectures,                 09:36:53

  2      these are like formal classroom-type                   09:36:56

  3      lectures?                                              09:36:59

  4          A.      The classroom is something                 09:36:59

  5      like this, some are bigger.         I also             09:37:01

  6      give visiting professor grand rounds at                09:37:04

  7      various institutions around the country                09:37:08

  8      and those are in grand rounds-type                     09:37:10

  9      environments with the entire department                09:37:13

 10      in an amphitheater-type setting or a                   09:37:14

 11      conference room.     So that is variable               09:37:18

 12      as well.    And then the teaching at the               09:37:20

 13      bedside is obviously teaching in the                   09:37:23

 14      operating room while you're caring for                 09:37:24

 15      patients directly at the bedside.                      09:37:28

 16          Q.      But the scheduling of the                  09:37:30

 17      lectures, who sets the schedule for the                09:37:32

 18      lectures?                                              09:37:34

 19          A.      Again, those are variable.                 09:37:34

 20      It depends on the venue.       If it's an              09:37:36

 21      invited lecture, for example I'm going                 09:37:36

 22      to the University of Pittsburgh in                     09:37:38

 23      April to give an invited visiting                      09:37:40

 24      professor lectureship, that's set by                   09:37:42

 25      that department and those folks.                       09:37:47

                                                                 Page 38

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 17
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 20 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2507

  1      Within our own division, we have a                     09:37:48

  2      schedule where we have a number of                     09:37:51

  3      responsibilities for formal didactic to                09:37:54

  4      fellows and residents.      And we are                 09:37:58

  5      either assigned or volunteered to give                 09:38:00

  6      various lectures and those are set by                  09:38:04

  7      the folks who schedule those lectures                  09:38:06

  8      throughout the year.                                   09:38:08

  9                  There's also medical student               09:38:10

 10      lectures which is incorporated into the                09:38:12

 11      medical student curriculum and that's                  09:38:14

 12      set by somebody else.      So these are                09:38:15

 13      coordinated with the folks who set up                  09:38:18

 14      the curriculum for the various lectures                09:38:20

 15      that are incorporated into them.                       09:38:24

 16          Q.      So Dr. Levy, you're obviously              09:38:51

 17      an extremely busy person, but I want to                09:38:54

 18      turn to your investing in general.                     09:38:58

 19                  How often would you say that               09:39:00

 20      you invest?                                            09:39:02

 21          A.      Can you be more specific?                  09:39:03

 22          Q.      Just generally speaking, how               09:39:07

 23      much time do you spend dealing with                    09:39:10

 24      your investments?                                      09:39:13

 25                  MR. LLORENS: Objection.                    09:39:16

                                                                 Page 39

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 18
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 21 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2508

  1               CERTIFICATION BY REPORTER
  2
  3            I, Wayne Hock, a Notary Public of the
  4      State of New York, do hereby certify:
  5            That the testimony in the within
  6      proceeding was held before me at the
  7      aforesaid time and place;
  8            That said witness was duly sworn
  9      before the commencement of the testimony,
 10      and that the testimony was taken
 11      stenographically by me, then transcribed
 12      under my supervision, and that the within
 13      transcript is a true record of the
 14      testimony of said witness.
 15            I further certify that I am not
 16      related to any of the parties to this
 17      action by blood or marriage, that I am not
 18      interested directly or indirectly in the
 19      matter in controversy, nor am I in the
 20      employ of any of the counsel.
 21            IN WITNESS WHEREOF, I have hereunto
 22      set my hand this 30th day of January,
         2018.
 23
 24
                         <%signature%>
 25                      Wayne Hock

                                                               Page 221

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhbiit 1
                                                                       Page 19
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 22 of 150 Page ID
                                   #:2509




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                   DOCUMENT PROPOSED TO BE
                   FILED UNDER SEAL
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 23 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2510 TO PROTECTIVE ORDER

  1                     UNITED STATES DISTRICT COURT
  2                    CENTRAL DISTRICT OF CALIFORNIA
  3                          SOUTHERN DIVISION
  4
         _____________________________
  5      DANIEL TUROCY, et al.,              )
         Individually and on Behalf of)
  6      All Others Similarly                )
         Situated,                           )
  7                                          )
                      Plaintiffs,            )    No. 8:15-cv-01343-DOC-KES
  8                                          )
               vs.                           )
  9                                          )
         EL POLLO LOCO HOLDINGS, INC.,)
 10      et al.,                             )
                                             )
 11                   Defendants.            )
         _____________________________)
 12
 13
 14                          ** CONFIDENTIAL **
 15                  ** PURSUANT TO PROTECTIVE ORDER **
 16             VIDEOTAPED DEPOSITION OF RON D. HUSTON
 17                       Los Angeles, California
 18                       Friday, January 26, 2018
 19                                 Volume I
 20
 21      Reported by:
 22      NADIA NEWHART
 23      CSR No. 8714
 24      Job No. 2783118
 25      PAGES 1 - 159

                                                                   Page 1

                                Veritext Legal Solutions
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                                                                       Exhibit 2
                                                                       Page 20
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 24 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2511 TO PROTECTIVE ORDER

  1                     UNITED STATES DISTRICT COURT
  2                    CENTRAL DISTRICT OF CALIFORNIA
  3                          SOUTHERN DIVISION
  4
         _____________________________
  5      DANIEL TUROCY, et al.,              )
         Individually and on Behalf of)
  6      All Others Similarly                )
         Situated,                           )
  7                                          )
                      Plaintiffs,            )    No. 8:15-cv-01343-DOC-KES
  8                                          )
               vs.                           )
  9                                          )
         EL POLLO LOCO HOLDINGS, INC.,)
 10      et al.,                             )
                                             )
 11                   Defendants.            )
         _____________________________)
 12
 13
 14
 15
 16                Videotaped deposition of RON D. HUSTON,
 17      Volume I, taken on behalf of Defendants, at
 18      300 South Grand Avenue, 32nd Floor, Los Angeles,
 19      California, beginning at 9:14 a.m. and ending at
 20      1:02 p.m. on Friday, January 26, 2018, before
 21      NADIA NEWHART, Certified Shorthand Reporter
 22      No. 8714.
 23
 24
 25

                                                                   Page 2

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhibit 2
                                                                       Page 21
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 25 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2512 TO PROTECTIVE ORDER

  1      APPEARANCES:
  2
  3      For Plaintiffs:
  4            THE ROSEN LAW FIRM, P.A.
  5            BY:    PHILLIP KIM
  6            Attorney at Law
  7            275 Madison Avenue, 34th Floor
  8            New York, New York 10016
  9            212-686-1060
 10            pkim@rosenlegal.com
 11
 12      For Defendants El Pollo Loco Holdings, Inc.,
 13      Trimaran Capital Partners, Trimaran Pollo Partners,
 14      L.L.C., Freeman Spogli & Co., Stephen J.
 15      Sather, Laurance Roberts and Edward J. Valle:
 16            SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
 17            BY:    ROBERT A. FUMERTON
 18            BY:    MICHAEL W. RESTEY, JR.
 19            Attorneys at Law
 20            Four Times Square
 21            New York, New York 10036
 22            212-735-3000
 23            robert.fumerton@skadden.com
 24            michael.restey@skadden.com
 25

                                                                  Page 3

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhibit 2
                                                                       Page 22
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 26 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2513 TO PROTECTIVE ORDER

  1      APPEARANCES (Continued):
  2
  3      Videographer:
  4              STEVEN TOGAMI
  5
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                                                                  Page 4

                                Veritext Legal Solutions
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                                                                       Exhibit 2
                                                                       Page 23
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 27 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2514 TO PROTECTIVE ORDER

  1      Los Angeles, California, Friday, January 26, 2018

  2                            9:14 a.m.

  3

  4             THE VIDEOGRAPHER:    Good morning.         We are on

  5      the record at 9:14 a.m. on January 26th, 2018.                   09:14:45

  6             Please note that the microphones are

  7      sensitive and may pick up whispers, private

  8      conversations and cellular interference.           Audio and

  9      video recording will continue to take place unless

 10      all parties agree to go off the record.                          09:15:05

 11             This is Media Unit Number 1 of the

 12      video-recorded deposition of Ron Huston taken by

 13      counsel for the defendants in the matter of Daniel

 14      Turocy, et al. versus El Pollo Loco Holdings, Inc.,

 15      et al., filed in the United States District Court,               09:15:31

 16      Central District of California, Southern Division,

 17      case number 8:15-cv-01343-DOC-KES.

 18             This deposition is being held at Skadden Arps

 19      located at 300 South Grand Avenue, Los Angeles,

 20      California, 90071.                                               09:16:01

 21             My name is Steven Togami from the firm

 22      Veritext Legal Solutions, and I am the videographer.

 23      The court reporter is Nadia Newhart from the firm

 24      Veritext Legal Solutions.

 25             I am not related to any party in this action,             09:16:19

                                                                        Page 10

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                                                                             Page 24
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 28 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2515 TO PROTECTIVE ORDER

  1      nor am I financially interested in the outcome.          If

  2      there are any objections to proceeding, please state

  3      them at the time of your appearance.

  4             At this time, will counsel and all present

  5      please state their appearances and affiliations for             09:16:35

  6      the record.

  7             MR. FUMERTON:     Robert Fumerton, Michael

  8      Restey, Skadden Arps for defendants.

  9             MR. KIM:     Phil Kim, Rosen Law Firm for the

 10      plaintiff, Mr. Huston.                                          09:16:51

 11             THE WITNESS:     Ron Huston.

 12             THE VIDEOGRAPHER:     Thank you.       Could we

 13      please have the oath.

 14

 15                            RON D. HUSTON,

 16         having been first duly sworn, was examined and

 17                        testified as follows:

 18

 19

 20

 21                             EXAMINATION

 22      BY MR. FUMERTON:

 23         Q   Good morning, Mr. Huston.

 24         A   Good morning.

 25         Q   Please state your full name and address for              09:17:09

                                                                       Page 11

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                                                                            Exhibit 2
                                                                            Page 25
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 29 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2516 TO PROTECTIVE ORDER

  1      the record.

  2         A      Ron Huston,                                 , Denver,

  3      Colorado, 80218.

  4         Q      Now, Mr. Huston, you understand you've sued a

  5      number of different defendants in this action; is                   09:17:22

  6      that correct?

  7         A      Yes.

  8         Q    And if I refer to them as defendants

  9      throughout the deposition, you'll understand what I

 10      mean?                                                               09:17:28

 11         A      I will.

 12         Q      If I refer to El Pollo Loco Holdings, Inc. as

 13      EPL, will you also understand what I mean?

 14         A      You might want to explain that one to me.

 15         Q      If I just refer to El Pollo Loco as EPL                   09:17:41

 16         A      I don't know what EPL is.

 17         Q    EPL is an abbreviation for El Pollo Loco.

 18         A      Ah, okay.     Okay.   Cot you.

 19         Q      You'll understand if I use the term "EPL" --

 20         A      That's what you mean.                                     09:17:50

 21         Q    -- I'm referring to El Pollo Loco Holdings.

 22         A      Thank you.     Got it.

 23         Q      Mr. Huston, have you ever been deposed

 24      before?

 25         A      One time.                                                 09:17:58

                                                                           Page 12

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                                                                                Exhibit 2
                                                                                Page 26
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 30 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2517 TO PROTECTIVE ORDER

  1         •




 12         Q   If you go up a few rows, you made a purchase

 13      on -- you made two purchases on May 15th, 2015.

 14             Do you see that?

 15         A   Yes.                                                 11:08:04

 16         Q   The first purchase on May 15th was 4,000

 17      shares at $25 per share.

 18             Do you see that?

 19         A   I do.

 20         Q   And then 6,000 shares at $24.88 per share.           11:08:18

 21             Do you see that?

 22         A   I do.

 23         Q   And do you recall any reason that you

 24      purchased those shares on that date other than what

 25      you've testified about?                                     11:08:34

                                                                  Page 93

                                Veritext Legal Solutions
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                                                                       Exhibit 2
                                                                       Page 27
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 31 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2518 TO PROTECTIVE ORDER

  1            A     No.     This -- this was strictly a price

  2      awareness.          There was a big price drop, and I

  3      thought a good company just went on sale.

  4            Q     Do you recall why you made two separate

  5      purchases on that day?                                        11:08:45

  6            A     I may have in- -- I may have input a couple

  7      of limit order -- different limits just in case, you

  8      know, there was a temporary dip, and it went back

  9      up.       So I probably had two limits in there.

 10            Q     And by limit orders, do you mean when it fell     11:09:03

 11      to a certain price --

 12            A     Yeah.

 13            Q     -- you would -- you would buy?

 14            A     Correct.

 15            Q     Would you often do that in trading in EPL         11:09:10

 16      securities?

 17            A     I don't --

 18                  MR. KIM:     Objection to form.

 19                  THE WITNESS:     I don't know how to define

 20      often, but it was a way I did it when I was trying            11:09:25

 21      to dollar cost average into something, that I would

 22      put in a lower level and if they hit it, it

 23      triggered.          So probably yes.

 24      BY MR. FUMERTON:

 25            Q     And would you typically put your limit orders     11:09:37

                                                                     Page 94

                                      Veritext Legal Solutions
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                                                                          Exhibit 2
                                                                          Page 28
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 32 of 150 Page ID
                                   #:2519
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 33 of 150 Page ID
                                   #:2520
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 34 of 150 Page ID
                                   #:2521
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 35 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2522 TO PROTECTIVE ORDER

  1             Do I think it was inflated or underinflated?

  2      Relative to my time in it, I thought it's another

  3      chance to dollar cost into a -- a company that I --

  4      that I think had good prospects.

  5         Q   And sitting here today, do you think that the        11:21:52

  6      stock price of EPL on August 14th, 2015 was

  7      artificially inflated?

  8             MR. KIM:     Objection to form --

  9      BY MR. FUMERTON:

 10         Q   You can answer.                                      11:22:05

 11             MR. KIM:     -- to the extent it calls for a

 12      legal conclusion.

 13             THE WITNESS:     In hindsight -- in hindsight, I

 14      mean, I don't know.     It looks like it -- it could

 15      have been.                                                  11:22:32

 16      BY MR. FUMERTON:

 17         Q   Do you think the stock price of EPL was

 18      artificially inflated at any time over the course of

 19      your trades in EPL?

 20             MR. KIM:     Objection to form to the extent it      11:22:44

 21      calls for a legal conclusion.

 22             THE WITNESS:     Could you re -- maybe

 23      rephrase --

 24             MR. FUMERTON:     Sure.

 25             THE WITNESS:     -- or clarify?                      11:22:52

                                                                  Page 106

                                 Veritext Legal Solutions
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                                                                        Exhibit 2
                                                                        Page 32
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 36 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2523 TO PROTECTIVE ORDER

  1              Maybe -- "inflated" maybe is not the right

  2      word.

  3      BY MR. FUMERTON:

  4         Q    Well, I'll ask a better question.

  5         A    Okay.                                               11:22:57

  6




                                                                     11:23:06

 11         Q    At any point in time in that time period, did

 12      you think that the price of EPL stock was

 13      artificially inflated, sitting here today?

 14              MR. KIM:   Objection to form to the extent it

 15      calls for a legal conclusion.                               11:23:17

 16              THE WITNESS:    I'm trying to think of what I

 17      thought back then, but it -- it must have been

 18      because I decided to -- to leave it at some point.

 19      BY MR. FUMERTON:

 20         Q    Right.   And so to be clear, sitting here           11:23:35

 21      today, do you think the price of EPL stock was

 22      artificially inflated at any point between

 23      March 27th, 2015 and August 24th, 2015?

 24              MR. KIM:    Same objection as before; form,

 25      legal conclusion.                                           11:23:54

                                                                 Page 107

                                 Veritext Legal Solutions
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                                                                       Exhibit 2
                                                                       Page 33
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 37 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2524 TO PROTECTIVE ORDER

  1      BY MR. FUMERTON:

  2         Q      You can answer.

  3         A    Okay.   By artificial, meaning it was --

  4         Q      What's your understanding of the term

  5     "artificial inflation"?                                         11:24:06

  6         A      Yeah, that it's artificially high, meaning if

  7      something would have been known that would have

  8      caused it to be lower; is that what you mean?

  9         Q      Use that -- use that definition.         That's

 10      fine.                                                          11:24:17

 11         A      It would be artificially high if there was

 12      information that whoever establishes pricing, the

 13      market.

 14




                                                                     Page 108

                                 Veritext Legal Solutions
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                                                                          Exhibit 2
                                                                          Page 34
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 38 of 150 Page ID
                                   #:2525
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 39 of 150 Page ID
                                   #:2526
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 40 of 150 Page ID
                                   #:2527
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 41 of 150 Page ID
                    CONFIDENTIAL PURSUANT
                                    #:2528 TO PROTECTIVE ORDER

  1                 I, the undersigned, a Certified Shorthand
  2      Reporter of the State of California, do hereby
  3      certify:
                That the foregoing proceedings were taken
  4      before me at the time and place herein set forth;
  5      that any witnesses in the foregoing proceedings,
  6      prior to testifying, were administered an oath; that
  7      a record of the proceedings was made by me using
  8      machine shorthand which was thereafter transcribed
  9      under my direction; that the foregoing transcript is
 10      a true record of the testimony given.
 11            Further, that if the foregoing pertains to the
 12      original transcript of a deposition in a Federal
 13      Case, before completion of the proceedings, review
 14      of the transcript [ ] was [ ] was not requested.
 15             I further certify that I am neither financially
 16      interested in the action nor a relative or employee
 17      of     any attorney or any party to this action.
 18           IN WITNESS WHEREOF, I have this date subscribed
 19      my name.
 20    Dated: 2/9/2018
 21
 22
 23                      <%signature%>
 24                      NADIA NEWHART
 25                      CSR NO. 8714

                                                               Page 159

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                                     866 299-5127
                                                                       Exhibit 2
                                                                       Page 38
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 42 of 150 Page ID
                                   #:2529




                  Exhibit 3
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 43 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2530

  1                    UNITED STATES DISTRICT COURT
  2                   CENTRAL DISTRICT OF CALIFORNIA
  3                           SOUTHERN DIVISION
  4
       _____________________________
  5    DANIEL TUROCY, et al.,                    )
  6    individually and on behalf                )
       of all others similarly                   )
  7    situated,                                 )
  8                  Plaintiffs,                 )
              vs.                                )Case No.
  9    EL POLLO LOCO HOLDINGS,                   )8:15-cv-01343-DOC-KES
 10    INC., et al.,                             )(Consolidated)
 11                  Defendants.                 )
       ___________________________________________________
 12                               CONFIDENTIAL
 13
 14                      VIDEOTAPED DEPOSITION OF
 15                  STEVEN P. FEINSTEIN, Ph.D., CFA
 16                       Los Angeles, California
 17                       Friday, February 9, 2018
 18                                  Volume I
 19
 20    Reported by:
 21    LORI SCINTA, RPR
 22    CSR No. 4811
 23    Job No. 2783473
 24
 25    PAGES 1 - 235

                                                                   Page 1

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhibit 3
                                                                       Page 39
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 44 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2531

  1                    UNITED STATES DISTRICT COURT
  2                   CENTRAL DISTRICT OF CALIFORNIA
  3                           SOUTHERN DIVISION
  4
  5    _____________________________
  6    DANIEL TUROCY, et al.,                    )
  7    individually and on behalf                )
  8    of all others similarly                   )
  9    situated,                                 )
 10                  Plaintiffs,                 )
 11           vs.                                )Case No.
 12    EL POLLO LOCO HOLDINGS,                   )8:15-cv-01343-DOC-KES
 13    INC., et al.,                             )(Consolidated)
 14                  Defendants.                 )
 15    ___________________________________________________
 16
 17
 18           Videotaped deposition of STEVEN P.
 19    FEINSTEIN, Ph.D., CFA, Volume I, taken on behalf of
 20    Defendants, at 300 South Grand Avenue, Suite 3200,
 21    Los Angeles, California, beginning at 9:09 A.M. and
 22    ending at 3:19 P.M. on Friday, February 9, 2018,
 23    before LORI SCINTA, RPR, Certified Shorthand
 24    Reporter No. 4811.
 25

                                                                   Page 2

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                                     866 299-5127
                                                                       Exhibit 3
                                                                       Page 40
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 45 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2532

  1    APPEARANCES:
  2
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                                                                  Page 3

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                                     866 299-5127
                                                                       Exhibit 3
                                                                       Page 41
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 46 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2533

  1    APPEARANCES (Continued):
  2
  3    For Defendants:
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                                                                  Page 4

                                Veritext Legal Solutions
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                                                                       Exhibit 3
                                                                       Page 42
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 47 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2534

  1       Los Angeles, California, Friday, February 9, 2018

  2                           9:09 A.M.

  3

  4              THE VIDEOGRAPHER:     Good morning.        We are

  5    now on the record.    The time is 9:09 A.M.          The date   09:09:41

  6    today, February 9th, 2018.

  7              Please note that the microphones are

  8    sensitive and may pick up whispers, private

  9    conversations and cellular interference.            Please

 10    turn off all cellphones or place them away from the             09:09:57

 11    microphones as they can interfere with the

 12    deposition audio.    Audio and video recording will

 13    continue to take place unless all parties agree to

 14    go off the record.

 15              This is Media Unit 1 of the video-recorded            09:10:10

 16    deposition of Steven P. Feinstein, Ph.D., CFA, taken

 17    by counsel for defendant in the matter of Daniel

 18    Turosy, et al. versus El Pollo Loco Holdings, Inc.,

 19    et al., filed in the United States District Court,

 20    Central District of California, Southern Division,              09:10:29

 21    case No. 8:15-cv-01343-DOC-KES.

 22              The deposition is being held at 300 South

 23    Grand Avenue, Los Angeles, California.

 24              My name is David West.       I am from Veritext.

 25    I am the videographer.     The court reporter is                09:10:49

                                                                       Page 9

                                Veritext Legal Solutions
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                                                                           Exhibit 3
                                                                           Page 43
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 48 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2535

  1    Lori Scinta.    She is also from Veritext.

  2              I am not authorized to administer an oath,

  3    I am not related to any party in this action, nor am

  4    I financially interested in the outcome.

  5              Counsel and all present in the room will          09:11:02

  6    now state their appearances and affiliations for the

  7    record.

  8              If there are any objections to proceeding,

  9    please state them at the time of your appearance,

 10    beginning with the noticing attorney.                       09:11:12

 11              MR. FUMERTON:    Robert Fumerton, Michael

 12    Powell, from Skadden Arps for defendants.

 13              MR. LLORENS:    Ryan Llorens from Robbins

 14    Geller for plaintiffs.

 15              THE VIDEOGRAPHER:      Thank you.                 09:11:22

 16              The court reporter may now swear in the

 17    witness and we will proceed.

 18

 19               STEVEN P. FEINSTEIN, Ph.D., CFA,

 20    having been administered an oath, was examined and

 21    testified as follows:

 22

 23                          EXAMINATION

 24    BY MR. FUMERTON:

 25          Q   Good morning, Dr. Feinstein.                      09:11:36

                                                                  Page 10

                                 Veritext Legal Solutions
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                                                                       Exhibit 3
                                                                       Page 44
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 49 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2536

  1    Project and Report," is that where you set forth the

  2    scope of your engagement in this action?

  3          A   Well, it's Paragraphs 1 and 2.

  4          Q   And in Paragraph 1, you describe the first

  5    part of your analysis which was determining whether         09:17:46

  6    common stock of El Pollo Loco and options traded in

  7    an efficient market; is that correct?

  8          A   Yes.

  9          Q   And then in Paragraph 2, you state, quote:

 10                     "In addition, I have been asked to         09:17:59

 11              opine on whether damages in this

 12              matter can be computed using a common

 13              methodology for all class members in

 14              connection with their claims under

 15              Section 10(b) of the Exchange Act of              09:18:09

 16              1934 and U.S. Securities & Exchange

 17              Commission Rule 10b-5 adopted

 18              thereunder."

 19              Do you see that?

 20          A   Yes.                                              09:18:18

 21          Q   Is it your testimony, though, that your

 22    scope of your engagement also included damages under

 23    Section 20A?

 24          A   Ultimately, yes.

 25              MR. LLORENS:     Objection.     Misstates the     09:18:27

                                                                  Page 16

                                 Veritext Legal Solutions
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                                                                       Exhibit 3
                                                                       Page 45
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 50 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2537

  1    testimony.

  2    BY MR. FUMERTON:

  3          Q   You state "Ultimately, yes."

  4              What do you mean by "ultimately"?

  5          A   Not at the time that I finalized the report       09:18:32

  6    but subsequent I was asked whether what I said in

  7    the report would also cover 20A; and the answer is

  8    yes, it would.

  9          Q   And who asked you that question?

 10          A   Mr. Llorens.                                      09:18:43

 11          Q   You plan on submitting an additional report

 12    with that opinion?

 13          A   If asked.

 14          Q   Has Mr. Llorens asked you to submit an

 15    additional report with that opinion?                        09:18:52

 16          A   No.

 17          Q   Do you anticipate testifying at an

 18    evidentiary hearing for class certification if

 19    asked?

 20          A   If asked, yes.                                    09:19:13

 21          Q   And during that hearing would you opine on

 22    whether Section 20A damages can be computed on a

 23    class-wide basis?

 24          A   If any of the parties ask me to, I would

 25    answer the question.     Sure.                              09:19:25

                                                                  Page 17

                                Veritext Legal Solutions
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                                                                       Exhibit 3
                                                                       Page 46
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 51 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2538

  1          Q     But do you have an opinion as -- one way or

  2    the other -- strike that.

  3                I know it's not in your report, but do you

  4    have an opinion one way or the other as to whether

  5    the alleged misstatements on May 14th impacted the              12:02:16

  6    stock price reaction on May 15th?

  7          A     No --

  8                MR. LLORENS:     Objection.

  9                THE WITNESS:     Oh, sorry.

 10                MR. LLORENS:     Beyond the scope of his            12:02:26

 11    report --

 12                THE WITNESS:     No, because --

 13                MR. LLORENS:     -- and this deposition.

 14                THE WITNESS:     -- this is a market

 15    efficiency report, and it's not a price impact, loss            12:02:30

 16    causation, or damages report.          Analysis for those I

 17    haven't yet conducted.

 18    BY MR. FUMERTON:

 19          Q     What other information was conveyed to the

 20    market on May 14th other than the alleged                       12:02:43

 21    misstatements that could have impacted the stock

 22    price, if you know?

 23          A     No.     I do know.   It's in the report.

 24                I'm just thinking how to characterize it.

 25    But rather than formulate new words, I should just              12:02:57

                                                                     Page 125

                                   Veritext Legal Solutions
                                        866 299-5127
                                                                           Exhibit 3
                                                                           Page 47
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 52 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2539

  1    these questions were leading back to the initial --

  2              MR. FUMERTON:     Counsel --

  3              MR. LLORENS:     -- question of what he would

  4    do if he was --

  5              MR. FUMERTON:     -- let's stick to making        12:16:58

  6    objections.      And if the witness is un- -- has any

  7    question about the questions, he can answer [sic].

  8              MR. LLORENS:     Okay.

  9    BY MR. FUMERTON:

 10          Q   Did you under -- in this case, did you            12:17:11

 11    undertake any independent analysis of the resulting

 12    analysts reports in August 2015 that followed the

 13    August 13th earnings calls?

 14          A   Yes.

 15          Q   In conducting that analysis, did you              12:17:26

 16    determine whether the market was interpreting any

 17    new information concerning the alleged

 18    misstatements?

 19          A   Yes.

 20          Q   And what was your conclusion?                     12:17:41

 21          A   The analyst reports do reflect that the

 22    market was apprised of new negative information

 23    in -- as of the date of those reports after -- well,

 24    new information that was provided to the marketplace

 25    on August 14th, 2015.                                       12:17:59

                                                                 Page 138

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Exhibit 3
                                                                       Page 48
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 53 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2540

  1            Q     And did that new negative information

  2    reveal the truth of any of the alleged

  3    misstatements?

  4                  MR. LLORENS:    Objection.      Outside the scope

  5    of his market efficiency report and this deposition.                12:18:09

  6                  THE WITNESS:    That conclusion I did not

  7    draw.       It was not part of the scope.          It wasn't

  8    necessary for assessing market efficiency.

  9    Everything up to that was integral to assessing

 10    market efficiency or necessary for assessing --                     12:18:23

 11    BY MR. FUMERTON:

 12            Q     Do you have any view --

 13            A     -- market efficiency.

 14                  (Reporter clarification.)

 15            Q     Do you have any view one way or the other             12:18:30

 16    as to whether any of the negative information

 17    revealed the truth of any of the alleged

 18    misstatements?

 19                  MR. LLORENS:    Objection.

 20                  THE REPORTER:    I'm sorry.       Hold on.            12:19:07

 21                  (Reporter clarification.)

 22                  THE WITNESS:    I haven't formed an opinion

 23    about that.       What I did form an opinion about

 24    that -- or a finding -- what I found in my analysis,

 25    which was a step in assessing market efficiency, was                12:19:23

                                                                         Page 139

                                     Veritext Legal Solutions
                                          866 299-5127
                                                                               Exhibit 3
                                                                               Page 49
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 54 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2541

  1    that there was new negative information provided to

  2    the marketplace that hadn't been provided earlier,

  3    whether it -- whether it constitutes a corrective

  4    disclosure or proves price impact is -- are

  5    conclusions I did not need to draw and therefore did        12:19:50

  6    not draw in assessing market efficiency in doing --

  7    and in doing the analysis.

  8              (Exhibit 37 was marked for

  9              identification by the court reporter

 10              and is attached hereto.)                          12:20:22

 11              MR. FUMERTON:     Marking as Exhibit 37 a

 12    William Blair analyst report on El Pollo Loco

 13    Holdings, Inc., dated August 13, 2015.

 14          Q   Do you recognize this document?

 15          A   Yes.                                              12:20:49

 16          Q   And, in fact, you excerpt this document in

 17    Paragraph 126 of your report, correct?

 18          A   Yes.

 19          Q   In the second bullet, the second sentence

 20    of this report states, quote:                               12:21:17

 21                     "Trends softened as the quarter

 22              progressed, with expected weakness in

 23              May (overlapping high-ticket LTOS of

 24              both shrimp and carne asada that

 25              obscured" EPL's "value message)                   12:21:31

                                                                 Page 140

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Exhibit 3
                                                                       Page 50
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 55 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2542

  1    softening that's not fully explained by the expected

  2    weakness in May and the explanation for May that's

  3    offered.

  4          Q     Let's start with May 15th.

  5                Is the May 15th analyst report attributing      12:27:10

  6    the slowdown to the introduction of the overlapping

  7    carne asada and shrimp LTOs?

  8          A     I hate to do this but I just want to hear

  9    your words again.

 10          Q     Let me ask it to you differently.               12:27:48

 11                Does the May 15th analyst report attribute

 12    the slowdown in May to the introduction of the carne

 13    asada and shrimp LTOs?

 14          A     Essentially, yes.

 15          Q     Does --                                         12:28:26

 16          A     Although --

 17                MR. LLORENS:   Let him finish the answer.

 18                THE WITNESS:   But my only caveat is the

 19    bullet point ends by saying this is what management

 20    believes.                                                   12:28:35

 21                So they're saying they have no other

 22    explanation.     They're presenting this as the

 23    explanation and emphasizing that it's what

 24    management has offered as the explanation.

 25    BY MR. FUMERTON:                                            12:28:45

                                                                 Page 144

                                  Veritext Legal Solutions
                                       866 299-5127
                                                                       Exhibit 3
                                                                       Page 51
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 56 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2543

  1          Q    And the explanation to which you're

  2    referring is the overlapping of the shrimp and carne

  3    asada LTOs, correct?

  4          A    Right.

  5          Q    Turning back to the August 13th Blair            12:28:55

  6    analyst report, Exhibit 37.

  7               On August 13th is Blair attributing the

  8    weakness or slowdown in May to the overlapping LTOs

  9    of shrimp and carne asada?

 10          A    Not fully because it says, "Trends softened      12:29:15

 11    as the quarter progressed with expected weakness in

 12    May...."

 13               So at least some of the expected weakness

 14    in May is for that reason, but it also says, "Trends

 15    softened as the quarter progressed...."                     12:29:32

 16               And the rest of May is part of the rest of

 17    the quarter.

 18          Q    What is Blair attributing the expected

 19    weakness in May to in this August 13, 2015, report?

 20          A    Partially, the two-protein introduction but      12:29:55

 21    they leave open that it's not just that because it

 22    says, "Trends softened as the quarter

 23    progressed...."

 24          Q    And "as the quarter progressed" refers to

 25    the more weakness in June with the launch of                12:30:16

                                                                 Page 145

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhibit 3
                                                                       Page 52
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 57 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2544

  1    hand-carved salads, correct?

  2          A   Not necessarily.     They do say there was

  3    more weakness in June but they don't say that these

  4    two explanations are the only explanations for the

  5    trends softening as the quarter progressed.                 12:30:32

  6          Q   Do you see a parenthetical following the

  7    words "expected weakness in May"?

  8          A   I do.

  9          Q   What does that parenthetical refer to?

 10          A   Well, it certainly refers to a component of       12:30:41

 11    the weakness in May that was expected, that being

 12    overlapping high-ticket, limited-time offerings of

 13    both shrimp and carne asada.

 14          Q   And does it attribute any other factor to

 15    the weakness in May other than the overlapping of           12:31:03

 16    shrimp and carne asada?

 17          A   There are no other factors for May that are

 18    explicitly cited, but it does say that "Trends

 19    softened as the quarter progressed...," and the rest

 20    of May is part of the quarter that progressed.              12:31:17

 21              (Exhibit 39 was marked for

 22              identification by the court reporter

 23              and is attached hereto.)

 24              MR. FUMERTON:    Mark as Exhibit 39 a

 25    Morgan Stanley analyst report for El Pollo Loco             12:32:30

                                                                 Page 146

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Exhibit 3
                                                                       Page 53
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 58 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2545

  1    and indicated and quantified by an event study, then

  2    the inflation after that date would be higher and

  3    the inflation before that date would be lower.        So

  4    we would -- the methodology would identify when the

  5    inflation was introduced.                                    01:23:10

  6            Q   Do you have a view as to whether there were

  7    any fraud-related residual price increases during

  8    this class period?

  9            A   I haven't done a damages analysis yet so

 10    no.                                                          01:23:22

 11            Q   Is your belief that artificial inflation in

 12    the stock price can vary over a class period?

 13            A   It can.

 14            Q   And you've just described an instance of

 15    that?                                                        01:23:35

 16            A   Yes.

 17            Q   Now, earlier we discussed the fact that

 18    plaintiffs are asserting a claim under Section 20A,

 19    cap A, of the Exchange Act against certain

 20    defendants.                                                  01:24:20

 21                Do you recall that?

 22            A   Yes.

 23            Q   And you testified earlier that you'd made a

 24    determination as to whether Section 28 damages could

 25    be computable on a class-wide basis, correct?                01:24:29

                                                                  Page 155

                                Veritext Legal Solutions
                                     866 299-5127
                                                                        Exhibit 3
                                                                        Page 54
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 59 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2546

  1          A   Yes.

  2          Q   You did not include that in your report,

  3    though, however, correct?

  4          A   Not explicitly, correct.

  5          Q   Why didn't you include it in your report?            01:24:39

  6          A   I believe at the time of the initial

  7    engagement it wasn't explicitly spelled out as part

  8    of the scope but later, subsequently, it was

  9    commented on.

 10          Q   You say "commented on."       Counsel didn't         01:24:54

 11    tell you to opine on whether Section 20A damages

 12    could be computable on a class-wide basis in your

 13    report?

 14          A   Well, just as it's not explicitly in my

 15    report, but I believe it's addressed.          They didn't     01:25:08

 16    explicitly include it in the scope but may have

 17    considered it --

 18          Q   Where is it --

 19          A   -- part of the general scope.

 20          Q   Where is it implicitly addressed in the              01:25:17

 21    report?

 22          A   Well, the -- where I reference that there

 23    are statutory and case law formulas for damage

 24    computation in these cases.

 25              I mean, I'm not inventing these formulas.            01:25:31

                                                                    Page 156

                                Veritext Legal Solutions
                                     866 299-5127
                                                                          Exhibit 3
                                                                          Page 55
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 60 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2547

  1    These formulas were used in many cases by other

  2    people before me.    Same -- and when it comes to 20A,

  3    it's even more so the case that the damage formula

  4    is spelled out in the statute.

  5          Q   Have you ever offered an opinion                  01:25:44

  6    calculating damages in connection with a Section 20A

  7    claim?

  8          A   I believe I have.

  9          Q   Have you ever offered a report?

 10          A   I believe so.    I can't tell you exactly         01:25:53

 11    which case but I believe so.

 12          Q   In Paragraph 164, you state that plaintiffs

 13    asked you to opine on whether Section 10(b) damages

 14    could be computable on a class-wide basis, correct?

 15          A   That's right.                                     01:26:14

 16          Q   You have no reference to Section 20A here

 17    or anywhere else in the report?

 18          A   That's right.

 19          Q   At what point did counsel tell you to

 20    determine whether Section 20A damages could be              01:26:28

 21    computable on a class-wide basis?

 22          A   You mean, chronologically?         When?

 23          Q   Yes.

 24          A   I believe it must have been within the last

 25    week in preparation for the deposition.                     01:26:38

                                                                 Page 157

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Exhibit 3
                                                                       Page 56
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 61 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2548

  1          Q   Did counsel tell you why you should make a

  2    determination as to whether Section 20A damages

  3    should be computable on a class-wide basis?

  4          A   No.

  5          Q   How many times have you offered an opinion        01:27:02

  6    on Section 20A damages?

  7          A   I don't know.

  8          Q   Fair to say multiple occasions?

  9          A   Yes.

 10          Q   And have you also opined as to whether            01:27:37

 11    Section 20A damages could be calculated on a

 12    class-wide basis?

 13          A   I just don't recall specifics of other

 14    cases with regard to that question.

 15              (Exhibit 43 was marked for                        01:27:46

 16              identification by the court reporter

 17              and is attached hereto.)

 18              MR. FUMERTON:    Marking as Exhibit 43 a

 19    Report on Market Efficiency and Damages you

 20    submitted on February 6, 2015, in an action                 01:28:28

 21    captioned Gordon v. Sonar Capital Management LLC,

 22    et al., case No. 11-CV-9665, in the Southern

 23    District of New York.

 24          Q   Do you see that?

 25          A   Yes.                                              01:28:48

                                                                 Page 158

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Exhibit 3
                                                                       Page 57
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 62 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2549

  1              (Exhibit 45 was marked for

  2              identification by the court reporter

  3              and is attached hereto.)

  4              MR. FUMERTON:     We're marking as Exhibit 45

  5    15 U.S.C.A. Section 78-T1.                                   01:51:22

  6              MR. BAKER:     That was 44.

  7              MR. FUMERTON:     Strike that.       Let's try

  8    again.

  9              Mark it as Exhibit 45 15 U.S.C.A.

 10    Section 78bb.                                                01:51:41

 11              THE WITNESS:     Okay.

 12    BY MR. FUMERTON:

 13          Q   Do you see that, sir?

 14          A   Yes.

 15          Q   And under Section (a) Limitation on                01:51:48

 16    judgments, the statute states, quote:

 17                     "No person permitted to maintain a

 18              suit for damages under the provisions

 19              of this chapter shall recover, through

 20              satisfaction of judgment in one or                 01:52:04

 21              more actions, a total amount in excess

 22              of the actual damages to that person

 23              on account of the act complained of."

 24              Do you see that?

 25          A   I do.                                              01:52:15

                                                                  Page 174

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                        Exhibit 3
                                                                        Page 58
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 63 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2550

  1          Q     And this was the actual damage or actual

  2    loss cap to which you testified about earlier,

  3    correct?

  4          A     Yes.

  5          Q     And it's your understanding that this cap           01:52:21

  6    applies to all claims under the Exchange Act,

  7    correct?

  8                MR. LLORENS:   Objection.      It's outside the

  9    scope of his market efficiency report and it calls

 10    for a legal conclusion.                                         01:52:35

 11    BY MR. FUMERTON:

 12          Q     You're an expert on these statutes.       It's

 13    your conclusion that this cap applies to all claims

 14    under the Exchange Act, correct?

 15                MR. LLORENS:   Objection.      It misstates his     01:52:43

 16    prior testimony about being an expert to all these

 17    statutes.

 18                THE WITNESS:   Well, my opinion, as

 19    expressed in the report, is that damages can be

 20    calculated in a manner using a common methodology               01:53:09

 21    for all class members.      That's the conclusion.

 22                I'd want to review more of the

 23    documentation in order to render an opinion that's

 24    outside the report about whether this cap pertains

 25    to all provisions in the Exchange Act.                          01:53:28

                                                                     Page 175

                                  Veritext Legal Solutions
                                       866 299-5127
                                                                           Exhibit 3
                                                                           Page 59
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 64 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2551

  1    BY MR. FUMERTON:

  2          Q   You see the words "provisions of this

  3    chapter" in what I just read you?

  4          A   Yes.

  5          Q   Do you know what "provisions of this                 01:53:51

  6    chapter" is referring to?

  7          A   Not 100 percent sure.

  8              MR. LLORENS:    Objection.     Calls for a legal

  9    conclusion.

 10              (Reporter clarification.)                            01:54:03

 11              THE WITNESS:    I'm not 100 percent sure

 12    whether it's Section 10 or the entire Exchange Act.

 13    BY MR. FUMERTON:

 14          Q   So sitting here today, you have no idea

 15    whether this provision applies to damages under                01:54:16

 16    Section 20A.

 17              Is that your testimony?

 18          A   I don't spell that out in my report.       And

 19    in order to render an opinion one way or the other,

 20    I would want to review the documents more                      01:54:32

 21    thoroughly.

 22          Q   What documents would you need to review to

 23    answer that question about the application of this

 24    provision?

 25          A   The full text of the Exchange Act as                 01:54:41

                                                                    Page 176

                                Veritext Legal Solutions
                                     866 299-5127
                                                                          Exhibit 3
                                                                          Page 60
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 65 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2552

  1    amended.

  2          Q    Did you apply this cap on 20A damages in

  3    the Gordon report?

  4          A    Yes.   But as I said, that may have been on

  5    account of instructions or recommendations from the         01:54:57

  6    attorneys to provide a conservative methodology for

  7    calculating damages in that particular case.

  8          Q    What do you mean by "conservative" there?

  9          A    A lower bound or a number that's more

 10    conservative than what could reasonably be construed        01:55:44

 11    from the application of the statute.

 12          Q    You testified several times that you

 13    opined -- strike that.

 14               You testified several times today that you

 15    formed an opinion as to whether Section 20A damages         01:55:58

 16    and Section 10(b) damages could be computable on a

 17    class-wide basis.     Do you recall that?

 18          A    Yes.

 19          Q    And in forming that opinion, you're unable

 20    to tell me whether the limitation on judgments set          01:56:12

 21    forth in 15 U.S.C.A. 78bb applies to either section?

 22          A    Absolutely, because it doesn't -- it would

 23    not affect that conclusion that the arithmetic

 24    formula can be applied to all class members.

 25               I mean, the inputs, the argument values in       01:56:35

                                                                 Page 177

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhibit 3
                                                                       Page 61
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 66 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2553

  1    the formula, may be different from one investor to

  2    another, but the formula would be common.

  3          Q   You've testified earlier that you've

  4    offered an opinion calculating Section 20A damages

  5    in other cases, correct?                                    01:56:50

  6          A   Well, you just gave me -- yeah, I think we

  7    have an example of one in front of me.

  8          Q   And in performing that calculation would

  9    you need to know whether Section 78bb entitled

 10    "Limitation on judgments" applied to Section 20A            01:57:02

 11    claims?

 12              MR. LLORENS:    Objection.     Outside of the

 13    scope of this market efficiency report.

 14    BY MR. FUMERTON:

 15          Q   You can answer.                                   01:57:12

 16          A   Not necessarily.    In fact, it's altogether

 17    possible that what was explained and understood at

 18    the time of this report from three years ago was

 19    that there's some ambiguity in the statute and as a

 20    result I should interpret the ambiguity in the most         01:57:27

 21    conservative manner.

 22          Q   Can you point to me any ambiguity in this

 23    provision?

 24          A   Yes.   We've been talking about it's not

 25    clear whether it provide -- it pertains to                  01:57:38

                                                                 Page 178

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhibit 3
                                                                       Page 62
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 67 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2554

  1    Section 20A as well as 10b-5.

  2               You said that it's clear and that it says,

  3    "provisions of this chapter," but exactly what it

  4    means by "this chapter" is, at least at this point,

  5    somewhat ambiguous to me --                                 01:57:53

  6          Q    Are you aware of case law applying this

  7    provision to Section 20A claims?

  8          A    Not as I sit here now, I can't cite for you

  9    case law about that point in particular.

 10          Q    Turning back to Paragraph 140 of the Gordon      01:58:06

 11    report, you state, quote, "The statute" -- and,

 12    again, we're talking about Section 20A; is that

 13    correct?

 14          A    Yes.

 15          Q    -- "provides that persons engaged                01:58:32

 16               in insider trading are liable for

 17               damages to other market participants

 18               who trade 'contemporaneously' with the

 19               insiders."

 20               Do you see that?                                 01:58:42

 21          A    Yes.

 22          Q    Do you have any understanding of why this

 23    contemporaneous requirement is contained in the

 24    statute?

 25          A    I'm not a lawyer.                                01:58:48

                                                                 Page 179

                                Veritext Legal Solutions
                                     866 299-5127
                                                                       Exhibit 3
                                                                       Page 63
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 68 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2555

  1               MR. LLORENS:   Objection.      Calls for a legal

  2    opinion.

  3    BY MR. FUMERTON:

  4          Q    I'm not asking you for your legal opinion.

  5    I'm asking you for your understanding.                          01:58:52

  6          A    Well, I'm not a lawyer or a lawmaker so I

  7    can't speak to what the lawmaker's intent was when

  8    they included that word in that provision.

  9          Q    Do you have any understanding of the

 10    contemporaneous requirement in Section 20A and the              01:59:06

 11    reason it's in there?

 12               MR. LLORENS:   Objection.      Vague and calls

 13    for a legal conclusion.

 14    BY MR. FUMERTON:

 15          Q    You can answer.                                      01:59:10

 16          A    Not as an economist, but just -- I -- no.

 17    I mean, I'm not -- I'm not going to offer a

 18    professional opinion about the motivation for that

 19    provision being included in the law.

 20          Q    You're saying you're not going to offer one          01:59:29

 21    because you can't?

 22               MR. LLORENS:   Objection.      Misstates his

 23    prior testimony.

 24               THE WITNESS:   It was not -- well, it's not

 25    part of my report.    It wasn't relevant to any of the          01:59:37

                                                                     Page 180

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                           Exhibit 3
                                                                           Page 64
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 69 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2556

  1    conclusions or analysis, methodology, findings or

  2    conclusions in my report.

  3               And although I might have some

  4    understanding, it's not derived from the expertise

  5    that I am holding out as -- in my credentials here            01:59:53

  6    today.

  7    BY MR. FUMERTON:

  8           Q   What is that understanding?

  9           A   Like I said, I'm not going to -- I'm not

 10    going to speculate about the motivation of the                02:00:04

 11    lawmakers for including that provision.              It's

 12    outside my area of expertise, assessing and

 13    speculating about their motivation.

 14           Q   You just testified you had an understanding

 15    of the reason the contemporaneous requirement's in            02:00:16

 16    the statute.    I'm asking you what that understanding

 17    was.

 18               MR. LLORENS:   Objection.      Misstates his

 19    prior testimony.

 20    BY MR. FUMERTON:                                              02:00:23

 21           Q   Answer the question.

 22               MR. LLORENS:   If you can.

 23               THE WITNESS:   Well, I'll caveat it by

 24    saying that it's an understanding that's -- of law

 25    that's derived from my experience working with these          02:00:34

                                                                   Page 181

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                         Exhibit 3
                                                                         Page 65
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 70 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2557

  1    provisions but not from my credentials and expertise

  2    that I -- that qualify me as an expert in this area,

  3    which is the reason I was reluctant to offer the

  4    understanding.

  5              But -- so your question is, then, as a              02:00:55

  6    layperson why might the lawmakers have included a

  7    provision that says that the damages are owed to the

  8    people who traded contemporaneously?

  9              With all of those caveats, it seems that

 10    they are the ones who would have been damaged by the          02:01:13

 11    insider trading; that if one person is benefitting

 12    from trading at an -- from selling at an inflated

 13    high price or buying at an -- at an artificially

 14    deflated low price, that the person they're trading

 15    with would have had the benefit of selling at a               02:01:32

 16    higher price or buying at a lower price.

 17    BY MR. FUMERTON:

 18          Q   Now, when an insider sells their shares in

 19    the open market is it possible to determine who

 20    purchased those shares?                                       02:01:44

 21              MR. LLORENS:    Objection.     It's outside the

 22    scope of his market efficiency report.

 23    BY MR. FUMERTON:

 24          Q   You can answer.

 25              MR. LLORENS:    If you can.                         02:01:50

                                                                   Page 182

                                Veritext Legal Solutions
                                     866 299-5127
                                                                         Exhibit 3
                                                                         Page 66
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 71 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2558

  1              THE WITNESS:    The shares are fungible so

  2    you can't usually, on an open-market transaction,

  3    trace exactly who received the shares that a

  4    particular seller is selling on a particular day.

  5    But you -- but that's not to say that you have no           02:02:17

  6    information whatsoever.

  7              I mean, you've -- you can assess -- you can

  8    narrow down the pool of the buyers to the people who

  9    bought that day and you can assess the probability

 10    that they received those shares by -- based on the          02:02:33

 11    size of a particular trader's trades relative to the

 12    number of shares that traded that day.

 13    BY MR. FUMERTON:

 14          Q   Now, you --

 15          A   So it's not like there's no information.          02:02:42

 16    But you can't conclusively identify who received

 17    particular shares if it's an open-market trade.

 18          Q   I think you testified earlier that you are

 19    aware that certain insiders sold shares during the

 20    class period.                                               02:02:59

 21          A   That's right.

 22          Q   Is that correct?

 23              And if you turn to Paragraph 11 of the

 24    Third Amended Complaint, which is Exhibit 3 --

 25          A   Okay.                                             02:03:32

                                                                 Page 183

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                       Exhibit 3
                                                                       Page 67
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 72 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2559

  1          Q   -- you see it lists various defendants, the

  2    date sold and the shares sold?

  3          A   Yes.

  4          Q   And the controlling shareholder defendants,

  5    Mr. Sather, Mr. Valle, are alleged to have all sold            02:03:42

  6    their shares on May 19th, 2015; is that correct?

  7          A   Yes.

  8          Q   And those three entities are alleged to

  9    have sold approximately 5 -- approximately 6 million

 10    shares?                                                        02:04:05

 11          A   Yes, approximately.

 12          Q   Do you have any understanding of who bought

 13    the shares from these defendants on May 19th?

 14              MR. LLORENS:    Objection.      It's outside the

 15    scope of his --                                                02:04:15

 16              (Speaking simultaneously.)

 17    BY MR. FUMERTON:

 18          Q   You can answer.

 19              MR. LLORENS:    -- market efficiency report.

 20              -- if you have an opinion on who bought              02:04:18

 21    their shares --

 22              (Speaking simultaneously.)

 23              MR. FUMERTON:     For the record --

 24              MR. LLORENS:    -- you can answer.

 25              MR. FUMERTON:     -- the only reason it's            02:04:23

                                                                    Page 184

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                          Exhibit 3
                                                                          Page 68
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 73 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2560

  1    outside the scope of the report is because --

  2                MR. LLORENS:    Because it has nothing to do

  3    with market efficiency.       That's why.

  4                MR. FUMERTON:    Do not cut me off.         Let me

  5    finish.     I have not interrupted you once.           Do not      02:04:33

  6    cut me off.

  7                The only reason it's not in your report is

  8    because for some reason your expert failed to

  9    disclose his opinion that Section 20A damages could

 10    be calculated on a class-wide basis.                               02:04:45

 11            Q   Sir, answer the question.

 12            A   My understanding is these shares were sold

 13    through Jefferies or sold to Jefferies investment

 14    bank.

 15            Q   And they were sold in a block trade; is                02:04:56

 16    that correct?

 17            A   That's my understanding.

 18            Q   What's a block trade?

 19            A   A large trade off the -- off of the

 20    exchange.                                                          02:05:04

 21                Sometimes off the -- it can be off the

 22    exchange or it can be on the exchange but it can

 23    often --

 24                (Reporter clarification.)

 25                -- it can also be off the exchange.                    02:05:13

                                                                        Page 185

                                   Veritext Legal Solutions
                                        866 299-5127
                                                                              Exhibit 3
                                                                              Page 69
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 74 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2561

  1              Shares sold in a block to an institution.

  2          Q   Are you aware whether these shares were

  3    sold off or on the market as part of this block

  4    trade?
                             is not
  5          A   This volume is included in market volume               02:05:23

  6    that day so it would have been off the market.

  7          Q   Who is the party who suffered damages as a

  8    result of this block trade?

  9          A   I did not do a damages calculation yet, or

 10    damage assessment.                                               02:05:43

 11          Q   I'm asking you as an economic matter, who

 12    suffered damages as a result of this block trade on

 13    May 19th, 2015?

 14          A   I would need to do a loss causation and

 15    damage calculation in order to answer that question,             02:05:56

 16    neither of which I have done yet.

 17          Q   Who are the universe of entities that could

 18    have been damaged in a block trade to Jefferies on

 19    May 19th, 2015?

 20              MR. LLORENS:     Objection.      Outside the scope     02:06:11

 21    of his market efficiency report and it's been asked

 22    and answered.

 23              THE WITNESS:     It takes time and effort and

 24    attention and analysis to answer those sorts of

 25    questions.    I'm not going to do it on the fly here             02:06:22

                                                                      Page 186

                                  Veritext Legal Solutions
                                       866 299-5127
                                                                            Exhibit 3
                                                                            Page 70
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 75 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2562

  1    without the benefit of documents and the requisite

  2    time.

  3    BY MR. FUMERTON:

  4            Q   In your view, could Jefferies have been

  5    damaged by the block trade on May 19th?                         02:06:33

  6                MR. LLORENS:   Objection.      It's outside the

  7    scope of his market efficiency report.

  8    BY MR. FUMERTON:

  9            Q   You can answer.

 10            A   I'm not going to speculate about the                02:06:41

 11    conclusion of a damage analysis that I haven't yet

 12    conducted.

 13            Q   Answer the -- answer the question.

 14                MR. LLORENS:   He just did.

 15                If that's what your answer is, that's what          02:06:48

 16    your answer is.     Don't let him bully you into saying

 17    something --

 18                THE WITNESS:   Okay.

 19                MR. LLORENS:   -- you don't want to say.

 20    BY MR. FUMERTON:                                                02:06:54

 21            Q   Are you refusing to answer my question?

 22                MR. LLORENS:   He answered your question.

 23    BY MR. FUMERTON:

 24            Q   Sitting here today with your expertise in

 25    analyzing and quantifying damages under federal                 02:07:03

                                                                     Page 187

                                  Veritext Legal Solutions
                                       866 299-5127
                                                                           Exhibit 3
                                                                           Page 71
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 76 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2563

  1    statutes which you testified including Section 20A,

  2    could Jefferies have been damaged by the block trade

  3    on May 19th?

  4                MR. LLORENS:   Objection.

  5    BY MR. FUMERTON:                                             02:07:13

  6          Q     Yes or no?

  7                MR. LLORENS:   It's outside the scope of his

  8    market efficiency report --

  9                (Speaking simultaneously.)

 10    BY MR. FUMERTON:                                             02:07:17

 11          Q     Answer the question.

 12                MR. LLORENS:   -- and it's been asked and

 13    answered.

 14                THE WITNESS:   Well, having the expertise to

 15    conduct the analysis is not the same thing as doing          02:07:24

 16    the analysis.     I haven't yet done a damages analysis

 17    so I can't -- I don't have the answer to your

 18    question because I haven't done the analysis yet.

 19    BY MR. FUMERTON:

 20          Q     Have you done an analysis of who has a           02:07:36

 21    Section 20A claim here?

 22          A     No.

 23          Q     You have no idea who has a Section 20A

 24    claim here?

 25          A     Well, I haven't -- I've read the complaint.      02:07:49

                                                                  Page 188

                                  Veritext Legal Solutions
                                       866 299-5127
                                                                        Exhibit 3
                                                                        Page 72
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 77 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2564

  1    I can see what the allegations are but I don't have

  2    an independent conclusion based on my own analysis

  3    of who has a claim or who suffered damages.

  4            Q   Who do plaintiffs allege have a Section 20A

  5    claim?                                                      02:08:04

  6            A   I'm going to refer to the complaint for

  7    that.

  8                Paragraph 1 says that the complaint is:

  9                      "...on behalf of all purchasers of

 10                El Pollo Loco securities between                02:08:19

 11                May 15th, 2015 and August 13th, 2015,

 12                inclusive..." "...seeking remedies

 13                pursuant to" -- among other things --

 14                "...Section 20A of the Securities

 15                Exchange Act of 1934...."                       02:08:35

 16            Q   So your view, anyone who purchased between

 17    May 15th, 2015 and August 13th, 2015, has a

 18    Section 20A claim against defendants.

 19                That's your testimony?

 20            A   No.                                             02:08:51

 21            Q   So let me ask you again.

 22                Which plaintiffs here have a Section 20A

 23    claim against defendants?

 24            A   You say you're asking the question again.

 25    I'll just say that my answer is the same as the last        02:09:03

                                                                 Page 189

                                  Veritext Legal Solutions
                                       866 299-5127
                                                                       Exhibit 3
                                                                       Page 73
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 78 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2565

  1    time you asked it.

  2          Q   Turning back to the Gordon report, in

  3    Paragraph 152 --

  4          A   Okay.

  5          Q   -- you calculate per-share 20A damages for           02:09:38

  6    six different time periods; is that correct?

  7          A   Yes.

  8          Q   And why did you calculate damages for these

  9    six periods?

 10              MR. LLORENS:     Objection.     It's outside the     02:10:02

 11    scope of his El Pollo Loco marketing efficiency

 12    report.

 13              THE WITNESS:     Well, the report explains

 14    that -- Paragraph 141:

 15                     "Plaintiffs' attorneys instructed             02:10:21

 16              me to consider various definitions of

 17              contemporaneous periods in estimating

 18              damages."

 19              To that end, I provided estimates for six

 20    different definitions of a contemporaneous period.             02:10:33

 21    BY MR. FUMERTON:

 22          Q   What are those six periods?

 23          A   Paragraph 141 continues.

 24                     "The first definition of

 25              contemporaneous period is the very                   02:10:41

                                                                    Page 190

                                 Veritext Legal Solutions
                                      866 299-5127
                                                                          Exhibit 3
                                                                          Page 74
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 79 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2566

  1              same day that defendants traded, which

  2              is denoted 'T+0.'     The second

  3              definition, denoted 'T+1,' comprises

  4              the day that defendants traded and the

  5              next trading day.     The next three                 02:10:53

  6              definitions of contemporaneous period

  7              each include one additional

  8              incremental day after the defendants'

  9              trade date, respectively, and are

 10              denoted 'T+3,' 'T+4,' and 'T+5.'"                    02:11:04

 11          Q   And do you have any view as to which of

 12    these periods constitutes trading contemporaneously

 13    with the insider?

 14              MR. LLORENS:    Objection.     Calls for a legal

 15    conclusion.                                                    02:11:16

 16              THE WITNESS:    You mean in the Gordon case

 17    or in the --

 18    BY MR. FUMERTON:

 19          Q   In the Gor- -- in the Gordon case.

 20          A   I believe the reason the attorneys asked             02:11:22

 21    for several different definitions is there's some

 22    ambiguity.     And so providing a range and a --

 23    essentially, a scenario analysis, would provide the

 24    court with information regardless of whichever

 25    particular definition the court decided on.                    02:11:39

                                                                    Page 191

                                Veritext Legal Solutions
                                     866 299-5127
                                                                          Exhibit 3
                                                                          Page 75
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 80 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2567

  1                So, no, I didn't have a -- I didn't have an

  2    opinion, but it was my understanding that it would

  3    be determined in the course of the process of the

  4    case.

  5            Q   And the maximum length of time you went out         02:11:48

  6    from the trading date on this analysis was five

  7    days, correct?

  8            A   Five days beyond the current day.       So it's

  9    a group of six days.

 10            Q   Were there any block trades at issue in the         02:11:59

 11    Gordon case?

 12            A   I don't recall.

 13            Q   Would that have affected your Section 20A

 14    analysis?

 15            A   I don't think so but I don't recall with            02:12:06

 16    certainty.

 17            Q   So it's your testimony that under

 18    Section 20A if you can identify precisely who

 19    purchased the insider shares in an off-market block

 20    trade, you can't tell me who has the Section 20A                02:12:21

 21    claim?

 22            A   I think that's a legal determination that

 23    I'm not prepared to offer.

 24            Q   You can't answer the question?

 25            A   Well, the question is almost the definition         02:12:37

                                                                     Page 192

                                Veritext Legal Solutions
                                     866 299-5127
                                                                           Exhibit 3
                                                                           Page 76
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 81 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2568

  1    of a legal conclusion and I'm not here to render

  2    legal opinions.

  3          Q     As an economic matter, who's damaged in a

  4    block trade?

  5                MR. LLORENS:   Objection.      It's outside the     02:12:53

  6    scope of his market efficiency report.

  7                THE WITNESS:   That's a complicated

  8    question, which may not be completely addressed in

  9    the statutes, in the legal statutes and case law.

 10                I -- I can't offer an opinion about all the         02:13:24

 11    people who are damaged but I can offer an opinion

 12    that given the range of possible ways of

 13    interpreting the law, the formula that is agreed

 14    upon could be applied in a manner common for all

 15    class members.                                                  02:13:43

 16    BY MR. FUMERTON:

 17          Q     You can't answer the question as an

 18    economic matter who's damaged in a block trade?

 19                MR. LLORENS:   Objection.

 20                THE WITNESS:   It's not as easy --                  02:13:53

 21                MR. LLORENS:   The question's been asked and

 22    answered.

 23                THE WITNESS:   Well, I mean, there's a lot

 24    of considerations.     It's -- it's not as easy as you

 25    might purportedly be trying to -- as you might be               02:14:02

                                                                     Page 193

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                                                                           Exhibit 3
                                                                           Page 77
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 82 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2569

  1    trying to make it look.

  2              There are certainly the traders who are

  3    unwittingly trading at skewed prices.           There may be

  4    other traders and market participants whose trades

  5    are affected by those skewed prices and volumes.                 02:14:27

  6    BY MR. FUMERTON:

  7          Q   Assume Jefferies purchased the 6 million

  8    shares from the defendants -- which I believe you

  9    testified that was your understanding, correct?

 10          A   Yes.                                                   02:14:38

 11          Q   -- on May 19th, correct?

 12          A   Okay.

 13          Q   And Jefferies never resold those shares

 14    into the market.

 15              Are you with me?                                       02:14:47

 16          A   Well, I'll assume it for the sake of your

 17    hypothetical, sure.

 18          Q   As an economic matter, who suffered

 19    damages, if anyone, in that transaction?

 20              MR. LLORENS:    Objection.      Calls for a legal      02:15:00

 21    conclusion, it's outside of the scope of his --

 22              MR. FUMERTON:    Counsel, I asked as an

 23    economic matter.    If that's not within the subject

 24    of his expertise --

 25              (Speaking simultaneously.)                             02:15:09

                                                                      Page 194

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                                                                            Exhibit 3
                                                                            Page 78
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 83 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2570

  1              MR. LLORENS:    You just --

  2              MR. FUMERTON:    -- you have no --

  3              MR. LLORENS:    -- said you never cut me off.

  4              Are you going to let me finish my

  5    objection, or do you intend on cutting me off every         02:15:13

  6    time I make an objection?

  7              MR. FUMERTON:    I thought you were finished.

  8    I apologize.

  9              MR. LLORENS:    Do you want to ask it again

 10    so I can object?                                            02:15:20

 11              MR. FUMERTON:    Well, you ask -- you

 12    objected on the grounds it called for a legal

 13    conclusion when I asked him as an economic matter.

 14    So the objection was frivolous.

 15              MR. LLORENS:    It was not frivolous and I        02:15:33

 16    didn't finish my objection.

 17              The latter part of my objection is that

 18    it's outside the scope of his market efficiency

 19    report which is what we're here to discuss.

 20    BY MR. FUMERTON:                                            02:15:43

 21          Q   Sir, do you recall the hypothetical I've

 22    given you?

 23          A   Yes.

 24          Q   Jefferies purchases all 6 million shares on

 25    May 19th in the block trade off market, correct?            02:15:50

                                                                 Page 195

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                                                                       Exhibit 3
                                                                       Page 79
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 84 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2571

  1          A     Right.

  2          Q     Jefferies never resells them into the

  3    market, correct?

  4          A     Well, you're asking me to assume that.

  5          Q     As an economic matter, who, if anyone,          02:15:58

  6    suffered potential damages in that transaction?

  7                MR. LLORENS:   Same objections.

  8                THE WITNESS:   Well, if that's the scope of

  9    an engagement, I would begin extensive analysis and

 10    perhaps some research in order to answer the                02:16:15

 11    question.     It's not something that can be answered

 12    without further research and analysis.

 13    BY MR. FUMERTON:

 14          Q     Is it possible that a party other than

 15    Jefferies suffered damages --                               02:16:25

 16          A     It's certainly possible.

 17          Q     -- as part of that transaction?

 18                MR. LLORENS:   Same objections.

 19                THE WITNESS:   It's possible.

 20    BY MR. FUMERTON:                                            02:16:32

 21          Q     Under what circumstances could a party

 22    other than Jefferies suffer damages as a result of

 23    that block trade?

 24                MR. LLORENS:   Same objections.

 25                THE WITNESS:   It's the kind of thing I'd       02:16:39

                                                                 Page 196

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                                                                       Exhibit 3
                                                                       Page 80
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 85 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2572

  1    want to research in order to confidently answer the

  2    question.

  3                The trade may have skewed, impacted --

  4    "perturbed" is a word that's used in the

  5    profession -- prices and transaction considerations.               02:16:54

  6    I just wouldn't want to rule out that anyone else

  7    besides Jefferies suffered without doing the

  8    appropriate analysis.

  9                And we're -- let's take a break.

 10    BY MR. FUMERTON:                                                   02:17:07

 11          Q     Answer the question.

 12          A     I did just --

 13          Q     We'll take a break after you answer the

 14    question.

 15          A     Well, I'm done with my answer.             And you     02:17:13

 16    said at the beginning when there's no question

 17    pending, I can call for a break.

 18          Q     Okay.   I want to follow up and then we can

 19    take a break.

 20          A     Well, you said at the very beginning that I            02:17:21

 21    can ask for a break --

 22                MR. FUMERTON:    Counsel, if we take a break,

 23    you cannot discuss this line of questioning in the

 24    break room or else we'll stay on the record.

 25                MR. LLORENS:    You're telling me what I can           02:17:29

                                                                        Page 197

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                                                                              Exhibit 3
                                                                              Page 81
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 86 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2573

  1                I, the undersigned, a Certified Shorthand
  2    Reporter of the State of California, do hereby
  3    certify:
  4                That the foregoing proceedings were taken
  5    before me at the time and place herein set forth;
  6    that any witnesses in the foregoing proceedings,
  7    prior to testifying, were duly sworn; that a record
  8    of the proceedings was made by me using machine
  9    shorthand which was thereafter transcribed under my
 10    direction; that the foregoing transcript is a true
 11    record of the testimony given.
 12                Further, that if the foregoing pertains to
 13    the original transcript of a deposition in a Federal
 14    Case, before completion of the proceedings, review
 15    of the transcript [         ] was [ ] was not requested.
 16                I further certify I am neither financially
 17    interested in the action nor a relative or employee
 18    of any attorney or party to this action.
 19                IN WITNESS WHEREOF, I have this date
 20    subscribed my name.
 21                Dated:2/12/2018
 22
 23
                      <%signature%>
 24                   LORI SCINTA, RPR
 25                   CSR No. 4811

                                                               Page 235

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                                                                       Exhibit 3
                                                                       Page 82
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 87 of 150 Page ID
                                   #:2574




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Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 88 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2575

  1                UNITED STATES DISTRICT COURT
  2               CENTRAL DISTRICT OF CALIFORNIA
  3                     SOUTHERN DIVISION
  4    _____________________________
                                     )
  5    DANIEL TUROCY, et al.,        )
       individually and on behalf    )
  6    of all others similarly       )
       situated,                     )
  7                                  )
                 Plaintiffs,         )
  8                                  )
            vs.                      )Case No.
  9                                  )8:15-cv-01343-DOC-KES
       EL POLLO LOCO HOLDINGS,       )(Consolidated)
 10    INC., et al.,                 )
                                     )
 11              Defendants.         )
       _____________________________)
 12    ____________________________________________________
 13
 14                     C O N F I D E N T I A L
 15               VIDEOTAPED DEPOSITION OF PETER KIM
 16                     Los Angeles, California
 17                    Tuesday, February 13, 2018
 18                             Volume I
 19
 20
 21    Reported by:
 22    LORI SCINTA, RPR
 23    CSR No. 4811
 24    Job No. 2816992
 25    PAGES 1 - 119

                                                                  Page 1

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                                                                       Exhibit 4
                                                                       Page 83
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 89 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2576

  1                UNITED STATES DISTRICT COURT
  2               CENTRAL DISTRICT OF CALIFORNIA
  3                     SOUTHERN DIVISION
  4    _____________________________
                                     )
  5    DANIEL TUROCY, et al.,        )
       individually and on behalf    )
  6    of all others similarly       )
       situated,                     )
  7                                  )
                 Plaintiffs,         )
  8                                  )
            vs.                      )Case No.
  9                                  )8:15-cv-01343-DOC-KES
       EL POLLO LOCO HOLDINGS,       )(Consolidated)
 10    INC., et al.,                 )
                                     )
 11              Defendants.         )
       _____________________________)
 12    ____________________________________________________
 13
 14                   C O N F I D E N T I A L
 15              Videotaped deposition of PETER KIM,
 16    Volume I, taken on behalf of Defendants, at
 17    300 South Grand Avenue, Suite 3200, Los Angeles,
 18    California, beginning at 9:06 A.M. and ending at
 19    12:33 P.M. on Tuesday, February 13, 2018, before
 20    LORI SCINTA, RPR, Certified Shorthand Reporter
 21    No. 4811.
 22
 23
 24
 25

                                                                  Page 2

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                                     866 299-5127
                                                                       Exhibit 4
                                                                       Page 84
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 90 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2577

  1    APPEARANCES:
  2
  3    For Plaintiffs:
  4            ROBBINS GELLER RUDMAN & DOWD LLP
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 10            619.231.1058
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 12                   -- and --
 13            THE ROSEN LAW FIRM
 14            BY:     JOSH BAKER
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 16            275 Madison Avenue
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 18            New York, New York 10016
 19            212.686.1060
 20            Email:       jbaker@rosenlegal.com
 21            (Of record but not present)
 22
 23
 24
 25

                                                                  Page 3

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                                                                       Exhibit 4
                                                                       Page 85
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 91 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2578

  1    APPEARANCES (Continued):
  2
  3    For Defendants:
  4            SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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 12
 13    Videographer:
 14            DAVID WEST
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                                                                  Page 4

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                                                                       Exhibit 4
                                                                       Page 86
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 92 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2579

  1      Los Angeles, California, Tuesday, February 13, 2018

  2                            9:06 A.M.

  3

  4              THE VIDEOGRAPHER:     Good morning.       We are on

  5    the record.     The time is 9:06 A.M.      The date today,      09:06:12

  6    February 13, 2018.     Please note that the microphones

  7    are sensitive and may pick up whispering, private

  8    conversations, and cellular interference.           Please

  9    turn off all cellphones or place them away from the

 10    microphones as they can interfere with the                      09:06:31

 11    deposition audio.     Audio and video recording will

 12    continue to take place unless all parties agree to

 13    go off the record.

 14              This is Media Unit 1 of the video-recorded

 15    deposition of Peter Kim taken by counsel for                    09:06:44

 16    defendant in the matter of Daniel Turocy, et al.,

 17    versus El Pollo Loco Holdings, Inc., et al., filed

 18    in United States District Court, Central District of

 19    California, Southern Division, case

 20    No. 8:15-cv-01343-DOC-KES.                                      09:06:58

 21              The deposition is being held at 300 South

 22    Grand Avenue, Suite 3200, Los Angeles, California.

 23              My name is David West.       I am the

 24    videographer.     The court reporter is Lori Scinta.

 25    We are from Veritext Legal Solutions.                           09:07:22

                                                                       Page 8

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                                                                           Exhibit 4
                                                                           Page 87
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 93 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2580

  1              I am not authorized to administer an oath.

  2    I am not related to any party in this action, nor am

  3    I financially interested in the outcome.

  4              Counsel and all present in the room will

  5    now state their appearances and affiliations for the        09:07:34

  6    record.

  7              If there are any objections to proceeding,

  8    please state them at the time of your appearance,

  9    beginning with the noticing attorney.

 10              MR. FUMERTON:     Robert Fumerton,                09:07:44

 11    Michael Restey, from Skadden, Arps for defendants.

 12              MR. LLORENS:     Ryan LLorens from Robbins

 13    Geller for the witness and plaintiffs.

 14              THE VIDEOGRAPHER:      Thank you.

 15              THE WITNESS:     Peter Kim.                       09:07:55

 16              THE VIDEOGRAPHER:      Thank you.

 17              The court reporter may now swear in the

 18    witness, and we will proceed.

 19

 20                             PETER KIM,                         09:08:00

 21    having been administered an oath, was examined and

 22    testified as follows:

 23

 24    ///

 25    ///

                                                                   Page 9

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                                                                       Exhibit 4
                                                                       Page 88
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 94 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2581

  1                           EXAMINATION

  2    BY MR. FUMERTON:

  3          Q   Good morning, Mr. Kim.

  4          A   Good morning.

  5          Q   Please state your full name and address for              09:08:14

  6    the record.

  7          A   Peter Kim.

  8    La Habra, California 90631.

  9          Q   Mr. Kim, have you ever been deposed before?

 10          A   Have I ever been?                                        09:08:30

 11          Q   Deposed before?

 12          A   No.

 13          Q   So I want to go over the ground rules.            I'm

 14    going to ask a series of questions.          From time to

 15    time your counsel may object but you have to answer                09:08:40

 16    unless your counsel instructs you not to answer.

 17              Understood?

 18          A   Yes.

 19          Q   Let's do our best not to talk over each

 20    other.    The court reporter can only take down one of             09:08:49

 21     us at a time.   Let me finish my questions before you

 22    answer.   I'll do my best to let you finish your

 23    answer before asking you another question.

 24              Understood?

 25          A   Understood.                                              09:08:59

                                                                         Page 10

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                                                                             Exhibit 4
                                                                             Page 89
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 95 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2582

  1                I don't know how to answer that at this

  2    stage.

  3    BY MR. FUMERTON:

  4          Q     Sitting here today, do you believe that it

  5    was inflated on August -- strike that.                             11:26:29

  6                Sitting here today, do you believe that the

  7    price of EPL stock was inflated on May 15th, 2015?

  8                MR. LLORENS:    Asked and answered.

  9                THE WITNESS:    I think the price was high in

 10    May, if that's what you're asking.                                 11:26:46

 11    BY MR. FUMERTON:

 12          Q     No.   I'm asking do you think it was

 13    inflated.

 14          A     I don't know.

 15          Q     Do you think that the price of EPL stock               11:26:53

 16    was inflated on August 14th, 2015?

 17          A     On August 14?

 18          Q     On August 14, 2015.

 19          A     Well, even at that point, we're at 14

 20    compared to August 20, we're at 12.            It's definitely     11:27:28

 21    higher.

 22          Q     And do you have a view as to whether it was

 23    inflated on August 14th?

 24          A     I think it was higher.

 25          Q     That's not what I asked you.          I asked:   Do    11:27:45

                                                                         Page 79

                                   Veritext Legal Solutions
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                                                                              Exhibit 4
                                                                              Page 90
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 96 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2583

  1    you think the stock was inflated on August 14th?

  2              MR. LLORENS:    Objection.     Asked and

  3    answered and it's vague and ambiguous.

  4              THE WITNESS:    I don't recall.

  5    BY MR. FUMERTON:                                                  11:27:58

  6          Q   I'm not asking whether you recall.

  7              Sitting here today, do you have a view one

  8    way or the other as to whether the price of EPL

  9    stock was inflated on August 14th --

 10              MR. LLORENS:    Same objections.                        11:28:08

 11    BY MR. FUMERTON:

 12          Q   -- 2015?

 13          A   On August 14, was it inflated?            I think to

 14    some degree.

 15          Q   What caused the stock price to decline                  11:28:39

 16    between August 3rd and August 14th?

 17          A   What caused the price to decline?

 18              I don't recall exactly what -- if it was at

 19    that time frame, but I think the -- and I'm not

 20    sure, but I think maybe there's some things came                  11:29:28

 21    out -- some things came out that made the -- the

 22    stock, EPL, not look as promising.

 23          Q   And do you recall what those things that

 24    came out were?

 25          A   Well, time frame of it, not sure, but I do              11:29:51

                                                                        Page 80

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                                                                             Exhibit 4
                                                                             Page 91
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 97 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2584

  1    know that it was the -- the fact that they got rid

  2    of their value pricing menu, and I think they were

  3    conflicting as to whether they're -- they actually

  4    are a QSR+ that -- now, that's supposed to be their

  5    niche, but -- yeah.                                         11:30:38

  6            Q   When did it come out that they were getting

  7    rid of their value pricing menu?

  8            A   I don't recall.

  9            Q   Couldn't you just walk into an EPL

 10    restaurant and see whether there was a value menu?          11:31:03

 11            A   I guess I could have.

 12            Q   But you didn't do that during this time

 13    period?

 14            A   I did not.

 15            Q   What caused the price of EPL stock to           11:31:22

 16    decline between August 14th, 2015 and August 20th,

 17    2015?

 18            A   For the most part, I think it's the same

 19    answers, just depending on what was more revealed at

 20    what time frame and not that I can exactly recall           11:31:55

 21    what news came out when.      But whether it was the

 22    quarterly report or what statements, the fact that

 23    they sold -- you know, any of which -- like I don't

 24    recall when what was done.

 25            Q   But -- but more news concerning the alleged     11:32:28

                                                                  Page 81

                                Veritext Legal Solutions
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                                                                       Exhibit 4
                                                                       Page 92
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 98 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2585

  1    misstatements came out between August 14th and

  2    August 20th, 2015; is that correct?

  3          A   I don't know.

  4          Q   Can you think of any other reason why the

  5    stock would have declined between August 14th and           11:32:43

  6    August 20th, 2015?

  7          A   Again, I don't know when statements are

  8    made as to when the market knows, when the public

  9    knows.

 10              So those factors I don't know.                    11:32:59

 11          Q   Now, after you sold your EPL stock on

 12    August 20th, 2015, you bought EPL stock again at a

 13    later date, correct?

 14          A   Yes.

 15          Q   And why did you do so?                            11:33:16

 16          A   Same reasons.    I consider -- some of it

 17    considering the fact that a lot of times you look at

 18    a stock that you lost a lot of money on and

 19    sometimes you reflect back on it, you wonder how

 20    they're doing.    You look at the price and you think,      11:33:39

 21    oh, maybe -- maybe now it's going to be okay.

 22          Q   So turning back to the big bundle of

 23    documents, which is Exhibit 48 --

 24          A   Yes.

 25          Q   -- I want you to flip to the Bates ending         11:34:03

                                                                  Page 82

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                                                                       Exhibit 4
                                                                       Page 93
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 99 of 150 Page ID
                                 CONFIDENTIAL
                                   #:2586

  1    in TDA 1092, which is your statement from

  2    November 2015.

  3          A   I'm sorry.    What's the date?

  4          Q   November 2015.    And it should -- the Bates

  5    should be ending in 1092.                                   11:34:32

  6          A   Okay.   November 2015?

  7          Q   Correct.

  8

  0




 17          Q   Now, you had already sued EPL for fraud by

 18    November 2015, correct?

 19          A   I don't remember the exact timeline, when

 20    that started.     But -- but I do know -- or did know       11:35:55

 21     when I made purchases afterwards that, yes.

 22         II




                                                                  Page 83

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                                                                       Exhibit 4
                                                                       Page 94
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 100 of 150 Page ID
                                    #:2587
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  •
  •

 •
  11              MR. LLORENS:   Objection.      Misstates his

  12    prior testimony.    He never said --

  13    BY MR. FUMERTON:

  14         Q    You can answer.

  15




                                                                   Page 84

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                                                                        Exhibit 4
                                                                        Page 95
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 101 of 150 Page ID
                                  CONFIDENTIAL
                                    #:2588



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            II
       111111111h
             A    (No audible response.)

             Q    You have to answer.                               11:38:54

                                                                   Page 85

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                                                                        Exhibit 4
                                                                        Page 96
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 102 of 150 Page ID
                                  CONFIDENTIAL
                                    #:2589

  1                 I, the undersigned, a Certified Shorthand
  2     Reporter of the State of California, do hereby
  3     certify:
  4                 That the foregoing proceedings were taken
  5     before me at the time and place herein set forth;
  6     that any witnesses in the foregoing proceedings,
  7     prior to testifying, were duly sworn; that a record
  8     of the proceedings was made by me using machine
  9     shorthand which was thereafter transcribed under my
 10     direction; that the foregoing transcript is a true
 11     record of the testimony given.
 12                 Further, that if the foregoing pertains to
 13     the original transcript of a deposition in a Federal
 14     Case, before completion of the proceedings, review
 15     of the transcript [         ] was [ ] was not requested.
 16                 I further certify I am neither financially
 17     interested in the action nor a relative or employee
 18     of any attorney or party to this action.
 19                 IN WITNESS WHEREOF, I have this date
 20     subscribed my name.
 21     Dated: 2/15/2018
 22
 23
                                  <%signature%>
 24                               LORI SCINTA, RPR
 25                               CSR No. 4811

                                                                Page 119

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                                      866 299-5127
                                                                        Exhibit 4
                                                                        Page 97
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 103 of 150 Page ID
                                    #:2590




                  Exhibit 5
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 104 of 150 Page ID
                                    #:2591




                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                         SOUTHERN DIVISION


 DANIEL TUROCY, et al., Individually
 and on Behalf of All Others Similarly
 Situated,                                      Case No. 8:15-cv-01343-DOC-KES

                        Plaintiffs,

       vs.

 EL POLLO LOCO HOLDINGS, INC., et
 al.,

                        Defendants




                      REPORT OF DANIEL R. FISCHEL


                                      March 8, 2018




                                                                          Exhibit 5
                                                                          Page 98
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 105 of 150 Page ID
                                    #:2592



  I.    QUALIFICATIONS
               1.    I am President of Compass Lexecon, a consulting firm that
  specializes in the application of economics to a variety of legal and regulatory
  issues. I am also the Lee and Brena Freeman Professor of Law and Business
  Emeritus at The University of Chicago Law School. I have served previously as
  Dean of The University of Chicago Law School, Director of the Law and
  Economics Program at The University of Chicago, and as Professor of Law and
  Business at The University of Chicago Graduate School of Business, the Kellogg
  School of Management at Northwestern University, and the Northwestern
  University Law School.
               2.    Both my research and my teaching have concerned the
  economics of corporate law and financial markets. I have published approximately
  fifty articles in leading legal and economics journals and am coauthor, with Judge
  Frank Easterbrook of the Seventh Circuit Court of Appeals, of the book The
  Economic Structure of Corporate Law (Harvard University Press, 1991). Courts of
  all levels, including the Supreme Court of the United States, have cited my articles
  as authoritative. My curriculum vitae, which contains a list of my publications, is
  attached hereto as Appendix A.
               3.    I have served as a consultant or adviser on economic issues to,
  among others, the United States Department of Justice, the United States Securities
  and Exchange Commission, the National Association of Securities Dealers, the
  New York Stock Exchange, the Chicago Board of Trade, the Chicago Mercantile
  Exchange, the New York Mercantile Exchange, the United States Department of



                                           -2-

                                                                                     Exhibit 5
                                                                                     Page 99
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 106 of 150 Page ID
                                    #:2593



  Labor, the Federal Deposit Insurance Corporation, the Resolution Trust
  Corporation, and the Federal Trade Commission.
               4.    I am a member of the American Economic Association and the
  American Finance Association. I am also a former member of the Board of
  Directors of the Center for the Study of the Economy and the State at The
  University of Chicago, and former Chairman of the American Association of Law
  Schools’ Section on Law and Economics. I have testified as an expert witness in
  multiple proceedings in federal and state courts across the country, as detailed in
  Appendix A.

  II.   INTRODUCTION, ASSIGNMENT, AND SUMMARY OF
        CONCLUSIONS
               5.    Lead Plaintiffs claim under Section 20A of the Securities
  Exchange Act that while in possession of allegedly material non-public
  information about El Pollo Loco Holdings, Inc. (“EPL” or the “Company”), two of
  the three officer defendants (Chief Executive Officer Stephen J. Sather and Chief
  Marketing Officer Edward J. Valle) and Defendant Trimaran Pollo Partners, L.L.C.
  (together, the “20A Defendants”)1 sold 5,937,500 EPL shares on May 19, 2015
  “contemporaneously with Lead Plaintiffs’ purchases of El Pollo Loco common
  stock during the Class Period,” causing Lead Plaintiffs to suffer damages.2


  1. Third Amended Complaint (“TAC”) ¶¶ 1, 31 & 130. Although named as
     defendants to Lead Plaintiffs’ Section 20A claim, Defendants Trimaran Capital
     Partners and Freeman Spogli & Co. are not alleged to have traded EPL shares.
     Id. ¶¶ 92 & 133.
  2. Id. ¶¶ 130-135. I understand that the third officer defendant, Chief Financial
     Officer Laurance Roberts, did not sell any of his Company shares in the block

                                           -3-

                                                                                  Exhibit 5
                                                                                 Page 100
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 107 of 150 Page ID
                                    #:2594



                6.    I have been asked by counsel for the 20A Defendants to analyze
  whether their sale of Company shares on May 19, 2015 caused Lead Plaintiffs to
  suffer economic injury. In performing this work, I have received assistance from
  Compass Lexecon personnel working under my supervision.3 A list of materials
  we have relied upon in connection with the preparation of this report is attached as
  Appendix B.
                7.    I have concluded that the EPL shares sold by the 20A
  Defendants on May 19, 2015 were purchased by a single counterparty, Jefferies
  LLC (“Jefferies”), not Lead Plaintiffs, and thus Lead Plaintiffs did not sustain
  economic injury as a result of that alleged insider-trading transaction. The bases
  for this opinion are provided in the remainder of this report.

  III.   LEAD PLAINTIFFS DID NOT SUSTAIN ECONOMIC INJURY
         FROM THE 20A DEFENDANTS’ SALE OF SHARES ON MAY 19,
         2015
                8.    I understand that the 20A Defendants sold EPL shares on May
  19, 2015 to a single buyer, Jefferies, in a private, off-market transaction known as
  a “block trade.”4 The price of the 20A Defendants’ private block trade was $21.85
  per share,5 below the lowest intraday market price on May 19, 2015 of $23.20.6
  The number of shares sold by each 20A Defendant is set forth below:7

     trade. Id. ¶ 92.
  3. Compass Lexecon bills for professional services at hourly rates, and also
     charges fees for administrative expenses and the use of its computer and
     databases. My hourly rate is $1,500.
  4. See, e.g., EPL-0003291-98.
  5. TAC ¶ 133; we verified the sale price by reviewing the Forms 4 filed with the
     Securities and Exchange Commission. See, e.g.,

                                           -4-

                                                                                  Exhibit 5
                                                                                 Page 101
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 108 of 150 Page ID
                                    #:2595




                     Defendant                   EPL Shares Sold to Jefferies
                                                      on May 19, 2015
        Trimaran Pollo Partners, L.L.C.                  5,402,500
        Stephen J. Sather                                 360,000
        Edward J. Valle                                   175,000
                9.     I understand that the private block trade was conducted
  pursuant to Securities and Exchange Commission Rule 144. I further understand
  that as part of the block trade process, the parties exchanged letters setting forth the
  representations made by each party.8
                10.    Lead Plaintiffs were not parties to that transaction and therefore
  did not suffer economic injury as a result.9
                11.    The fact that Lead Plaintiffs were not the actual purchasers of
  the shares sold by the 20A Defendants is evident from the private nature of the
  block trade and the documents evidencing it, which set forth the parties engaged in
  the transaction.
                12.    Moreover, Lead Plaintiffs and others who purchased EPL
  securities subsequent to the time of the 20A Defendants’ trade actually paid less

       https://www.sec.gov/Archives/edgar/data/1606366/000120919115045318/xslF3
       45X03/doc4.xml.
  6.   See CRSP US Stock and Index Databases ©2017 Center for Research in
       Security Prices (CRSP), The University of Chicago Booth School of Business.
       $21.85 is also below the closing price on May 18, 2015 of $24.27. See id.
  7.   TAC ¶ 133.
  8.   See, e.g., EPL-0004469-75.
  9.   In their complaint, Lead Plaintiffs list purchases they made on May 19, 2015,
       May 29, 2015, and June 2, 2015, i.e., up to nine trading days after the 20A
       Defendants sold their shares, at various purchase prices that all differ from the
       $21.85 price the 20A Defendants received: $22.90, $23.21, $20.88, and $21.99.
       TAC ¶ 134.

                                            -5-

                                                                                    Exhibit 5
                                                                                   Page 102
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 109 of 150 Page ID
                                    #:2596



  than they otherwise would have because of the 20A Defendants’ sales.
  Specifically, market participants were aware that Jefferies was selling the block
  trade shares at a discount to the then-prevailing market price (but above the price
  the 20A Defendants received) and the decline in EPL’s stock price on May 20,
  2015 was attributed to this news.10 Indeed, the statistical analysis of the
  relationship between information and the Company’s stock price movements
  known as an “event study” that was prepared by Lead Plaintiffs’ expert Steven
  Feinstein shows that the residual return of EPL stock over the two-day period from
  May 19, 2015 to May 20, 2015 was negative and statistically significant.11
               13.    I have reviewed the transcript from the deposition of Professor
  Feinstein, at which he stated that it may be possible that a party other than the
  purchaser, Jefferies, suffered injury as a result of the block trade, but was unable to
  provide any detail as to who could have suffered injury or what form such injury
  would have taken.12

  10. See Reuters, “BUZZ-El Pollo Loco Holdings Inc: Hit again on existing holder
     sale,” May 20, 2015 & Investor’s Business Daily, “Shake Shack Hits New High
     Amid NYC Flagship Reopening,” May 20, 2015. On May 21, 2015, the 20A
     Defendants disclosed their sales on Forms 4 filed with the Securities and
     Exchange Commission. (See, e.g.,
     https://www.sec.gov/Archives/edgar/data/1606366/000120919115045318/xslF3
     45X03/doc4.xml.)
  11. Professor Feinstein describes his event study analysis in the Report on Market
     Efficiency of Professor Steven P. Feinstein, Ph.D., CFA dated December 8,
     2017 at ¶¶ 106-111. We replicated this analysis and found that the two-day
     stock residual return in log form is -8.15% and the two-day t-statistic is -2.23,
     which is considered statistically significant at conventional levels of
     significance.
  12. See Transcript of Videotaped Deposition of Steven P. Feinstein, Ph.D., CFA
     dated February 9, 2018 at 186:17-200:2.

                                           -6-

                                                                                    Exhibit 5
                                                                                   Page 103
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 110 of 150 Page ID
                                    #:2597




              14.    Given Professor Feinstein’s decision to exclude this opinion
 from his report and failure at his deposition to offer any theory or analysis as to
 how any other party could have been injured by the block trade, it is impossible to
 provide a specific response to Professor Feinstein’s statement. However, as
 described above, because Lead Plaintiffs were not the purchasers of the shares sold
 by the 20A Defendants in the alleged insider-trading transaction on May 19, 2015,
 they did not sustain injury from that private sale of shares.




                                                        Daniel    .   Fischel

  March 8, 2018




                                            -7-
                                                                                   Exhibit 5
                                                                                  Page 104
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 111 of 150 Page ID
                                    #:2598




                     Appendix A




                                                                        Exhibit 5
                                                                       Page 105
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 112 of 150 Page ID
                                    #:2599



  DANIEL R. FISCHEL                                                           March 2018
  Business Address:

  Compass Lexecon
  332 South Michigan Avenue
  Chicago, Illinois 60604
  Tel: 312-322-0209
  dfischel@compasslexecon.com


                                  PROFESSIONAL EXPERIENCE


  Lee and Brena Freeman Professor of Law and Business, University of Chicago Law School
  (7/89 – 12/2005, emeritus as of 1/1/2006); Dean of Law School (1/99 – 2/01); Professor of Law,
  University of Chicago Law School (1/84 - present); Visiting Professor of Law, University of
  Chicago Law School (7/82 - 6/83).

  Professor of Law and Business, Northwestern University School of Law (1/1/2006 – 5/2011).

  Professor, Kellogg School of Management (courtesy appointment, 1/1/2006 – 5/2011).

  Jack N. Pritzker Distinguished Visiting Professor of Law, Northwestern University School of Law
  (6/02-6/03).

  Professor of Law and Business, University of Chicago Graduate School of Business (7/87 -
  6/90).

  Director, Law and Economics Program, University of Chicago (1/84 - 6/91).

  Assistant Professor of Law, Northwestern University School of Law (6/80 - 6/81); Associate
  Professor of Law, Northwestern University School of Law (6/81 - 6/82); promoted to full
  professor in 6/82.

  Attorney with Levy and Erens, Chicago, Illinois (7/79 - 6/80).

  Law Clerk for Associate Justice Potter Stewart of the United States Supreme Court (1978 -
  1979).

  Law Clerk for Judge Thomas E. Fairchild, Chief Judge of the Seventh Circuit Court of Appeals
  (1977 - 1978).




                                                                                            Exhibit 5
                                                                                           Page 106
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 113 of 150 Page ID
                                    #:2600
                                               -2-




                                   CONSULTING EXPERIENCE

  President and Chairman, Compass Lexecon (formerly Lexecon).



                                  AREAS OF SPECIALIZATION

  Securities and Financial Markets, Valuation and Financial Analysis, Bankruptcy and Financial
  Distress Litigation, ERISA Litigation, Class Certification, Damages, Corporate Governance.

                                          PUBLICATIONS

  Payback: The Conspiracy to Destroy Michael Milken and His Financial Revolution, Harper
  Business (1995).

  The Economic Structure of Corporate Law, Harvard University Press (1991) (with Frank H.
  Easterbrook).


                                            ARTICLES


  The Use of Trading Models to Estimate Aggregate Damages in Securities Fraud Litigation: An
  Update, Briefly… Perspectives on Legislation, Regulation, and Litigation, Vol. 10, No. 3
  (National Legal Center for the Public Interest, 2006) (with David J. Ross and Michael A.
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  The Hewlett-Packard Merger: A Case Study, in The New Investor Relations, Expert
  Perspectives on The State Of The Art (Bloomberg Press Princeton, 2004) (with Kenneth R.
  Cone, Gregory J. Pelnar and David J. Ross).

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                                                                                           Exhibit 5
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Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 114 of 150 Page ID
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  Center for the Public Interest, 1994) (with David J. Ross).

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  (with David J. Ross).

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  published in Corporate Law and Economic Analysis (Cambridge University Press 1990) (Lucian
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  M. Rosenfield and Robert S. Stillman).

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  Edward P. Lazear).

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  Empirical Analysis, 71 Corn. L. Rev. 261 (1986) (with Michael Bradley).

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  Easterbrook).


                                                                                             Exhibit 5
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Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 115 of 150 Page ID
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                                                                                              Exhibit 5
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Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 116 of 150 Page ID
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                                                                                              Exhibit 5
                                                                                             Page 110
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 117 of 150 Page ID
                                    #:2604
                                              -6-




                                          EDUCATION

  University of Chicago Law School, Chicago, Illinois; J.D. 1977, cum laude; Order of the Coif;
  Comment Editor, Vol. 44, University of Chicago Law Review; Approximately top 1% of the Class.
  Awarded Casper Platt Award for best paper written by a student of the University of Chicago
  Law School; awarded Jerome N. Frank Prize for excellence in legal writing while a member of
  the University of Chicago Law Review, 1975 - 1977. Studied law and economics with Richard
  Posner and other members of the faculty.


  Brown University, Providence, Rhode Island; M.A. 1974 in American History.

  Cornell University, Ithaca, New York; major-American History; minor-Economics; B.A. 1972.




                                                                                         Exhibit 5
                                                                                        Page 111
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 118 of 150 Page ID
                                    #:2605
                                                  -7-




                                             TESTIMONY


  Deposition of Daniel R. Fischel In Re: Dr. Alan Sacerdote, et al. vs. New York University, In the
       United States District Court for the Southern District of New York, Civil Action No. 1:16-cv-
       6284-KBF (March 1, 2018).

  Testimony of Daniel R. Fischel In Re: Lehman Brothers Holdings Inc., et al., in the United
        States Bankruptcy Court, Southern District of New York, Chapter 11, Case No. 08-13555
        (SCC) (December 4, 2017).

  Deposition of Daniel R. Fischel In Re: Lehman Brothers Holdings Inc., et al., In the United
       States Bankruptcy Court, Southern District of New York, Chapter 11, Case No. 08-13555
       (SCC) (October 17, 2017).

  Testimony of Daniel R. Fischel In Re: Genon Energy, Inc., et al, Debtors, In the United States
        Bankruptcy Court for the Southern District of Texas Houston Division, Chapter 11, Case
        No. 17-33695 (DRJ) (October 6, 2017).

  Deposition of Daniel R. Fischel In Re: Genon Energy, Inc., et al, Debtors, In the United States
       Bankruptcy Court for the Southern District of Texas Houston Division, Chapter 11, Case
       No. 17-33695 (DRJ) (August 25, 2017).

  Deposition of Daniel R. Fischel In Re: United States ex re. Hendrix et al., vs. JM Manufacturing
       Company, Inc., et al., In the United States District Court, Central District of California,
       Case No. ED CV 06-00055-GW (July 20, 2017).

  Testimony of Daniel R. Fischel In Re: Syngenta AG MIR 162 Corn Litigation, In the United
        States District Court for the District of Kansas, Master File No. 2:14-MD-02591-JWL-JPO
        (June 19, 2017).

  Testimony of Daniel R. Fischel In Re: In Re: Motors Liquidation Company, f/k/a General Motors
        Corporation, et al., Debtors, United States Bankruptcy Court, Southern District of New
        York, Chapter 11, Case No.:09-50026 (MG) and Motors Liquidation Company Avoidance
        Action Trust, et al vs. JPMorgan Chase Bank, N.A., et al., United States Bankruptcy
        Court, Southern District of New York, Case No.: 09-00504 (MG) (May 2 and 3, 2017).

  Deposition of Daniel R. Fischel In Re: Alere-Abbott Merger Litigation, In the Court of Chancery
       of the State of Delaware, Consolidated C.A. No. 12963-VCG (April 4, 2017).

  Testimony of Daniel R. Fischel In Re: Appraisal of AOL Inc., In the Court of Chancery of the
        State of Delaware, Consol C.A. No. 11204-VCG (March 20, 2017).

  Deposition of Daniel R. Fischel In Re: City of Daytona Beach Policy and Fire Pension Fund, et
       al vs. Examworks Group, Inc., et al., In the Court of Chancery of the State of Delaware,
       C.A. No. 12481-VCL (February 22, 2017).

  Deposition of Daniel R. Fischel In Re: Appraisal of AOL Inc., In the Court of Chancery of the
       State of Delaware, Consol C.A. No. 11204-VCG (February 14 and 15, 2017).



                                                                                                 Exhibit 5
                                                                                                Page 112
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 119 of 150 Page ID
                                    #:2606
                                                -8-


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       Corporation, et al., Debtors, United States Bankruptcy Court, Southern District of New
       York, Chapter 11, Case No.:09-50026 (MG) and Motors Liquidation Company Avoidance
       Action Trust, et al vs. JPMorgan Chase Bank, N.A., et al., United States Bankruptcy
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  Deposition of Daniel R. Fischel In Re: Syngenta Litigation, In the State of Minnesota District
       Court, County of Hennepin Fourth Judicial District, Court File No. 27-CV-15-3785 and In
       Re: Syngenta AG MIR 162 Corn Litigation, In the United States District Court for the
       District of Kansas, Case No. 2:14-md-2591-JWL-JPO (January 20, 2017).

  Testimony of Daniel R. Fischel In the Matter of Motiva Enterprises LLC vs. Bechtel Corporation,
        Jacobs Engineering Group, Inc. and Bechtel-Jacobs CEP Port Arthur Joint Venture,
        International Institute for Conflict Prevention and Resolution (October 20, 2016).

  Deposition of Daniel R. Fischel in Beaver County Employees Retirement Fund, et al., vs. Cyan,
       Inc., et al., Superior Court of the State of California, County of San Francisco, Lead Case
       No. CGC-14-538355 (Consolidated with No. CGC-14-539008) (October 11, 2016).

  Deposition of Daniel R. Fischel In Re: Paragon Offshore PLC, et al, Debtors, In the United
       States Bankruptcy Court, District of Delaware, Case No. 16-10386 (September 23, 2016).

  Deposition of Daniel R. Fischel In the Matter of Motiva Enterprises LLC vs. Bechtel Corporation,
       Jacobs Engineering Group, Inc. and Bechtel-Jacobs CEP Port Arthur Joint Venture,
       International Institute for Conflict Prevention and Resolution (August 25, 2016).

  Deposition of Daniel R. Fischel In Re: Syngenta AG MIR162 Corn Litigation, In the United
       States District Court for the District of Kansas; Case No. 2;14-MD-02591-JWL-JPO and In
       Re: Syngenta Litigation, In the State of Minnesota District Court, County of Hennepin,
       Fourth Judicial District, Case No. 27-CV-15-385 (August 11, 2016).

  Deposition of Daniel R. Fischel in The Western and Southern Life Insurance Company vs. The
       Bank of New York Mellon, Court of Common Pleas, Hamilton County, Ohio, Case No. A
       1302490 (July 27, 2016).

  Testimony of Daniel R. Fischel in Herbalife, Ltd., vs. KPMG LLP, Non-Administered Arbitration
        of the International Institute for Conflict Prevention and Resolution, CPR Case No.
        1100076998 (May 19, 2016).

  Testimony of Daniel R. Fischel in iHeart Communications, Inc., f/k/a Clear Channel
        Communications, Inc. vs. Benefit Street Partners, et al., In the District Court of Bexar
        County, Texas, Cause No. 2016 CI 04006 (May 17, 2016).

  Deposition of Daniel R. Fischel in iHeart Communications, Inc., f/k/a Clear Channel
       Communications, Inc. vs. Benefit Street Partners, et al., In the District Court of Bexar
       County, Texas, Cause No. 2016 CI 04006 (May 12, 2016).

  Testimony of Daniel R. Fischel in U.S. Commodity Futures Trading Commission v. Igor B.
        Oystacher and 3 Red Trading, LLC, In the United States District Court for the Northern
        District of Illinois, Eastern Division, Docket No. 15 C 9196 (May 6, 2016).

  Testimony of Daniel R. Fischel in Merion Capital LP and Merion Capital II, LP vs. Lender
        Processing Services, Inc., In the Court of Chancery of the State of Delaware, C.A. No.
        9320-VCL (May 4 and 5, 2016).                                                       Exhibit 5
                                                                                              Page 113
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 120 of 150 Page ID
                                    #:2607
                                                 -9-


  Testimony of Daniel R. Fischel in iHeart Communications, Inc., f/k/a Clear Channel
        Communications, Inc. v. Benefit Street Partners LLC, et al., In the District Court of Bexar
        County, Texas, 285th Judicial District, Cause No. 2016-CI 04006 (April 5, 2016).

  Deposition of Daniel R. Fischel in iHeart Communications, Inc., f/k/a Clear Channel
       Communications, Inc. v. Benefit Street Partners LLC, et al., In the District Court of Bexar
       County, Texas, 285th Judicial District, Cause No. 2016-CI 04006 (April 2, 2016).

  Deposition of Daniel R. Fischel in Herbalife Ltd. vs. KPMG LLP, Non-Administered Arbitration of
       the International Institute for Conflict Prevention and Resolution, CPR Case No.
       1100076998 (March 31, 2016).

  Deposition of Daniel R. Fischel in U.S. Commodity Futures Trading Commission v. Igor B.
       Oystacher and 3 Red Trading, LLC, In the United States District Court, Northern District of
       Illinois, Eastern Division, No. 15-cv-09196 (March 25, 2016).

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       Processing Services, Inc., In the Court of Chancery of the State of Delaware, C.A. No.
       9320-VCL (March 15, 2016).

  Deposition of Daniel R. Fischel in Lawrence E. Jaffe Pension Plan, On Behalf of Itself and All
       Others Similarly Situated v. Household International, Inc., et al., In the United States
       District Court, Northern District of Illinois Eastern Division, Lead Case No. 02-C-5893
       (February 24, 2016).

  Deposition of Daniel R. Fischel in Robert E. Morley, Jr. and REM Holdings 3, LLC vs. Square,
       Inc., Jack Dorsey, and James McKelvey, Jr., United States District Court for the Eastern
       District of Missouri, Eastern Division, Civil Action No. 14-CV-00172-SNLJ (February 19,
       2016).

  Testimony of Daniel R. Fischel In the Matter of the Application of U.S. Bank National
        Association, The Bank of New York Mellon, et al., Supreme Court of the State of New
        York, County of New York, Index No. 652382/2014 (January 20 and 21, 2016).

  Testimony of Daniel R. Fischel in Sangeeth Peruri v. Ameriprise Financial, Inc., et al, American
        Arbitration Association Case No. 01-15-0002-3991 (December 7, 2015).

  Deposition of Daniel R. Fischel In the Matter of the Application of U.S. Bank National
       Association, The Bank of New York Mellon, The Bank of New York Mellon Trust Company,
       N.A., et al, In the Supreme Court of the State of New York, County of New York, Index No.
       652382/2014 (December 3, 2015).

  Testimony of Daniel R. Fischel in Securities and Exchange Commission v. Arkadiy Dubovoy, et
        al, In the United States District Court for the District of New Jersey, Civil Case No. 15-cv-
        6076-MCA (October 8, 2015).

  Deposition of Daniel R. Fischel in Steven A. Stender, Harold Silver and Infinity Clark Street
       Operating, L.L.C., on behalf of themselves and all others similarly situated v. Archstone-
       Smith Operating Trust, et al., in the United States District Court for the District of
       Colorado, Case No. 07-CV-02503-WJM-MJW (July 24, 2015).




                                                                                                Exhibit 5
                                                                                               Page 114
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 121 of 150 Page ID
                                    #:2608
                                                - 10 -


  Testimony of Daniel R. Fischel In Re: Determination of Royalty Rates and Terms for Ephemeral
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        Copyright Royalty Judges, The Library of Congress, Docket No. 14-CRB-0001-WR
        (2016-2020) (May 21 and 22, 2015).

  Deposition of Daniel R. Fischel In Re: Determination of Royalty Rates and Terms for Ephemeral
       Recording and Digital Performance of Sound Recordings (Web IV), in the United States
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       (2016-2020) (April 1, 2015).

  Deposition of Daniel R. Fischel in MacDermid, Incorporated vs. Cookson Group, PLC, Cookson
       Electronics and Enthone, Inc., in the Superior Court, Judicial District of Waterbury, Docket
       No. UWY-CV-12-6016356-S (January 21, 2015)

  Testimony of Daniel R. Fischel in the Securities and Exchange Commission vs. Samuel E. Wyly
        and Donald R. Miller, Jr., in his capacity as the Independent Executor of the Will and
        Estate of Charles J. Wyly, Jr., in the United States District Court, Southern District of New
        York, 10 Civ. 5760 (SAS) (November 17, 2014).

  Deposition of Daniel R. Fischel In Re: Activision Blizzard, Inc. Stockholder Litigation, In the
       Court of Chancery of the State of Delaware, Consolidated C.A. No. 8885-VCL (October
       17, 2014).

  Testimony of Daniel R. Fischel in Hugh M. Caperton, Harman Development Corporation,
        Harman Mining Corporation, and Sovereign Coal Sales, Inc. v. A.T. Massey Coal
        Company, Inc., In the Circuit Court for Buchanan County, Case No. 027CL10000771-00
        (May 20 and 21, 2014).

  Deposition of Daniel R. Fischel in Center Partners, Ltd., et al v. Urban Shopping Centers, L.P.,
       et al., In the Circuit Court of Cook County, Illinois, County Department, Law Division,
       Case No. 04 L 012194 (April 24, 2014).

  Deposition of Daniel R. Fischel in Third Point LLC v. William F. Ruprecht, et al and Sotheby’s, In
       the Court of Chancery of the State of Delaware, C.A. No. 9469-VCP (April 19, 2014).

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       Harman Mining Corporation, and Sovereign Coal Sales, Inc. v. A.T. Massey Coal
       Company, Inc., In the Circuit Court for Buchanan County, Case No. 027CL10000771-00
       (March 14, 2014).

  Deposition of Daniel R. Fischel in Corre Opportunities Fund, LP, Zazove Associates LLC, DJD
       Group LLLP, First Derivative Traders LP, and Kevan A. Fight vs. Emmis Communications
       Corporation, United States District Court, Southern District of Indiana, Indianapolis
       Division, Case No. 1:12-cv-0491-SEB-TAB (October 4, 2013).

  Testimony of Daniel R. Fischel In the Matter of the Application of The Bank of New York Mellon,
        (As Trustee Under Various Pooling and Servicing Agreements and Indenture Trustee
        under various indentures), Petitioner, for an order, pursuant to CPLR §7701, seeking
        judicial instructions and approval of a proposed settlement, Index No. 651786/11,
        Supreme Court of the State of New York, County of New York: Trial Term Part 39
        (September 9 and 10, 2013).


                                                                                               Exhibit 5
                                                                                              Page 115
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 122 of 150 Page ID
                                    #:2609
                                                 - 11 -


  Testimony of Daniel R. Fischel In Re: September 11 Litigation, Case No. 21 MC 97 (AKH),
        United States District Court for the Southern District of New York, (July 16, 2013)

  Deposition of Daniel R. Fischel in Cantor Fitzgerald & Co., et al v. American Airlines, Inc., et al,
       Case No. 21 MC 101 (AKH), 04 CV 7318 (AKH), United States District Court, Southern
       District of New York (July 1, 2013).

  Deposition of Daniel R. Fischel In Re: Pfizer Inc. Securities Litigation, Case No. 04 Civ. 9866
       (RO) In The United States District Court for the Southern District of New York (June 28,
       2013).

  Testimony of Daniel R. Fischel in William T. Esrey, Julie C. Esrey, Ronald T. LeMay and
        Casondra C. Lemay v. Ernst & Young LLP Arbitration, Case No. 13 107 Y 02332 11 (May
        29, 2013).

  Deposition of Daniel R. Fischel in Christine Bauer-Ramazani and Carolyn B. Duffy, on behalf of
       themselves and all other similarly situated v. Teachers Insurance and Annuity Association
       of America – College Retirement and Equities Fund (TIAA-CREF), et al, in the United
       States District Court, District of Vermont, Docket No. 1:09-cv-190 (May 21, 2013).

  Deposition of Daniel R. Fischel In Re: Google Inc. Class C Shareholder Litigation, In the Court
       of Chancery of the State of Delaware, Case No. 7469CS (May 17, 2013).

  Deposition of Daniel R. Fischel In the Matter of the application of The Bank of New York Mellon
       (as Trustee under various Pooling and Servicing Agreements and Indenture Trustee
       under various Indentures), et al., Supreme Court of the State of New York, County of New
       York, Index No. 651786/2011 (May 9, 2013).

  Deposition of Daniel R. Fischel in William T. Esrey, Julie C. Esrey, Ronald T. Lemay, and
       Casondra C. Lemay v. Ernst & Young, L.L.P., Before the American Arbitration Association,
       Case No. 1234 (May 7, 2013).

  Deposition of Daniel R. Fischel in Archer Well Company, Inc. v. GW Holdings LLC and Wexford
       Capital LP, in the United States District Court, Southern District of New York, ECF Case
       No. 1 1:12-cv-06762-JSR (April 5, 2013).

  Testimony of Daniel R. Fischel in Meso Scale Diagnostics, LLC , Meso Scale Technologies, LLC
        v. Roche Diagnostics GmbH, et al., In the Court of Chancery of the State of Delaware,
        Civil Action No. 5589-VCP (February 27, 2013).

  Deposition of Daniel R. Fischel in Center Partners, Ltd. et al v. Urban Shopping Centers, L.P., et
       al, Circuit Court of Cook County, Illinois, No. 04 L 012194 (February 6 and 7, 2013).

  Deposition of Daniel R. Fischel In Re: September 11 Litigation, United States District Court,
       Southern District of New York, Civil Action No. 21 MC 101 (AKH) (January 11, 2013).

  Deposition of Daniel R. Fischel in Meso Scale Diagnostics, LLC, Meso Scale Technologies, LLC
       v. Roche Diagnostics GmbH, et al., In the Court of Chancery of the State of Delaware,
       Case No: 5589-VCP (November 12, 2012).

  Testimony of Daniel R. Fischel in Stuart Bederman, et al. v. Archstone, f/k/a Archstone-Smith
        Operating Trust, Arbitration before the Honorable Bruce W. Kauffman (October 17, 2012).

                                                                                                 Exhibit 5
                                                                                                Page 116
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 123 of 150 Page ID
                                    #:2610
                                                 - 12 -




  Deposition of Daniel R. Fischel in David E. Brown, et al. v. Authentec, Inc. et al., In the Circuit
       Court of the Eighteenth Judicial Circuit in and for Brevard County, Florida, Civil Division,
       Case No. 05-2012-CA-57589 (September 18, 2012).

  Deposition of Daniel R. Fischel in Stuart Bederman, et al. v. Archstone, f/k/a Archstone-Smith
       Operating Trust, Arbitration before the Honorable Bruce W. Kauffman (September 14,
       2012).

  Testimony of Daniel R. Fischel in Tronox, Incorporated, et al., v. Kerr-McGee Corporation, et al.,
        United States Bankruptcy Court, Southern District of New York, Adversary Proceeding No.
        09-10098(ALG) (August 7, 8 and 9, 2012).

  Deposition of Daniel R. Fischel In re McAfee, Inc. Shareholder Litigation, Superior Court of the
       State of California, County of Santa Clara, Lead Case No. 1:10-cv-180413 (August 2,
       2012).

  Testimony of Daniel R. Fischel in Kraft Foods Global, Inc., v. Starbucks Corporation, Arbitration
        Before JAMS, Arbitration No. 1340008345 (July 31, 2012).

  Deposition of Daniel R. Fischel in Altana Pharma AG, and Wyeth v. Teva Pharmaceuticals USA,
       Inc. and Teva Pharmaceutical Industries, Ltd., In the United States District Court, District
       of New Jersey, Consolidated Civil Action Nos. 04-2355 (JLL)(CCC), 05-1966 (JLL)(CCC),
       05-3920 (JLL)(CCC) and 05-3672 (JLL)(CCC) (June 1, 2012).

  Deposition of Daniel R. Fischel in Kraft Foods Global, Inc. v. Starbucks Corporation, Arbitration
       before JAMS, Arbitration No. 1340008345 (May 15, 2012).

  Deposition of Daniel R. Fischel in Capital One Financial Corporation v. John A. Kanas and John
       Bohlsen, In the United States District Court for the Eastern District of Virginia, Alexandria
       Division, Civil Action No. 1:11-cv-750 (LO/TRJ) (May 10, 2012).

  Deposition of Daniel R. Fischel In Re: Pfizer Inc. Securities Litigation, In the United States
       District Court, Southern District of New York, Case 1:04-cv-09866-LTS-HBP (May 3,
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  Deposition of Daniel R. Fischel in Willie R. Pittman, Susan B. Seales and Stephen T. Selzer vs.
       J. Coley Clark, Moneygram International, Inc., et al., In the Court of Chancery of the State
       of Delaware, C.A. No. 6387-VCL (April 26, 2012).

  Deposition of Daniel R. Fischel in Chona Allison, et al v. CRC Insurance Services, Inc., In the
       United States District Court for the Northern District of Illinois, Eastern Division, Case No.
       10-3313 (March 14 and 15, 2012).

  Deposition of Daniel R. Fischel In Re: Tronox Incorporated, et al., Debtors, In the United States
       Bankruptcy Court, Southern District of New York, Chapter 11, Case No. 09-10156 (ALG)
       (February 24, 2012).

  Testimony of Daniel R. Fischel In Re: BankAtlantic Bancorp, Inc. Litigation, In the Court of
        Chancery of the State of Delaware, Consolidated Civil Action No. 7068-VCL (January 27
        and 30, 2012).


                                                                                                Exhibit 5
                                                                                               Page 117
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 124 of 150 Page ID
                                    #:2611
                                                  - 13 -


  Deposition of Daniel R. Fischel in Hildene Capital Management, LLC et al v. BankAtlantic
       Bancorp, Inc., et al, In the Court of Chancery of the State of Delaware, C.A. No. 7068-
       VCL (January 19, 2012).

  Deposition of Daniel R. Fischel in Advanced Analogic Technologies, Incorporated v. Skyworks
       Solutions, Inc. and Powerco Acquisition Corp., In the Court of Chancery of the State of
       Delaware, Arbitration No. 005-A-CS (November 18, 2011).

  Testimony of Daniel R. Fischel in Prudential Retirement Insurance and Annuity Company v.
        State Street Bank and Trust Company and State Street Global Advisors, Inc., United
        States District Court, Southern District of New York, Case No. 07-CV-8488 (October 13,
        2011).

  Deposition of Daniel R. Fischel In re: Inkeepers USA Trust, et al v. Cerberus Series Four
       Holdings, LLC., et al, United States Bankruptcy Court, Southern District of New York,
       Case No. 10-13800 (SCC) (October 5, 2011).

  Deposition of Daniel R. Fischel in Mary K. Jones, et al v. Pfizer, Inc., et al, United States District
       Court, Southern District of New York, Civil Action No. 10-cv-03864 (AKH) ECF (October 4,
       2011).

  Testimony of Daniel R. Fischel in Marina Del Rey Country Club Apartments, et al. vs. Archstone
        and Archstone Multifamily Series I Trust, Ruby/Archstone Arbitration (August 30, 2011).

  Deposition of Daniel R. Fischel in Maher Terminals, LLC v. The Port Authority of New York and
       New Jersey, Before the Federal Maritime Commission, FMC Docket No. 08-03 (August
       25, 2011).

  Testimony of Daniel R. Fischel in Securities and Exchange Commission v. Joseph P. Nacchio,
        Robert S. Woodruff, Afshin Mohebbi, James J. Kozlowski and Frank T. Noyes, United
        States District Court for the District of Colorado, Civil Action No. 05-cv-480-MSK-CBS
        (August 16, 2011).

  Affidavit of Daniel R. Fischel in Glenhill Capital LP, et al v. Porsche Automobil Holding, SE, f/k/a
         Dr. Ing. h.c. F. Porsche AG, Supreme Court of the State of New York, County of New York,
         Index Number 650678/2011 (August 15, 2011).

  Deposition of Daniel R. Fischel in Fairfax Financial Holdings Limited and Crum & Forster
       Holdings Corp. v. S.A.C. Capital Management, LLC, et al., Superior Court of New Jersey,
       Law Division: Morris County, Docket No. MRS-L-2032-06 (July 27, 2011).

  Deposition of Daniel R. Fischel In re: Lyondell Chemical Company, et al v. Leonard Blavatnik, et
       al., United States Bankruptcy Court, Southern District of New York, Chapter 11 Case No.
       09-10023 – (REG) (Jointly Administered) (July 25, 2011).

  Deposition of Daniel R. Fischel In Re Constar Int’l Inc. Securities Litigation, United States
       District Court, Eastern District of Pennsylvania, Master File No. 03cv05020 (June 28,
       2011).

  Affidavit of Daniel R. Fischel In Re Massey Energy Co. Derivative and Class Action Litigation, In
         The Court of Chancery of the State of Delaware, C.A. No. 5430-VCS (May 20, 2011).


                                                                                                 Exhibit 5
                                                                                                Page 118
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 125 of 150 Page ID
                                    #:2612
                                                - 14 -


  Deposition of Daniel R. Fischel in Marina Del Rey Country Club, et al v. Archstone and
       Archstone Multifamily Series I Trust, Ruby/Archstone Arbitration (May 9, 2011).

  Testimony of Daniel R. Fischel in The Dow Chemical Company v. Petrochemical Industries
        Company (K.S.C.), International Chamber of Commerce, International Court of
        Arbitration, ICC Case No. 16127/JEM/MLK (April 7, 2011).

  Testimony of Daniel R. Fischel In Re: Tribune Company, et al., Debtors, In the United States
        Bankruptcy Court for the District of Delaware, Chapter 11, Case No. 08-13141 (KJC)
        (March 10, 2011).

  Deposition of Daniel R. Fischel In Re: Tribune Company, et al., Debtors, In the United States
       Bankruptcy Court for the District of Delaware, Chapter 11, Case No. 08-13141 (KJC)
       (March 2, 2011).

  Deposition of Daniel F. Fischel In Re: Genetically Modified Rice Litigation, In the United States
       District Court for the Eastern District of Missouri, Eastern Division, Case No. 4:06 MD
       1811 CDP (February 15, 2011).

  Deposition of Daniel R. Fischel in Riceland Food, Inc. v. Bayer Cropscience LP, et al, In the
       United States District Court, Eastern District of Missouri, Eastern Division, Case No. 4:09-
       cv-00433 CDP (January 18, 2011).

  Deposition of Daniel R. Fischel In Re: Genetically-Modified Rice Litigation, In the United States
       District Court for the Eastern District of Missouri, Case No. 4:06-MD-1811 (November 11,
       12, 2010).

  Deposition of Daniel R. Fischel in Coleen Witmer, Individually, and on Behalf of All Others
       Similarly Situated v. Dynegy Inc., In the District Court of Harris County, Texas, 234th
       Judicial District (November 6, 2010).

  Testimony of Daniel R. Fischel in Terra Firma (GP) 2 Investments Limited v. Citigroup Inc.,
        United States District Court for the Southern District of New York, No. 1:09-CV-10459
        (JSR) (November 2, 2010).

  Testimony of Daniel R. Fischel in Terra Firma (GP) 2 Investments Limited v. Citigroup Inc.,
        United States District Court for the Southern District of New York, No. 1:09-CV-10459
        (JSR) (October 22, 2010).

  Testimony of Daniel R. Fischel in Air Products and Chemicals, Inc. v. Airgas, Inc., Peter
        McCausland, et al, In the Court of Chancery of the State of Delaware, C.A. No. 5249-CC
        (October 5, 2010).

  Deposition of Daniel R. Fischel in Air Products and Chemicals, Inc. v. Airgas, Inc., Peter
       McCausland, et al, In the Court of Chancery of the State of Delaware, C.A. No. 5249-CC
       (September 8, 2010).

  Deposition of Daniel R. Fischel in Terra Firma (GP) 2 Investments Limited v. Citigroup Inc.,
       United States District Court for the Southern District of New York, No. 1:09-CV-10459
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                                                                                              Exhibit 5
                                                                                             Page 119
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 126 of 150 Page ID
                                    #:2613
                                                 - 15 -


  Deposition of Daniel R. Fischel in Citadel Investment Group, L.L.C. et al v. Mikhail Malyshev and
      Jace Kohlmeier, In the American Arbitration Association, Case No.AAA No. 51 166 00969
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  Testimony of Daniel R. Fischel In Re: United States of America v. Joseph P. Nacchio, in the
       United States District Court for the District of Colorado, Case No. 05-CR-00545-EWN
       (June 23, 2010).

  Deposition of Daniel R. Fischel in Cantor Fitzgerald Securities, Cantor Fitzgerald & Co., Cantor
      Fitzgerald Partners v. The Port Authority of New York and New Jersey, in the Supreme
      Court of the State of New York, County of New York, Case No. 105447/94 (June 4, 2010).

  Deposition of Daniel R. Fischel in Alaska Retirement Management Board on behalf of State of
      Alaska Public Employees’ Retirement System and State of Alaska Teachers’ Retirement
      System v. Mercer (US), Inc., Mercer Human Resources Consulting, Inc., and William M.
      Mercer, Inc., in The Superior Court for the State of Alaska, First Judicial District at Juneau,
      Case No. 1JU-07-974CI (April 29, 2010).

  Deposition of Daniel R. Fischel In Re: ACS Shareholders Litigation, in The Court of Chancery of
      the State of Delaware, Consolidated Case No. 4940-VCP (April 26, 2010).

  Testimony of Daniel R. Fischel in Securities and Exchange Commission v. Carl W. Jasper, in the
       United States District Court for the Northern District of California, San Jose Division, Case
       No. C-07-06122-JW (April 16, 2010).

  Deposition of Daniel R. Fischel in Prudential Retirement Insurance and Annuity Company v.
      State Street Bank and Trust Company and State Street Global Advisors, Inc., in the United
      States District Court, Southern District of New York, Case No. 07 CIV 8488 (April 9, 2010).

  Deposition of Daniel R. Fischel In re: Lyondell Chemical Company, et al., Debtors. Official
      Committee of Unsecured Creditors, on behalf of the Debtors’ Estates v. Citibank, N.A., et
      al., in the United States Bankruptcy Court, Southern District of New York, Chapter 11 Case
      No. 09-10023 – (RED) (December 2, 2009).

  Deposition of Daniel R. Fischel in Securities and Exchange Commission v. Carl W. Jasper, In
      the United States District Court, Northern District of California, San Jose Division, Case
      No. CV 07-6122 (HRL) (October 22, 2009).

  Testimony of Daniel R. Fischel in Ventas, Inc. v. HCP, Inc., In the United States District Court of
       the Western District of Kentucky at Louisville, Civil Action No. 3:07-cv-00238-JGH
       (September 2, 2009).

  Deposition of Daniel R. Fischel in Frank K. Cooper Real Estate #1, Inc., et al vs. Cendant
      Corporation f/k/a Hospitality Franchise Systems and Century 21 Real Estate Corporation,
      Superior Court of New Jersey, Law Division: Morris County, Docket No. MRS-L-377-02
      (August 10, 2009).

  Deposition of Daniel R. Fischel in Ventas, Inc. v. HCP, Inc., In the United States District Court of
      the Western District of Kentucky at Louisville, Civil Action No. 3:07-cv-00238-JGH (August
      3, 2009).




                                                                                                 Exhibit 5
                                                                                                Page 120
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 127 of 150 Page ID
                                    #:2614
                                                   - 16 -


  Deposition of Daniel R. Fischel in U.S. Commodity Futures Trading Commission v. Amaranth
      Advisors, L.L.C., Amaranth Advisors (Calgary) and Brian Hunter, in the United States
      District Court, Southern District of New York, Case No. 07 CIV 6682 (July 8, 2009).

  Declaration and Expert Surrebutal Report of Daniel R. Fischel in Ventas, Inc. v. HCP, Inc., In
       The United States District Court for the Western District of Kentucky at Louisville, Case
       No. 3:07-CV-00238-JGH (June 22, 2009).

  Testimony of Daniel R. Fischel in NRG Energy, Inc. v. Exelon Corporation and Exelon Exchange
       Corporation, in the United States District Court, Southern District of New York, Case No.
       09-CV-2448 (JGK) (DFE), (June 3, 2009).

  Deposition of Daniel R. Fischel In Re: Delphi Corporation v. Appaloosa Management L.P., et al.,
      In the United States Bankruptcy Court, Southern District of New York; Chapter 11, Case
      No. 05-44481(RDD) (Jointly administered), (June 2, 2009).

  Deposition of Daniel R. Fischel in NRG Energy, Inc. v. Exelon Corporation and Exelon
      Exchange Corporation, in the United States District Court, Southern District of New York,
      Case No. 09-CV-2448 (JGK) (DFE), (May 31, 2009).

  Deposition of Daniel R. Fischel in e-Bay Domestic Holdings, Inc. v. Craig Newmark and James
      Buckmaster and Craigslist, Inc., in the Court of Chancery of the State of Delaware, Case
      No. 3705-CC (May 29, 2009)

  Testimony of Daniel R. Fischel In Re: Lawrence E. Jaffe Pension Plan, et al v. Household
       International, Inc., et al, in the United States District Court for the Northern District of
       Illinois, Eastern Division, No. 02-C-5893 (April 16, 20, 28 and 29, 2009).

  Deposition of Daniel R. Fischel In Re: Rohm and Haas Company v. The Dow Chemical
      Company and Ramses Acquisition Corp., In the Court of Chancery of the State of
      Delaware, C.A. No. 4309-CC (March 4, 2009).

  Deposition of Daniel R. Fischel In the Matter of Hoffman, et al. v. American Express Travel
      Related Services Company, Inc., et al., in the Superior Court of the State of California, in
      and for the County of Alameda, Case No. 2001-022881 (January 15, 2009).

  Deposition of Daniel R. Fischel In Re: TyCom Ltd. Securities Litigation, in the United States
      District Court, District of New Hampshire, Docket No. 03-CV-1352 (September 22, 2008).

  Deposition of Daniel R. Fischel In Re: Hexion Specialty Chemicals, Inc., et al v. Huntsman
      Corp., in the Court of Chancery of the State of Delaware, Civil Action No. 3841-VCL
      (September 4, 2008).

  Deposition of Daniel R. Fischel In Re: Stone Energy Corp. Securities Litigation, in the United
      States District Court, Western District of Louisiana, Lafayette-Opelousas Division, Civil
      Action No. 6:05CV2088 (LEAD) (July 16, 2008).

  Deposition of Daniel R. Fischel In Re: Initial Public Offering Securities Litigation, in the United
      States District Court, Southern District of New York, Master File No. 21 MC 92 (SAS) (April
      3 and 4, 2008).




                                                                                                   Exhibit 5
                                                                                                  Page 121
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 128 of 150 Page ID
                                    #:2615
                                                  - 17 -


  Deposition of Daniel R. Fischel In Re: Lawrence E. Jaffe Pension Plan, et al v. Household
      International, Inc., et al, in the United States District Court for the Northern District of
      Illinois, Eastern Division, No. 02-C-5893 (March 21, 2008).

  Deposition of Daniel R. Fischel In Re: IAC/InteractiveCorp and Barry Diller v. Liberty Media
      Corporation, in the Court of Chancery of the State of Delaware in and for New Castle
      County, Consolidated Case Number 3486-VCL (February 29, 2008).

  Testimony of Daniel R. Fischel In Re: Immunicon Corporation v. Veridex LLC, before the
       American Arbitration Association (Commercial Arbitration Rules), Case Number 50 180T
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  Deposition of Daniel R. Fischel In Re: Unitedglobalcom Shareholders Litigation, in the Court of
      Chancery of the State of Delaware in and for New Castle County, Consolidated C.A. No.
      1012-N (November 19, 2007).

  Deposition of Daniel R. Fischel In Re: Cendant Corporation Litigation, in the United States
      District Court for the District of New Jersey, Master File No. 98-1664 (WHW) (November
      15, 2007).

  Deposition of Daniel R. Fischel In Re: Cendant Corporation Litigation, in the United States
      District Court for the District of New Jersey, Master File No. 98-1664 (WHW) (October 16,
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  Deposition of Daniel R. Fischel In Re Schering-Plough Corporation Securities Litigation, in the
      United States District Court for the District of New Jersey, Master File No. 01-CV-0829
      (KSH/RJH) (October 12, 2007).

  Deposition of Daniel R. Fischel In Re: Carpenters Health & Welfare Fund, et al. vs. The Coca-
      Cola Company, in the United States District Court, Northern District of Georgia, Atlanta
      Division, File No. 1:00-CV-2838-WBH (Consolidated) (September 26, 2007).

  Deposition of Daniel R. Fischel In Re: Parker Freeland, et al., vs. Iridium World
      Communications, Ltd., et al., in the United States District Court for the District of Columbia,
      Civil Action No. 99-1002 (August 7, 2007).

  Deposition of Daniel R. Fischel In Re: Chuck Ginsburg v. Philadelphia Stock Exchange, Inc., et
      al., In the Court of Chancery of the State of Delaware in and for New Castle County, C.A.
      No. 2202-N (June 12, 2007).

  Testimony of Daniel R. Fischel In Re: Holcombe T. Green and HTG Corp. v. McKesson, Inc., et
       al, In the Superior Court for the County of Fulton, State of Georgia, Civil Action File No.
       2002-CV-48407 (June 5, 2007).

  Affidavit of Daniel R. Fischel In Re: Lear Corporation Shareholders Litigation, In the Court of
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  Affidavit of Daniel R. Fischel In Re: Aeroflex, Inc. Shareholder Litigation, in the Supreme Court
        of the State of New York, County of Nassau: Commercial Division, Index No. 07-003943
        (May 23, 2007).




                                                                                                  Exhibit 5
                                                                                                 Page 122
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 129 of 150 Page ID
                                    #:2616
                                                 - 18 -


  Deposition of Daniel R. Fischel In Re: Holcombe T. Green and HTG Corp. v. McKesson, Inc.,
      HBO & Company, Albert Bergonzi, and Jay Gilbertson, in the Superior Court for the
      County of Fulton, State of Georgia, Civil Action File No. 2002W48407 (May 21, 2007).

  Deposition of Daniel R. Fischel In Re: Adelphia Communications Corp. v. Deloitte & Touche LLP,
      et al, in the Court of Common Pleas, Philadelphia County, Pennsylvania, Case No. 000598
      (May 3 and 4, 2007).

  Testimony of Daniel R. Fischel In Re: United States of America v. Joseph P. Nacchio, in the
       United States District Court for the District of Colorado, Case No. 05-CR-00545-EWN
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  Deposition of Daniel R. Fischel In Re: MK Resources Company Shareholders Litigation, in the
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      N (February 22, 2007).

  Deposition of Daniel R. Fischel In Re: Starr International Company, Inc. v. American
      International Group, Inc., In the United States District Court, Southern District of New York,
      Case No. 05 CV 6283 (January 26, 2007).

  Written testimony of Daniel R. Fischel In Re: Verizon Communications Inc. and Verizon Services
        Corp. v. Christopher G. Pizzirani, In the United States District Court for the Eastern District
        of Pennsylvania, Case No. 2:06-cv-04645-MK (November 6, 2006).

  Testimony of Daniel R. Fischel In Re: Northeast Savings, F.A. v. United States of America, In
       The United States Claims Court, Case No. 92-550 C (November 2 and 9, 2006).

  Testimony of Daniel R. Fischel In Re: United States of America v. Sanjay Kumar and Stephen
       Richards, United States District Court, Eastern District of New York, 04 Civ. 4104 (ILG)
       (October 25, 2006).

  Affidavit of Daniel R. Fischel In Re: Lionel I. Brazen and Nancy Hammerslough, et al v. Tyco
        International Ltd., et al, In the Circuit Court of Cook County, Illinois County Department,
        Chancery Division, No. 02 CH 11837 (September 18, 2006).

  Deposition of Daniel R. Fischel In Re: Tele-Communications, Inc. Shareholders Litigation, in the
      Court of Chancery of the State of Delaware in and for New Castle County, Consolidated
      C.A. No. 16470 (September 15, 2006).

  Affidavit of Daniel R. Fischel In Re: United States of America v. Sanjay Kumar and Stephen
        Richards, United States District Court, Eastern District of New York, 04 Civ. 4104 (ILG)
        (September 8, 2006).

  Deposition of Daniel R. Fischel In Re: James Gilbert v. McKesson Corporation, et al., in the
      State Court of Fulton County, State of Georgia, Civil Action File No. 02VS032502C
      (September 7, 2006).

  Supplemental Declaration of Daniel R. Fischel In Re: United States of America v. Jeffrey K.
       Skilling, in the United States District Court, Southern District of Texas, Houston Division,
       Crim. No. H-04-25 (Lake, J.) (August 25, 2006).




                                                                                                Exhibit 5
                                                                                               Page 123
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 130 of 150 Page ID
                                    #:2617
                                                  - 19 -


  Affidavit of Daniel R. Fischel In Re: United States of America v. Sanjay Kumar and Stephen
        Richards, United States District Court, Eastern District of New York, 04 Civ. 4104 (ILG)
        (August 22, 2006).

  Declaration of Daniel R. Fischel In Re: United States of America v. Jeffrey K. Skilling, in the
       United States District Court, Southern District of Texas, Houston Division, Crim. No. H-04-
       25 (Lake, J.) (August 3, 2006).

  Deposition of Daniel R. Fischel In Re: Enron Corporation Securities Litigation, in the United
         States District Court, Southern District of Texas, Houston Division, Case Number: H-01-
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  Testimony of Daniel R. Fischel In Re: Guidant Corporation Shareholders Derivative Litigation, in
        the United States District Court, Southern District of Indiana, Indianapolis Division,
        Master Derivative Docket No. 1:03-CV-955-SEB-WTL (January 20, 2006).

  Testimony of Daniel R. Fischel In Re. Hideji Jumbo Tanaka v. Cerberus Far East Management,
         L.L.C., et al., AAA Case No. 50 T 116 00284 03, (December 15, 2005).

  Deposition of Daniel R. Fischel In Re: McKesson HBOC, Inc. Securities Litigation, in the United
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      16, 2005).

  Testimony of Daniel R. Fischel In the Matter of Visconsi Companies Ltd., et al. and Lehman
       Brothers, et al., National Association of Securities Dealers Department of Arbitration,
       Grievance No. 03-07606 (July 26, 2005).

  Testimony of Daniel R. Fischel in re: John P. Crowley, as Receiver of Ambassador Insurance
       Company v. Doris June Chait, et al., in the United States District Court for the District of
       New Jersey, Case No. 85-2441 (HAA) (July 21 and 22, 2005).

  Deposition of Daniel R. Fischel In re: Electronic Data Systems Corporation Securities Litigation,
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      6:03-MD-1512 (July 20, 2005).

  Testimony of Daniel R. Fischel in re: United States of America v. Philip Morris, Inc., et al, in the
       United States District Court for the District of Columbia, Case No. 1:99CV02496 (May 26
       and 27, 2005).

  Deposition of Daniel R. Fischel in re: Cordis Corporation v. Boston Scientific Corporation, et
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      (May 25, 2005).

  Deposition of Daniel R. Fischel in re: United States of America v. Philip Morris, Inc., et al, in the
      United States District Court for the District of Columbia, Case No. 1:99CV02496 (May 16,
      2005).

  Testimony of Daniel R. Fischel in re: Drury Industries, Inc. v. Drury Properties, Inc., in the First
       Judicial District Court of the State of Nevada in and for Carson City, Nevada (April 6 and 7,
       2005).




                                                                                                  Exhibit 5
                                                                                                 Page 124
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 131 of 150 Page ID
                                    #:2618
                                                  - 20 -


  Deposition of Daniel R. Fischel in re: Jerry R. Summers and George T. Lenormand, et al v. UAL
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      Clements, Craig Musa, and State Street Bank and Trust Company, in the United States
      District Court for the North District of Illinois, Eastern Division, No. 03 C 1537 (March 9,
      2005).

  Deposition of Daniel R. Fischel in re: Drury Industries, Inc. v. Drury Properties, Inc., in the First
      Judicial District Court of the State of Nevada in and for Carson City, Nevada (March 7 and
      10, 2005).

  Testimony of Daniel R. Fischel In the Matter of Fyffes PLC v. DCC PLC, S&L Investments
       Limited, James Flavin and Lotus Green Limited, in The High Court, Dublin, Ireland (2002
       No. 1183P) (February 1 and 2, 2005).

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      Assurance Company and The Guardian Life Insurance Company of America (January 12,
      2005).

  Deposition of Daniel R. Fischel In Re: IDT Corporation vs. Telefonica, S.A., et al, in the United
      States District Court, District of New Jersey, Civil Action No. 01-CV 471 (December 14,
      2004).

  Deposition of Daniel R. Fischel In Re: DQE, Inc. Securities Litigation, in the United States
      District Court, Western District of Pennsylvania, Master File No. 01-1851 (December 7,
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  Testimony of Daniel R. Fischel In Re United States of America v. Daniel Bayly, James A Brown,
       Robert S. Furst, Daniel O. Boyle, William R. Fuhs and Sheila K. Kahanek, in the United
       States District Court of Southern Texas Houston Division, Case No. H-CR-03-363
       (November 4, 2004).

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       Assurance Company, Petitioner v. Caisse Centrale De Reassurance, Respondent,
       (November 2, 2004).

  Testimony of Daniel R. Fischel In Re Yankee Atomic Electric Company, Connecticut Yankee
       Atomic Power Company, and Maine Yankee Atomic Power Company v. The United States,
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       (August 9, 2004).

  Affidavit of Daniel R. Fischel In Re Oracle Corp. Derivative Litigation, in the Court of the
        Chancery of the State of Delaware In and For New Castle County, Consolidated Civil
        Action No. 18751 (June 8, 2004).

  Deposition of Daniel R. Fischel in re: Reading International, Inc., et al v. Regal Entertainment
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        Group, et al, (Delaware Chancery Court) (May 28, 2004) .

  Deposition of Daniel R. Fischel in re: Northeast Savings, F.A. v. United States of America, in the
      United States Claims Court, Case No. 92-550-C (May 4, 5 and 6, 2004).

                                                                                                 Exhibit 5
                                                                                                Page 125
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 132 of 150 Page ID
                                    #:2619
                                                - 21 -




  Deposition of Daniel R. Fischel in re: Tyson Foods, Inc. Securities Litigation, in the United
      States District Court for the District of Delaware, Civil Action No. 01-425-SLR (March 18,
      2004).

  Testimony of Daniel R. Fischel Re: In the Matter of Coram Healthcare Corp. and Coram, Inc.,
       Debtors, In the United States Bankruptcy Court for the District of Delaware, Case No. 00-
       3299 Through 00-3300 (MFW) (March 4, 2004).

  Testimony of Daniel R. Fischel in Tracinda Corporation v. DaimlerChrysler AG, et al, in the
       United States District Court for the District of Delaware, Civil Action No. 00-984 (February
       11, 2004).

  Deposition of Daniel R. Fischel in Gerald K. Smith, as Plan Trustee for and on behalf of the
      Estates of Boston Chicken, Inc., et al. v. Arthur Anderson LLP, et al., in the United States
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      29 and 30, 2003).

  Deposition of Daniel R. Fischel in Irene Abrams, on behalf of herself and all others similarly
      situated v. Van Kampen Funds, Inc., Van Kampen Investment Advisory Corp., Van
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      Dennis J. McDonnell and Jeffrey W. Maillet, in the United States District Court for the
      Northern District of Illinois, Eastern Division, Case No. 01-C-7538 (October 21, 2003).

  Deposition of Daniel R. Fischel Re: In the Matter of Coram Healthcare Corp. and Coram, Inc.,
      Debtors, In the United States Bankruptcy Court for the District of Delaware, Case No. 00-
      3299 Through 00-3300 (MFW) (October 13, 2003).

  Testimony of Daniel R. Fischel in Transcore Holdings, Inc. v. Rocky Mountain Mezzanine Fund
       II, LP; Hanifen Imhoff Mezzanine Fund, LP; Moramerica Capital Corporation; and
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  Deposition of Daniel R. Fischel in AT&T Broadband Management Corporation v. CSG Systems,
      Inc., American Arbitration Association No. 77 181 00159 02 VSS (April 9, 2003).

  Deposition of Daniel R. Fischel In Re: DaimlerChrysler AG Securities Litigation, in the United
      States District Court for the District of Delaware, Civil Action No. 00-993-JJF (February 11
      and 12, 2003).

  Deposition of Daniel R. Fischel in David T. Bard, Commissioner of Banking and Insurance for
      the State of Vermont, as Receiver for Ambassador Insurance Company v. Arnold Chait, et
      al, in the United States District Court for the District of New Jersey, Civil Action No. 85-
      2441 (December 12, 2002).




                                                                                              Exhibit 5
                                                                                             Page 126
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 133 of 150 Page ID
                                    #:2620
                                                 - 22 -


  Testimony of Daniel R. Fischel in MHC Financing Limited Partnership, et al vs. City of San
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      9, 2002).

  Testimony of Daniel R. Fischel in California Federal Bank, FSB v. The United States of America,
       In the United States Court of Federal Claims, Case No. 92-138C (September 20 and 23,
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  Deposition of Daniel R. Fischel in Maine Yankee Atomic Power Company v. United States of
      America, In the United States Court of Federal Claims, Case No. 98-474 C (September 4
      and 6, 2002).

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      District of Georgia, Newnan Division, Case No. 00-1065 (May 14 and 15, 2002).

  Deposition of Daniel R. Fischel in Walter B. Hewlett, individually and as Trustee of the William
      R. Hewlett Revocable Trust, and Edwin E. van Bronkhorst as Co-Trustee of the William R.
      Hewlett Revocable Trust v. Hewlett-Packard Company, in the Court of the Chancery of the
      State of Delaware in and for New Castle County (April 24, 2002).

  Deposition of Daniel R. Fischel in California Federal Bank, FSB, v. The United States of
      America, in the United States District Court of Federal Claims, Case No. 92-138C (April 16
      and 17, 2002).

  Deposition of Daniel R. Fischel In Re: Computer Associates Class Action Securities Litigation, in
      the United States District Court, Eastern District of New York, File No. 98-CV-4839 (TPC)
      (MLO) (March 19 and 20, 2002).

  Deposition of Daniel R. Fischel in United States of America v. David Blech, In the United States
      District Court, Southern District of New York, Case No. S1 97 Cr. 402 (KTD) (February 13,
      2002).

  Testimony of Daniel R. Fischel Re: In the Matter of Coram Healthcare Corp. and Coram, Inc.,
       Debtors, In the United States Bankruptcy Court for the District of Delaware, Case No. 00-
       3299 Through 00-3300 (MFW) (December 14, 2001).

  Deposition of Daniel R. Fischel in Re: Sunbeam Securities Litigation, In the United States
      District Court, Southern District of Florida, Miami Division, Case No. 98-8258-CIV –
      Middlebrooks (December 4, 5 and 6, 2001).

  Affidavit of Daniel R. Fischel in Re: Jack M. Webb, Special Deputy Receiver For American Eagle
        Insurance Company v. Elvis Mason, Mason Best Company, L.P., Don D. Hutson, American
        Eagle Group, Inc., Marion Phillip Guthrie, Frederick G. Anderson, George F. Cass, Richard

                                                                                                Exhibit 5
                                                                                               Page 127
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 134 of 150 Page ID
                                    #:2621
                                                - 23 -


       M. Kurz, Patricia S. Pickard, Arthur Andersen & Co., L.L.P., and Towers, Perrin Forester &
       Crosby, Inc., D/B/A Tillinghast, In the District Court of Travis County, Texas, 201st Judicial
       District, Cause No. 99-08253 (September 7, 2001).

  Declaration of Daniel R. Fischel Re: In the Matter of Inquiry Concerning High-Speed Access to
       the Internet Over Cable and Other Facilities: Before the Federal Communications
       Commission, Washington DC, GN Docket No. 00-185, (Declaration with K. Arrow, G.
       Becker, D. Carlton, R. Gertner, J. Kalt, H. Sider, and Gustavo Bamberger) (July 24, 2001).

  Declaration of Daniel R. Fischel in Re: Walter Green, on behalf of himself and all others
       similarly situated v. Merck-Medco Managed Care, L.L.C., United States District Court,
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  Testimony of Daniel R. Fischel in Re:Tyson Foods, Inc. and Lasso Acquisition Corporation v.
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  Deposition of Daniel R. Fischel in Re:Tyson Foods, Inc. and Lasso Acquisition Corporation v.
      IBP, Inc., Delaware Chancery Court, (May 10, 2001).

  Deposition of Daniel R. Fischel in Re: Myron Weiner, Nicholas Sitnycky, Ronald Anderson and
      Robert Furman on behalf of themselves and all others similarly situated v. The Quaker
      Oats Company and William D. Smithburg, United States District Court, Northern District of
      Illinois, Case No. 98 C 3123, (January 24, 2001).

  Deposition of Daniel R. Fischel in Re: Retsky Family Limited Partnership v. Price Waterhouse,
      LLP, United States District Court, Northern District of Illinois, Eastern Division, No. 97 C
      7694, (October 31, 2000).

  Joint Affidavit of Daniel R. Fischel and David J. Ross in Re: Floyd D. Wilson, for himself and all
        others similarly situated v. Massachusetts Mutual Life Insurance Company, in the First
        Judicial District Court, County of Santa Fe, State of New Mexico, No. D0101 CV-98-02814
        (August 4, 2000).

  Affidavit of Daniel R. Fischel in Re: T. Rowe Price Recovery Fund, L.P., and Carl Marks
        Management Co., L.P., individually and derivatively on behalf of Seaman Furniture Co.,
        Inc. v. James Rubin, M.D. Sass Associates, Inc., Resurgence Asset Management, L.L.C.,
        M.D. Sass Corporation Resurgence Partners, L.P. , M.D. Sass Corporate Resurgence
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        and Peter McGeough and Seaman Furniture Co., Inc., In the Court of Chancery of the
        State of Delaware in and for New Castle County, C.A. No. 18013, (June 7, 2000).

  Testimony of Daniel R. Fischel in Re: Bank United of Texas, FSB, et al., v. United States of
       America, United States Court of Federal Claims, Case Number 95-437C, (October 12 and
       14, 1999).

  Deposition of Daniel R. Fischel in Re: Bank United of Texas, FSB, et al., v. United States of
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  Testimony of Daniel R. Fischel in Re: C. Robert Suess, et al., v. The United States, United
       States Court of Federal Claims, No. 90- 981C (May 17, 1999).


                                                                                               Exhibit 5
                                                                                              Page 128
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 135 of 150 Page ID
                                    #:2622
                                                 - 24 -


  Testimony of Daniel R. Fischel in Re: Lexecon, Inc. v. Milberg Weiss Bershad Specthrie &
       Lerach, et al. in the United States District Court, Northern District of Illinois Eastern
       Division, Case No. 92 C 7768 (March 8, 9, 10 and 15, 1999).

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       States Court of Federal Claims, Case Number 92-138C, (February 4 and 11, 1999).

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      States Court of Federal Claims, Case Number 92-138C, (February 6, 1999; January 27
      and 30, 1999).

  Deposition of Daniel R. Fischel in Re: C. Robert Suess, et al., v. The United States, United
      States Court of Federal Claims, No. 90- 981C (October 27 and 28, 1998).

  Deposition of Daniel R. Fischel in Re: Connector Service Corporation v. Jeffrey Briggs, United
      States District Court, Northern District of Illinois, Eastern Division, No. 97-C-7088 (August
      28, 1998).

  Deposition of Daniel R. Fischel in Re: Statesman Savings Holding Corp., et al. v. United States
      of America, United States Court of Federal Claims, Case No. 90-773C, (May 4, 1998 and
      February 12, 1998).

  Testimony of Daniel R. Fischel in Re: Glendale Federal Bank FSB v. United States of America,
       United States Court of Federal Claims, No. 90-772C, (March 24, 25 and 26, 1998;
       September 2, 3, 4, 5, 8, 9, 10, 11, 12, 24, 25, 26 and 27, 1997; October 7, 9, 16, 17, 30
       and 31, 1997; December 8, 9 and 10, 1997).

  Affidavit of Daniel R. Fischel and David J. Ross in Re: Publicis Communication v. True North
        Communications Inc., et al., United States District Court, Northern District of Illinois,
        Eastern Division, Case No. 97-C-8263, (December 7, 1997).

  Deposition of Daniel R. Fischel in Re: Glendale Federal Bank FSB v. United States of America,
      United States Court of Federal Claims, No. 90-772C, (August 27 and 28, 1997).

  Testimony of Daniel R. Fischel in Re: AUSA Life Insurance Company, et al. v. Ernst & Young, in
       the United States District Court, Southern District of New York, Master File No. 94 CIV.
       3116 (CLB) (July 7 and 8, 1997).

  Deposition of Daniel R. Fischel in Re: Santa’s Best, f/k/a National Rennoc, an Illinois general
      partnership, and Tinsel/Ruff Group Limited Partnership, an Illinois limited partnership v.
      Rennoc Limited Partnership, a New Jersey limited parternship, v. Tinsel/Ruff Group
      Limited Parternship, an Illinois limited partnership, in the Circuit Court of Cook, Illinois
      County Department - Chancery Division, No. 95 CH 12160, (June 17, 1997).

  Arbitration of Daniel R. Fischel in Re: Lerner v. Goldman Sachs, et. al., Before the American
        Arbitration Association, 75-136-00090-94 (April 10, 1997).

  Affidavit of Daniel R. Fischel in Re: Hilton Hotels Corporation and HLT Corporation v. ITT
        Corporation, United States District Court, District of Nevada, CV-S-97-00095-PMP (RLH)
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                                                                                                Exhibit 5
                                                                                               Page 129
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 136 of 150 Page ID
                                    #:2623
                                                 - 25 -


  Deposition of Daniel R. Fischel in Re: Glendale Federal Bank, FSB v. United States of America,
      Washington, D.C., Case No. 90-772C, (March 19, 1997; January 30 and 31, 1997).

  Deposition of Daniel R. Fischel in Re: Statesman Savings Holding Corporation v. United States
      of America, Washington, D.C., Case No. 90-773-C, (February 19 and 20, 1997).

  Testimony of Daniel R. Fischel in Re: Westcap Enterprises, Inc. and Westcap Corporation,
       Debtor; in the United States Bankruptcy Court, for the Southern District of Texas, Houston
       Division, Houston, Texas; Case No. 96-43191-H2-11, (November 1996).

  Testimony of Daniel R. Fischel in Re: United States of America v. Robert R. Krilich, in the
       United States District Court, Northern District of Illinois, Eastern Division, No. 94 CR 419,
       (August 20, 1996 and July 15, 1996)

  Deposition of Daniel R. Fischel in Re: McMahan & Company, Froley, Revy Investment Co., Inc.
      and Wechsler & Krumholz, Inc. v. Wherehouse Entertainment, Inc., Louis A. Kwiker,
      George A. Smith, Michael T. O’Kane, Lawrence K. Harris, et al., United States District
      Court, Southern District of New York, Index No. 88 Civ. 0321 (SS) (AJP), (July 16, 1996
      and June 10, 1996).

  Deposition of Daniel R. Fischel in Re: Joseph W. and Helen B. Teague, Steven Allen Barker,
      Rita Strahowski, Swannee Beck, and Lifetime Partners of PTL, as representatives of a
      nationwide class consisting of 150,129 Lifetime Partners and of 27,839 persons who have
      partially paid for Lifetime Partnerships v. James O. Bakker, in the United States District
      Court for the Western District of North Carolina, Civil Action No. 3:87CV514, (June 28,
      1996).

  Deposition of Daniel R. Fischel in Re: Snapple Beverage Corporation Securities Litigation, in
      the United States District Court, Eastern District of New York, Master File No. CV 94-3647
      (May 30, 1996).

  Testimony of Daniel R. Fischel in Re: Chuck Quackenbush, Insurance Commissioner of the
       State of California, in his capacity as Trustee of Mission Insurance Company Trust, et al. v.
       Borg-Warner Corporation, Borg Warner Equities Corporation, Borg-Warner Insurance
       Service, Inc., et al., for the Superior Court of the State of California, for the County of Los
       Angeles, No. C688487 (April 18, 1996).

  Deposition of Daniel R. Fischel in Re: Chuck Quackenbush, Insurance commissioner of the
      State of California, in his capacity as Trustee of Mission Insurance Company Trust, et al. v.
      Borg-Warner Corporation, Borg Warner Equities Corporation, Borg-Warner Insurance
      Service, Inc., et al., for the Superior Court of the State of California, for the County of Los
      Angeles, No. C688487 (April 17, 1996).

  Deposition of Daniel R. Fischel in Re: Household Commercial Financial Services, Inc. a citizen
      of the states of Delaware and Illinois v. Julius Trump, a citizen of the State of Florida,
      Edmond Trump, a citizen of the state of Florida, James M. Jacobson, a citizen of the State
      of New York, and Parker, Chapin, Flattau & Klimpl, a citizen of the states of New York and
      New Jersey, in the United States District Court, for the Northern District of Illinois Eastern
      Division, 92 C 5010 (February 1, 1996).




                                                                                                Exhibit 5
                                                                                               Page 130
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 137 of 150 Page ID
                                    #:2624
                                                 - 26 -


  Deposition of Daniel R. Fischel in Re: JWP, Inc. Securities Litigation, in the United States
      District Court, Southern District of New York, Master File No. 92 Civ. 5815 (CLB); AUSA
      Life Insurance Company, et al. v. Ernst & Young, in the United States District Court,
      Southern District of New York, Master File No. 94 Civ. 3116 (CLB) (November 30, 1995;
      November 9, 1995; October 18 and 19, 1995; September 28, 1995).

  Deposition of Daniel R. Fischel in Re: City of Houston Municipal Employees Pension System, a
      Texas association v. PaineWebber Group Inc., et al., in the United States District Court,
      Eastern District of Missouri, Eastern Division, No. 4:94CV0073CAS (November 15 and 16,
      1995).

  Testimony of Daniel R. Fischel In Re: American Continental Corporation/Lincoln Savings & Loan
       Securities Litigation - Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach and Kevin P.
       Roddy, in the United States District Court , District of Arizona, Civ-93-1087-PHX-JMR (July
       25 and 26, 1995).


  Deposition of Daniel R. Fischel in Re: Keith C. Bogard, et al., v. National Community Bank Inc.,
      et al., in the United States District Court, District of New Jersey, No. 90-5-32 (HAA)
      (December 20, 1994).

  Deposition of Daniel R. Fischel in Re: Harvey Rosen, Ben Rogers and Julie Rogers v. Deloitte
      & Touche, Elias Zinn, Julius Zinn, Dennis Lamm, and Ronald Begnaud, in the 268th
      Judicial District Court, of Fort Bend County, Texas, Cause No. 84-482 (November 9,
      1994).

  Testimony of Daniel R. Fischel in Re: PPM America, Inc., et al. v. Marriott Corporation et al., in
       the United States District Court, for the District of Maryland, Civil Docket No. H-92-3068
       (October 12, 1994).

  Deposition of Daniel R. Fischel in Re: Browning-Ferris Industries, Inc., Securities Litigation,
      United States District Court, for the Southern District of Texas, Houston Division, Civil
      Action H-903477 (September 1, 1994).

  Testimony of Daniel R. Fischel in Re: Computer Associates International Inc. Securities
       Litigation, United States District Court, Eastern District of New York, CV-90-2398 (JBW)
       (May 26 and 27, 1994).

  Deposition of Daniel R. Fischel in Re: PPM America, Inc., et al. v. Marriott Corporation et al.,
      United States District, for the District of Maryland, H-92-3068 (May 10, 1994 and March 8,
      1994).

  Deposition of Daniel R. Fischel in Re: Securities and Exchange Commission v. Shared Medical
      Systems Corporation, R. James Macaleer, James C. Kelly and Clyde M. Hyde, United
      States District Court, for the Eastern District of Pennsylvania, Civil Action - Law: No. 91-
      CV-6549 (February 22, 1994).

  Testimony of Daniel R. Fischel in Re: Peter M. Schultz and Pamela A. Schultz v. Rhode Island
       Hospital Trust National Bank, N.A., et al., United States District Court, District of
       Massachusetts, Civil Action No. 88-2870-T (February 16, 1994).




                                                                                                Exhibit 5
                                                                                               Page 131
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 138 of 150 Page ID
                                    #:2625
                                                  - 27 -


  Deposition of Daniel R. Fischel in Re: Henry T. Endo, et al. v. John M. Albertine, et al., United
      States District Court, Northern District of Illinois, Eastern Division, No. 88 C 1815
      (November 11 and 12, 1993; October 28, 1993).

  Deposition of Daniel R. Fischel in Re: Computer Associates International Inc. Securities
      Litigation, United States District Court, Eastern District of New York, CV 90-2398 (JBW)
      (November 2, 1993 and February 4, 1993).

  Affidavit of Daniel R. Fischel in Re: Peter M. Schultz and Pamela A. Schultz v. Rhode Island
        Hospital Trust National Bank, N.A. et al., United States District Court, District of
        Massachusetts, Civil Action No. SS-2870-T (October 28, 1993).

  Deposition of Daniel R. Fischel in Re: Alpheus John Goddard, III, etc. v. Continental Bank N.A.,
      etc., State of Illinois, County of Cook, Circuit Court of Cook County, County Department-
      Chancery Division, No. 89 CH 1081 (September 10, 1993).

  Deposition of Daniel R. Fischel in Re: Taxable Municipal Bond Section “G” Securities Litigation,
      United States District Court, Eastern District of Louisiana, MDL No. 863 (September 2,
      1993).

  Reply Affidavit of Daniel R. Fischel in Re: Columbia Securities Litigation, United States District
       Court Southern District of New York, 89 Civ. 6821 (LBS) (August 30, 1993).

  Affidavit of Daniel R. Fischel in Re: Consumers Gas & Oil, Inc. v. Farmland Industries, Inc., et
        al., United States District Court, for the District of Colorado, Civil Action No. 92-F-1394
        (August 26, 1993).

  Declaration of Daniel R. Fischel in Re. Equitec Rollup Litigation, United States District Court for
       the Northern District of California, Master file No. C90 2064 CAL (July 28, 1993).

  Deposition of Daniel R. Fischel in Re: United Telecommunications, Inc. Securities Litigation,
      United States District Court for the District of Kansas, No. 90-2251-0 (July 22, 1993, April
      21 and 22, 1993).

  Deposition of Daniel R. Fischel in Re: Consumers Gas & Oil, Inc., a Colorado farm cooperative
      in liquidation, on behalf of itself and others similarly situated v. Farmland Industries, Inc., a
      Kansas farm cooperative, et al., United States District Court, District of Colorado, 92-F-
      1394 (June 18, 1993).

  Deposition of Daniel R. Fischel in Re. Rosalind Wells v. HBO & Company, United States
      District Court, Northern District of Georgia, Atlanta Division, 8-87-CV-657A (JTC) (June 10,
      1993 and May 24, 1993).

  Deposition of Daniel R. Fischel in Re: Equitec Rollup Litigation, United States District Court,
      Northern District of California, No. C-90-2064 CAL (June 2 and 3, 1993).

  Supplemental Declaration of Daniel R. Fischel in Re: Oracle Securities Litigation, United States
       District Court, Northern District of California, Master File No. C 90 0931 VRW (May 20,
       1993).




                                                                                                 Exhibit 5
                                                                                                Page 132
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 139 of 150 Page ID
                                    #:2626
                                                  - 28 -


  Affidavit of Daniel R. Fischel and Kenneth R. Cone in Re: Raymond P. Hayden, et al. v. Jeffrey
        L. Feldman, et al., United States District Court, Southern District of New York No. 88 Civ.
        8048 (JES) (May 12, 1993).

  Testimony of Daniel R. Fischel in Re: Melridge, Inc., Securities Litigation, United States District
       Court for the District of Oregon, CV No. 87-1426-FR (May 4 and 5, 1993).

  Declaration of Daniel R. Fischel in Re: Oracle Securities Litigation, United States District Court,
       Northern District of California, Master File No. C 90 0931 VRW (April 20, 1993).

  Deposition of Daniel R. Fischel in Re: Gillette Securities Litigation, United States District Court,
      District of Massachusetts, No. 88-1858-K (April 1, 1993).

  Affidavit of Daniel R. Fischel in Re: Columbia Securities Litigation, United States District Court,
        Southern District of New York, 89 Civ. 6821 (LBS) (March 25, 1993).

  Deposition of Daniel R. Fischel in Re: Westinghouse Securities Litigation, United States District
      Court, Western District of Pennsylvania, CV No. 91 354 (March 23, 1993).

  Declaration of Daniel R. Fischel in Re: Oracle Securities Litigation, United States District Court,
       Northern District of California, Master File No. C 90-0931 VRW (March 22, 1993).

  Deposition of Daniel R. Fischel in Re: Kroy, Inc., a Minnesota corporation et al. v. Bankers Trust
      New York Corporation, et al., Superior Court of the State of Arizona in and for the County
      of Maricopa, No. CV 89-35680 (March 18, 1993).

  Deposition of Daniel R. Fischel in Re: Amos M. Ames, Helen M. Ames, Robert F. Bourke,
      Louise L. Bourke, Leo E. Corr, April C. Corr, Wence M. Horak, Ruth Horak, Robert T.
      Freas, Maurita Freas, Bruce Fink, Jr., William H. Jones, Candace A. Jones, Richard Paul,
      William L. Paul, Carole Paul, Steven J. Paul, Best Power Technology, Incorporated, and
      Best Power Technology Sales Corporation, in the State of Wisconsin, Circuit Court,
      Juneau County, Consolidated Case Nos. 92-CV-31, 92-CV-32 (January 26, 1993).

  Deposition of Daniel R. Fischel in Re: Federal Express Corporation Shareholder Litigation, in
      the United States District Court, Western District of Tennessee, Master File No. 90-2359-
      4B (December 3, 1992).

  Deposition of Daniel R. Fischel in Re: Raymond Snyder, Individually and on behalf of all those
      similarly situated v. Oneok, Inc., et al., in the United States District Court, Northern District
      of Oklahoma, Civil Action No. 88 C 1500 E (October 15 and 16, 1992).

  Deposition of Daniel R. Fischel in Re: Melridge, Inc. Securities Litigation, Consolidated Actions,
      United States District Court, District of Oregon, Master File No. CV87-1426-JU and Nos.
      387-06589-P11, 88-05-JU, 88-221-JU, 88-0699-PA, 88-1266-JU (September 17, 1992;
      July 25 and 26, 1991).

  Deposition of Daniel R. Fischel in Re: Maxus Corporate Company v. Kidder, Peabody & Co.
      Incorporated, Martin A. Siegel and Ivan F. Boesky, in the District Court Dallas County,
      Texas, 298th Judicial District, No. 87-15583-M (September 11, 1992; August 18 and 19,
      1992).




                                                                                                 Exhibit 5
                                                                                                Page 133
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 140 of 150 Page ID
                                    #:2627
                                                  - 29 -


  Deposition of Daniel R. Fischel in Re: Jennifer A. Florin and Alan L. Mundt, on behalf of
      themselves and all others similarly situated v. Wesray Capital Corp., Citizens and
      Southern Trust Company, a subsidiary of Citizens and Southern Corporation, Robert K.
      Barton, Leonard S. Gaby, Allen G. Lacoe, Robert A. Magnusson, Anthony A. Saliture,
      Harlan B. Smith, Thomas F. Stutzman, Raymond G. Chambers, Frank E. Richardson, E.
      Burke Ross, Jr., William E. Simon and Frank W. Walsh, Jr., in the United States District
      Court, Western District of Wisconsin, Civil Action No. 91C-0948 (August 12, 1992).

  Deposition of Daniel R. Fischel in Re: Pearl Newman, Shanna Lehmann & Athanasios
      Tsivelekidis, on their own behalf and on behalf of all other persons similarly situated v. On-
      Line Software International, Inc. Jack M. Berdy, John C. Crocker, Richard A. Granger,
      Richard R. Holtmeier, Michael S. Juceam, Edward J. Siegel, Howard P. Sorgen and
      Richard Ward, United States District Court, District of New Jersey, Consolidated Civil
      Action Nos. 88-3247, 88-3411 (July 28 and 29, 1992).

  Deposition of Daniel R. Fischel in Re: Crazy Eddie Securities Litigation, Oppenheimer-Palmieri
      Fund, I.P., et al. v. Peat Marwick Main & Co., et al., United States District Court for the
      Eastern District of New York, 87 Civ. 0033 (EHN), 88 Civ. 3481 (EHN) (June 11, 1992;
      March 26 and 27, 1992).

  Testimony of Daniel R. Fischel in Re: American Continental Corporation/Lincoln Savings and
       Loan Securities Litigation, in the United States District Court, for the District of Arizona
       MDL Docket No. 834 (June 4, 1992; May 26, 27 and 28, 1992).

  Testimony of Daniel R. Fischel in Re: State of West Virginia v. Morgan Stanley & Co.
       Incorporated, in the Circuit Court of Kanawha County, State of West Virginia, Civil Action
       No. 89-C-3700 (April 27, 1992).

  Affidavit of Daniel R. Fischel in Re: William Steiner, on behalf of himself and all others similarly
        situated v. Tektronix, Inc., et al., in the United States District Court, District Court of
        Oregon, Civil No. 90-587-JO (March 23, 1992).

  Deposition of Daniel R. Fischel in Re: Martin Kaplan and Selma Kaplan, on Behalf of
      Themselves and All Others Similarly Situated v. VICORP Restaurants, Inc., Charles R.
      Frederickson, Robert S. Benson, Emerson B. Kendall, Robert T. Marto and Johyn C. Hoyt,
      United States District Court, District of Colorado, Civil Action No. 90-C-2182 (February 11,
      1992).

  Deposition of Daniel R. Fischel in Re: Interco Incorporated v. Wasserstein, Perella & Co., Inc.,
      United States District Court, Eastern District of Missouri, Eastern Division, No. 91-0151-C-
      6 (February 3, 1992 and December 12, 1991).

  Statement of Daniel R. Fischel in Re: Far West Federal Bank, S.B., et al. v. Director, Office of
       Thrift Supervision, et al., United States District Court for the District of Oregon, Civil Action
       No. 90-103 PA (February 3, 1992).

  Deposition of Daniel R. Fischel in Re: Capital Bank of California v. Morgan Stanley & Co.,
      Incorporated, United States District Court, Central District of California, No. 91-1650-R
      (January 24, 1992).




                                                                                                  Exhibit 5
                                                                                                 Page 134
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 141 of 150 Page ID
                                    #:2628
                                                  - 30 -


  Deposition of Daniel R. Fischel in Re: Trinity Ventures, et al. v. Federal Deposit Insurance
      Corporation, in its own capacity and as successor to the Federal Savings and Loan
      Insurance Corporation, United States District Court, for the District of Oregon, No. 90-103-
      PA (January 6, 1992).

  Deposition of Daniel R. Fischel in Re: First Republicbank Securities Litigation, United States
      District Court, Northern District of Texas, Dallas Division, Civil Action No. 3-88-0641-H
      (January 2, and 3, 1992; November 26, 1991).

  Deposition of Daniel R. Fischel in Re: State of West Virginia v. Morgan Stanley & Co.
      Incorporated; Salomon Brothers Inc.; and Goldman Sachs & Co., in the Circuit Court of
      Kanawha County, State of West Virginia, Civil Action No. 89-C-3700 (December 19 and
      20, 1991).

  Deposition of Daniel R. Fischel in Re: The Regina Company, Inc. Securities Litigation, United
      States District Court, District of New Jersey, Civil Action No. 88-4149 (HAA) (October 31,
      1991).

  Affidavit of Daniel R. Fischel in Re: Gillette Securities Litigation, United States District Court,
        District of Massachusetts, Civil Action No. 88-1858-K (October 7 1991).

  Deposition of Daniel R. Fischel in Re: Capital Maritime Corporation v. Amfels, Inc., Far East
      Levingston Shipbuilding Ltd., John B. Allison and Patrick A. McDermid, United States
      District Court for the Southern District of Texas Houston Division, C.A. No. H-90-3417
      (September 12, 1991).
  Deposition of Daniel R. Fischel in Re: Thomas J. Caldarone, Jr. v. Isidore Brown, et al., and
      John E. Washburn, et al. v. Isidore Brown, et al., United States District Court, Northern
      District of Illinois, Eastern Division, Docket Nos. 80 C 6251 and 81 C 1475 (August 28, 29,
      and 30, 1991).

  Testimony of Daniel R. Fischel in Re: Apple Securities Litigation, United States District Court,
       Northern District of California, Northern Division, Docket No. C-84-20148 (May 20 and 21,
       1991).

  Testimony of Daniel R. Fischel in Re: The Stuart-James Co., Inc., et al. Litigation, United States
       of America before the Securities & Exchange Commission, in Denver, Colorado,
       Administrative Proceeding File No. 3-7164 (May 6, 1991).

  Deposition of Daniel R. Fischel in Re: Jennie Farber on behalf of herself and all others similarily
      situated v. Public Service Company of New Mexico; Jerry D. Geist; John P. Bundrant and
      Albert J. Robison, United States District Court for the District of New Mexico, CIV 89-456
      JB WWD (April 17 and 18, 1991).

  Affidavit of Daniel R. Fischel in Re: Moise Katz, Frederick Rand, Elias Weissman, Richard D.
        Morgan, Marion R. Morgan and Mortimer Schulman v. Raymond A. Hay, United States
        District Court, Southern District of New York, No. 86 Civ. 5640 (JES) (March 29, 1991).

  Deposition of Daniel R. Fischel in Re: Standard Chartered PLC., a United Kingdom corporation,
      et al. v. Price Waterhouse, a general partnership, Superior Court of the State of Arizona, in
      and for the County of Maricopa, CV 88-34414 (March 13 and 14, 1991).




                                                                                                   Exhibit 5
                                                                                                  Page 135
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 142 of 150 Page ID
                                    #:2629
                                                 - 31 -


  Affidavit of Daniel R. Fischel in Re: United States of America v. AVX Corporation, and
        Commonwealth of Massachusetts v. AVX Corporation, United States District Court, District
        of Massachusetts, Civil Action Nos. 83-3882-Y and 83-3899-Y (January 29, 1991).

  Deposition of Daniel R. Fischel in Re: Apple Computer Securities, United States District Court
      Northern District of California, San Jose Division, No. C-84-20148 (a) JW (December 13
      and 14, 1990).

  Deposition of Daniel R. Fischel in Re: Polycast Technology Corporation, and Uniroyal Plastics
      Acquisition Corp. v. Uniroyal, Inc., et al., United States District Court Southern District of
      New York, No. 87 Civ. 3297 (December 6, 1990 and November 28, 1990).

  Deposition of Daniel R. Fischel in Re: Ellen Rudd, on behalf of herself and all others similarly
      situated, and Mayer Corporation on behalf of themselves, and all others similarly situated,
      and Louis Brandt, and Israel Baker, Jay R. Kuhne, Pininfarina Corp., and American
      Transfer Co., on behalf of themselves and all others similarly situated v. Kirk Kerkorian, et
      al., Superior Court of the State of California, County of Los Angeles, Nos. CA 000980, CA
      000981, CA 001017, CA 620279 (June 21, 1990).

  Testimony of Daniel R. Fischel in Re: City of San Jose v. Paine, Webber, Jackson & Curtis,
       Incorporated, et al., and related counter- and Third-Party Claims, United States District
       Court, Northern District, No. C-84-20601 RPA (May 23 and 24, 1990).

  Deposition of Daniel R. Fischel in Re: City of San Jose v. Paine, Webber, Jackson & Curtis,
      Incorporated, et al., and related counter- and Third-Party Claims, United States District
      Court, Northern District, No. C-84-20601 RPA (May 22, 1990), No. RPA 84-20601
      (November 16, 1989 and September 8, 1989).

  Testimony of Daniel R. Fischel in Re: Kulicke and Soffa Industries, Inc. Securities Litigation,
       United States District Court for the Eastern District of Pennsylvania, No. 86-1656 (March
       20 and 21, 1990).

  Deposition of Daniel R. Fischel in Re: Kulicke and Soffa Industries, Inc. Securities Litigation,
      United States District Court for the Eastern District of Pennsylvania, No. 86-1656 (March 9,
      1990; December 19 and 21, 1989).

  Affidavit of Daniel R. Fischel in Re: Viacom International Inc. v. Carl C. Icahn, et al., v. Ralph M.
        Baruch, et al., United States District Court, Southern District of New York, No. 86 Civ. 4215
        (RPP) (March 8, 1990).

  Deposition of Daniel R. Fischel in Re: Technical Equities Coordination Litigation, Superior Court
      of the State of California for the County of Santa Clara, Master File No. 1991, Santa Clara
      County Superior No. 600306 (March 1, 1990).

  Deposition of Daniel R. Fischel in Re: Amalgamated Clothing and Textile Workers Union, AFL-
      CIO, et al. v. David A. Murdock, et al., United States District court for the Central District of
      California, No. CV-86-6410 IH (February 8, 1990).

  Deposition of Daniel R. Fischel in Re: Connecticut National Life Insurance Company, et al. v.
      Peter A.. Sprecher and Laventhol & Horwath, United States District Court, Central District
      of California, No. CV 87-1945 WJR (Tx) (January 30, 1990).


                                                                                                 Exhibit 5
                                                                                                Page 136
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 143 of 150 Page ID
                                    #:2630
                                                 - 32 -


  Deposition of Daniel R. Fischel in Re: Consolidated Capital Securities Litigation, United States
      District Court, Northern District of California, No. C-85-7332 AJZ (January 22, 1990).

  Declaration of Daniel R. Fischel in Re Plaintiffs’ Damages in Re: Liquidity Fund, et al. v.
       Southmark Corporation, et al. in the Superior Court of the State of California for the County
       of San Mateo, No. 332435 (January 18, 1990).

  Deposition of Daniel R. Fischel in Re: Norman Kamerman, Shirley Brown, Edward Rosen,
      Lexim Investors Corp., and Dohsa Anstalt, on behalf of themselves and all others similarly
      situated, and Barnett Stepak v. Saul Steinberg, Reliance Group Holdings, Inc., Reliance
      Group, Inc., Reliance Financial Services corp., and Reliance Insurance Company, United
      States District Court, Southern District of New York, No. 84 Civ. 4440 (September 13,
      1989).

  Affidavit of Daniel R. Fischel in Re: Edward A. Taylor, et al. v. A. O. Smith Corporation et al.,
        Circuit Court for Lincoln County, Tennessee, No. 098-84 (August 11, 1989).

  Deposition of Daniel R. Fischel in Re: Container Products Inc. v. Pace Industries, United States
      District Court, Southern District of New York, No. 88-CIV. 3549 (KMW) (July 19, 1989).

  Deposition of Daniel R. Fischel in Re: Joseph B. Moorman, et al. v. Southmark Corporation, et
      al., Liquidity Fund, et al. v. Southmark Corporation, et al., Superior Court of the State of
      California for the County of San Mateo, Nos. 322135 and 332435 (July 11, 1989).

  Testimony of Daniel R. Fischel in Re: Tessie Wolfson, et al. v. Frederick S. Hammer, and
       Meritor Financial Group, United States District Court for the Eastern District of
       Pennsylvania, Civil Action No. 87-8471 (June 20, 1989).

  Deposition of Daniel R. Fischel in Re: Richard J. Heckmann, et al. v. C. L. Ahmanson, et al.,
      and Consolidated Cases, Superior Court of the State of California for the County of Los
      Angeles, Nos. CA000851 and C642081 (June 8, 1989).

  Deposition of Daniel R. Fischel in Re: Tessie Wolfson, et al. v. Frederick S. Hammer, United
      States District Court for the Eastern District of Pennsylvania, Civil Action No. 87-8472 (May
      11, 1989).

  Testimony of Daniel R. Fischel in Re: Tessie Wolfson, et al. v. Frederick S. Hammer, United
       States District Court for the Eastern District of Pennsylvania, Civil Action No. 87-8472
       (April 13, 1989).

  Deposition of Daniel R. Fischel in Re: National Union Fire Insurance Company of Pittsburgh,
      PA v. Wells Fargo Bank, N.A., District Court of Harris County, Texas, 125th Judicial District,
      No. 88-49246 (April 10 and 11, 1989).

  Deposition of Daniel R. Fischel in Re: Susan Rothenberg, as Custodian for Stephen J.
      Rothenberg v. Charles E. Hurwitz, United Financial Corporation, United Savings
      Association of Texas, et al., United States District Court for the Southern District of Texas,
      Houston Division, Civil Action No. H-86-1435 (March 30, 1989).

  Deposition of Daniel R. Fischel in Re: Jose Nodar, et al. v. William Weksel, Albert Bromberg,
      Henry B. Turner, IV, Frank L. Bryant, Leo Kuperschmid, Bennett S. Lebow, Ernst &
      Whinney and Oppenheimer & Co., Inc., United States District Court, Southern District of

                                                                                                Exhibit 5
                                                                                               Page 137
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 144 of 150 Page ID
                                    #:2631
                                                 - 33 -


       New York, No. 84 Civ. 3870 (VLB) and consolidation case No. 84 Civ. 5132 (VLB)
       (December 15 and 16, 1988).

  Deposition of Daniel R. Fischel in Re: William Steiner, et al. v. Whittaker Corporation, et al.,
      Superior Court of the State of California for the County of Los Angeles, No. CA000817
      (December 7, 1988).

  Deposition of Daniel R. Fischel in Re: Arnold I. Laven, et al. v. Western Union Corporation, et
      al., United States District Court for the District, Western District of Washington, MDL No.
      551 (August 30 and 31, 1988).

  Deposition of Daniel R. Fischel in Re: Washington Public Power Supply System Securities
      Litigation, United States District Court, Western District of Washington, MDL No. 551
      (August 16 and 22, 1988).

  Affidavit of Daniel R. Fischel in Re: District Business Conduct Committee for District No. 3 v.
        Blinder, Robinson & Company Inc., et al., National Association of Securities Dealers, Inc.
        National Business Conduct Committee, Complaint No. DEN-666 (July 21, 1988).

  Deposition of Daniel R. Fischel in Re: Joseph Seidman, et al. v. Stauffer Chemical Company, et
      al, United States District Court for the District of Connecticut, No. B 84-543 (TFGD) (June
      10, 1988 and May 5, 1987).

  Deposition of Daniel R. Fischel in Re: Edlin Cattle Co., Inc., and James Edlin v. A. O. Smith
      Harvestore Products, Inc., et al., United States District Court for the Northern District of
      Texas, Amarillo Division, No. CA-2-86-0122 (May 12, 1988).

  Deposition of Daniel R. Fischel in Re: MicroPro Securities Litigation, United States District
      Court for the Northern District of California, No. C-85-7428-EFL (A) (May 2, 1988).

  Affidavit of Daniel R. Fischel in Re: Pizza Time Theatre Securities Litigation, United States
        District Court for the Northern District of California, Civil File No. 84-20048-(A)-RPA (March
        25, 1988).

  Affidavit of Daniel R. Fischel and Robert A. Sherwin in Re: First National Bank of Louisville v.
        Brooks Farms, and George C. Brooks, et al., Third-Party Plaintiffs v. A. O. Smith
        Corporation, et al., Circuit Court for Maury County, Tennessee, No. 2058 (March 3, 1988).

  Testimony of Daniel R. Fischel in Re: Nucorp Energy Securities Litigation, United States District
       Court for the Southern District of California, M.D.L. 514 (March 15, 16, 17, and 18, 1988).

  Deposition of Daniel R. Fischel in Re: Nucorp Energy Securities Litigation, United States
      District Court for the Southern District of California, M.D.L. 514 (January 27, 1988).

  Deposition of Daniel R Fischel in Re: Anheuser-Busch Companies, Inc. v. W. Paul Thayer, et
      al., United States District Court for the Northern District of Texas, Dallas Division, No. CA-
      3-85-0794-R (January 21, 1988; December 4, 1987; and November 5, 1987).

  Testimony of Daniel R. Fischel in Re: Securities and Exchange Commission v. First City
       Finance Corporation Ltd., and Marc Belzberg, United States District Court for the District of
       Columbia, Civil Action No. 86-2240 (December 18, 1987).


                                                                                                Exhibit 5
                                                                                               Page 138
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 145 of 150 Page ID
                                    #:2632
                                                 - 34 -


  Testimony of Daniel R. Fischel in Re. The Irvine Company v. Athalie Irvine Smith and Athalie R.
       Clarke, Trustee, State of Michigan Circuit Court for the county of Oakland, Civil Action No.
       8327011-CZ (December 14, 15, and 16, 1987).

  Deposition of Daniel R. Fischel in Re: Securities and Exchange Commission v. First City
      Finance Corporation, Ltd. and Marc Belzberg, United States District Court for the District of
      Columbia, Civil Action No. 86-2240 (December 11, 1987).

  Affidavit of Daniel R. Fischel in Re: Gerald D. Broder and Constance D. Broder v. Alphonse H.
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  Deposition of Daniel R. Fischel in Re: Fortune Systems Securities Litigation, United States
      District for the Northern District of California, Master File No. 83-3348A-WHO (May 7,
      1987).

  Deposition of Daniel R. Fischel in Re: Victor Technologies Securities Litigation, United States
      District Court for the Northern District of California, Master File No. C-83-3906(A)-RFP
      (FW) (January 8, 1987 and October 30, 1986).

  Reply Declaration of Daniel R. Fischel in Support of the Motion by the Activision Defendants for
       Summary Judgment in Re: Activision Securities Litigation, United States District Court for
       the Northern District of California, Master File No. C-83-4639(A)-MHP (October 27, 1986).

  Testimony of Daniel R. Fischel in Re: NVHomes, L.P. v. Ryan Homes, Inc.; and Ryan Homes,
       Inc. v. NVHomes, L.P., et al., United States District Court for the Western District of
       Pennsylvania, Civil Action No. 86-2139 (October 24, 1986).

  Supplemental Affidavit of Daniel R. Fischel in Re: NVHomes, L.P. v. Ryan Homes, Inc.; and
       Ryan Homes, Inc. v. NVHomes, L.P. and NVAcquisition L.P., et al., United States District
       Court the Western District of Pennsylvania, Civil Action No. 86-2139 (October 24, 1986).

  Affidavit of Daniel R. Fischel in Support of the Motion by the Activision Defendants for Summary
        Judgment in Re: Activision Securities Litigation, United States District Court for the
        Northern District of California, Master File No. C-86-2139 (October 20, 1986).

  Declaration of Daniel R. Fischel in Support of the Motion by the Activision Defendants for
       Summary Judgment in Re: Activision Securities Litigation, United States District Court for
       the Northern District of California, Master File No. C-83-4639(A)-MHP (October 2, 1986).

  Affidavit in Support of Defendants Motion for Summary Judgment in Re: MCorp Securities
        Litigation, United States Court for the Southern District of Texas, Civil Action No. H-85-
        5894 (September 25, 1986).

  Deposition of Daniel R. Fischel in Re: Activision Securities Litigation, United States District
      Court for the Northern District of California, No. C 83 4639 (August 18 and 19, 1986).

                                                                                                Exhibit 5
                                                                                               Page 139
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 146 of 150 Page ID
                                    #:2633
                                                  - 35 -




  Deposition of Daniel R. Fischel in Re: John Mancino v. James A. McMaqhan, et al., United
      States District Court for the Northern District of California, Civil No. C-84-0407-TEH
      (August 14, 1986).

  Testimony of Daniel R. Fischel in Re: Charles W. Leigh, et al. and George Johnson, et al. v.
       Clyde William Engle, et al., United States District Court for the Northern District of Illinois,
       Eastern Division, Case No. 78 C 3799 (August 1, 1986).

  Reply Affidavit of Daniel R. Fischel in Re: The Amalgamated Sugar Company v. NL Industries,
       United States District Court for the Southern District of New York, 86 Civ. 5010 (VLB) (July
       28, 1986).

  Affidavit of Daniel R. Fischel in Re: The Amalgamated Sugar Company v. NL Industries, United
        States District Court for the Southern District of New York, 86 Civ. 5010 (VLB) (July 18,
        1986).

  Deposition of Daniel R. Fischel in Re: Charles W. Leigh, et al. and George Johnson, et al. v.
      Clyde William Engle, et al., United States District Court for the Northern District of Illinois,
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  Deposition of Daniel R. Fischel in Re: Seafirst Corporation v. William M. Jenkins, et al.; and
      Seafirst Corporation v. John R. Boyd, et al., United States District Court for the Western
      District of Washington at Seattle, Case No. C83-771R (February 27, 1986).

  Deposition of Daniel R. Fischel in Re: Kreindler v. Sambo’s Restaurants, Inc., United States
      District Court for the Southern District of New York, Case No. 79 Civ. 4538 (December 17,
      1985).

  Affidavit of Daniel R. Fischel in Re: United States of America v. S. Richmond Dole and Clark J.
        Matthews II (March 19, 1985).

  Deposition of Daniel R. Fischel in Re: Craig T. McFarland, et al. v. Memorex Corporation,
      United States District Court for the Northern District of California, No. C 79-2926-WAI, C
      79-2007-WAI, C 79-241-WAI (February 26, 1985; January 29 and 30, 1985).

  Testimony of Daniel R. Fischel in Re: Robert J. Lawrence v. Grumman Corp. Pension Plan, et
       al., United States District Court for the Eastern District of New York, No. CV-81-3530
       (December 19, 1983).

  Testimony of Daniel R. Fishel in Re: Telvest, Inc. v. Junie L. Bradshaw, et al. and American
       Furniture Company, United States District Court, for the Eastern District of Virginia
       Richmond Division, No. CA-79-0722-R (December 4, 1981).




                                                                                                  Exhibit 5
                                                                                                 Page 140
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 147 of 150 Page ID
                                    #:2634
                                              - 36 -


                                       OTHER ACTIVITIES

  Member, American Economic Association, American Finance Association.

  Member of the Board of Overseers of the Becker-Friedman Institute at the University of
  Chicago.

  Former Advisor to the Harvard Program on Corporate Governance at Harvard University.

  Former Member, Board of Directors, Center for the Study of the Economy and the State.

  Former Member, Mid-America Institute Task Force on Stock Market Collapse.

  Have acted as a consultant and/or advisor to the New York Stock Exchange, the National
  Association of Securities Dealers, the Chicago Board of Trade, the Chicago Board Options
  Exchange, the Chicago Mercantile Exchange, the New York Mercantile Exchange, the Federal
  Trade Commission, the Department of Labor, the Securities and Exchange Commission, the
  Canadian Securities and Exchange Commission, the United States Department of Justice, the
  Federal Deposit Insurance Corporation, the Resolution Trust Corporation, the Federal Housing
  Finance Agency, and the Office of Thrift Supervision.

  Referee, Journal of Financial Economics, Journal of Law and Economics, Journal of Legal
  Studies.

  Participant and speaker at multiple conferences on the Economics of Corporate, Securities and
  Commodities Law and the Regulation of Financial Markets.

  Former Chairman, American Association of Law Schools’ Section on Law and Economics.




                                                                                            Exhibit 5
                                                                                           Page 141
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 148 of 150 Page ID
                                    #:2635




                       Appendix B




                                                                        Exhibit 5
                                                                       Page 142
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 149 of 150 Page ID
                                    #:2636
   


                              Materials Relied Upon


  Court Document

  Third Amended Complaint, April 17, 2017


  Expert Report

  Report on Market Efficiency of Steven P. Feinstein, Ph.D., CFA dated December
  8, 2017


  Deposition

  Transcript of Videotaped Deposition of Steven P. Feinstein, Ph.D, CFA, February
  9, 2018


  Bates Stamped Documents

  EPL-0003291-98

  EPL-0004469-75

  FEINSTEIN 0002854.xlsx


  SEC Filings

  Form 4 filed by Stephen J. Sather, May 21, 2015

  Form 4 filed by Edward J. Valle, May 21, 2015

  Form 4 filed by Trimaran Pollo, May 21, 2015

  Amended Form 4 filed by Trimaran Pollo, May 22, 2015



                                        -1-
   
                                                                             Exhibit 5
                                                                            Page 143
Case 8:15-cv-01343-DOC-KES Document 122-1 Filed 03/08/18 Page 150 of 150 Page ID
                                    #:2637
   


  News Articles

  Reuters, “BUZZ-El Pollo Loco Holdings Inc: Hit again on existing holder sale,”
  May 20, 2015

  Investor’s Business Daily, “Shake Shack Hits New High Amid NYC Flagship
  Reopening,” May 20, 2015


  Data

  CRSP US Stock and Index Databases ©2017 Center for Research in Security
  Prices (CRSP), The University of Chicago Booth School of Business.

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                                        -2-
   
                                                                              Exhibit 5
                                                                             Page 144
